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               Summary Plan Description and Plan Document:

                               Cigna Medical Plan

                                   HSA Options



                        EFFECTIVE DATE: JANUARY 1, 2016




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      RODOCtION
  The Cigna Medical Plan (Plan) is an employer-sponsored health and welfare employee benefit plan. It is designed to help
  you stay healthy and cover you around the clock when you need care. You can receive benefits for preventive screenings,
  routine care, hospitalization and surgery.
  The Cigna Medical Plan offers you a choice of several different options for coverage and payment of medical care
  benefits. This is the Summary Plan Description (SPD) for the Health Savings Account options under the Cigna Medical
  Plan (HSA options). Other Cigna Medical Plan options are described in other SPDs that are available on the Your Cigna
  Life website (under Self Service). This document, along with the other Cigna Medical Plan SPDs, also serves as the Plan
  document for the Cigna Medical Plan.
  Each of the HSA options combines a high deductible health plan medical coverage option and a special tax-advantaged
  savings account. The charts in Appendix I show the HSA options that are available for you to choose from and explain
  how the account works. Although we refer to the "Cigna Medical Plan," "Medical Plan" or "Plan" throughout this
  document, any references to coverage and exclusions in this SPD should be read to apply only to the HSA options under
  the Cigna Medical Plan. If you are enrolled in one of the Cigna Medical Plan's HSA options, you should take some time
  to review this document and keep it as a reference.

                                                 Benefit Chart At-A-Glance
               The Benefit Chart At-A-Glance in Appendix I show the HSA options that are available for you to
              choose from and explain how the account works. This Chart is also available on the Your Cigna Life
              website. The Chart is part of this SPD and you should refer to the version of the Chart available on
                             the website for the most up to date information about your benefits.



  You will notice that certain terms are printed in bold throughout the document. They are defined in the "GLOSSARY".
  Throughout this document, "you" refers to both you and your covered dependents unless the context indicates that it
  means you as an employee. This SPD provides details on:
     •      Eligibility, enrollment and costs,
     •      What's covered,
      •     What's not covered,
      •     How to access care,
      •     Coordination of benefits,
      •     Claims,
      •     The appeals process, and
      •     COBRA and ERISA rights.
  Cigna Corporation changes the Plan from time to time. You will be notified about Plan changes through SPD updates,
  announcements and information on the Your Cigna Life website and written correspondence.
  If you have any questions about the Medical Plan or the HSA options, see "WHO TO CONTACT" on page 2.




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  The Your Cigna Life website has information about the Cigna Medical Plan and how to get the most from your Plan
  coverage. If you need more help, use the following chart to find out who to call for answers to questions about the Plan.
  ForVoTagO-rtnation About. . .                Contact. . .
     • Initial enrollment                      Your Cigna Life Service Center
     • Enrollment changes                      P.O. Box 62825
     • Verification of coverage                Phoenix, AZ 85082
     • Life status changes
     • Eligibility information                 1.800.551.3539
     • Health care coverage
        continuation (COBRA) general           FAX.
        information                            855.674.5282
     • Direct billing
                                               E-mail:
                                               YCLServiceCenter@Cigna.com

       •   Plan coverage and benefit           Cigna Customer Service Center
           information                         1.888.99Cigna (1.888.992.4462)
       •   Claims
       •   Healthy Life Personal Health
           Team
       •   Prescriptions/Cigna Home
           Delivery Pharmacy                   Email: Use the myCigna.corn e-mail box
       •   Employee Assistance Program
       •   Prior Authorization/Certification
                                               CONEX IS, a division of WageWorks
       •   COBRA (health care coverage         P.O. Box 223684
           continuation) administration        Dallas, TX 75222-3684

                                               1.888.678.4881

       •   Health Savings Account              Cigna Customer Service Center
                                               l.888.99Cigna (1.888.992.4462)




                                               Email: Use the myCigna.com e-mail box




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  pIGIBILoy
                                                        :Who b Eligible
  You are eligible for Cigna Medical Plan coverage on your first day of employment as a regular employee of Cigna. I
  you are not a regular employee of Cigna, you may also be eligible to for Cigna Medical Plan coverage if the Plan
  Administrator determines, in its sole discretion, that it is necessary for you to be eligible for the Cigna Medical Plan for
  Cigna to avoid penalties under section 4980H of the Internal Revenue Code of 1986, as amended (the "Code").
  You will receive information about all the Cigna Medical Plan options that are available to you, including the HSA
  options, when you first become eligible and then during annual benefits open enrollment periods.
                                                                     COMMOIM
  You may choose Medical Plan coverage for:
      •     Yourself only;
      •     Yourself and your spouse or partner;
      •     Yourself and your eligible dependent children with no spouse or partner; or
      •     Yourself and your spouse or partner and your eligible dependent children.
  The plan administrator has the right to require proof from you at any time of the eligibility of anyone you claim as an
  eligible dependent.
  *Generally, if you are regularly scheduled to work less than 33 hours per week, you may only cover your spouse or
  partner if you and your spouse or partner were enrolled in the Plan in 2013.
  *If you are a legacy QANI employee and are regularly scheduled to work at least 24 but less than 33 hours per week, you
  may only cover your spouse or partner if you and your spouse or partner were enrolled in the Plan before January 3,
  2016.


  tosTS

  You and Cigna share in the cost of Medical Plan coverage. Cigna pays fort re benefits provided by the Plan from its
  general assets, subject to the limitations described in this SPD, and except to the extent that participant contributions are
  required.
  Your payroll cost is the part of your share of the Plan cost that you pay with pre-tax dollars through payroll deductions —
  pre-tax contributions. (If you work in Puerto Rico, you make after-tax contributions.)
  The amount of your payroll cost depends on the Medical Plan option you choose, which network you choose, who you
  cover and whether you are a full-time or part-time employee. Payroll costs for part-time employees who are regularly
  scheduled to work less than 33 hours per week are higher than the payroll costs for full-time employees and part-time
  employees regularly scheduled to work more than 33 hours per week because Cigna provides a larger company subsidy
  for these employees.
  See the Your Cigna Life website for payroll cost information for the current Cigna Medical Plan options. You will
  receive payroll cost information for the upcoming plan year during the annual enrollment period.
  You may also pay part of your share of the Plan's cost through deductibles and coinsurance.
                                                     Healthy Life Incentives
  When you enroll in the Medical Plan, you may qualify for certain Healthy Life Incentives that are added to your
  paychecks during the plan year.

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  See Appendix II for information about the Healthy Life Incentives that are currently available and the requirements that
  apply to earn them.


  ENROLLMENT
                                                    heiiati" d Ilowvoiiiitn oat
  Except as described in the During the Annual Enrollment Period section below, you are not covered automatically and
  must enroll to have Plan coverage. There are four occasions when you can enroll:
      •   When you become a regular employee;
      •   During any annual enrollment period;
      •   After you have a life status change; or
      •   When you have special enrollment rights.
  If You Are Newly Eligible
  You become eligible for Medical Plan coverage on your first day of employment as a regular employee. This is the date
  you are hired or rehired, or the date your employment classification changes to regular employee status.
  You have 30 days after the date you first become eligible for Medical Plan coverage to elect and enroll in a Medical Plan
  option. If you do enroll, your coverage is effective from the first day you are eligible; for example, if your hire date as a
  regular employee is March 15 and you enroll on April 1, your coverage begins as of March 15. Your payroll cost
  contributions will start to be deducted from your paycheck in the first pay processed after you make your election. If you
  do not enroll within 30 days of your date of hire, you cannot enroll in the Plan until the next annual enrollment or if you
  experience a life status change event. See the "If You Have a Life Status Change" section of this SPD for further details.
  You can find information about the Medical Plan and enrolling online through the Your Cigna Life website (Health &
  Well-Being>Benefits Enrollment). To enroll, follow the instructions in the online enrollment materials.
  During the Annual Enrollment Period
  If you are a regular employee, you can enroll in the Medical Plan during the annual enrollment period. The coverage you
  elect during annual enrollment is effective the following January 1 for the entire plan year.
  During the annual enrollment period, you may make changes to your Plan elections. For example, you may:
      •   Add, drop or change your medical coverage; or
      •   Increase or reduce the number of eligible dependents you enroll for medical coverage.
  Once the enrollment period ends, you cannot change your election until the next annual enrollment period or until you
  have a qualified life status change. However, you may be allowed to change your election after the end of the enrollment
  period but before the beginning of the new plan year if the plan administrator determines that, due to unusual
  circumstances, the enrollment period deadline creates a hardship for you.
  If you are enrolled in the Plan and do not make an election at the annual enrollment period for the next plan year, you
  will be automatically enrolled for the next plan year in your coverage elections currently in effect (subject to any changes
  made to the Plan).
  You can find information about enrollment in the Cigna Medical Plan, at or before the beginning of the annual enrollment
  period, online through the Your Cigna Life website. To enroll in the Plan, follow the instructions in the online enrollment
  materials.




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  If You Have a Life Status Change
  You can enroll in the Medical Plan outside the annual enrollment period if you have a qualifying life status change. To
  enroll in the Plan on account of a life status change, you must request a coverage change within 30 days after the
  qualifying life status change event by going to the Life Events section of the Your Cigna Life website (Self
  S'ervice>Employee S'elf S'ervice>Life Events) or contacting the Your Cigna Life Service Center at 1.800.551.3539. You
  may enroll in the Medical Plan when you have a life status change only if your enrollment is due to and consistent with
  the life status change event.
  Special Enrollment Rights
  Pursuant to the Health Insurance Portability and Accountability Act of 1996 (HIPAA), you will be able to enroll yourself
  and your eligible dependents in the Medical Plan outside the annual enrollment period under circumstances that trigger
  special enrollment rights. Some of these circumstances are also life status change events:
      •   You previously declined enrollment in the Medical Plan for yourself or your eligible dependents because you
          had other health insurance or group health plan coverage and either (1) you or your eligible dependents lose
          eligibility for that other coverage, (2) the employer or policyholder stops contributing towards that other coverage,
          or (3) in the case of COBRA continuation coverage, the coverage ended.
          In this situation, to have Medical Plan coverage for yourself or your eligible dependent, you must enroll or add
          the dependent within 30 days after the event that triggers special enrollment rights (that is, after the other
          coverage ends or the employer or policyholder stops contributing). If you enroll on time, your Plan coverage will
          be effective on the event date. Failure to notify Cigna of your loss of coverage under your other health insurance
          or group health plan within 30 days will prevent you from enrolling in the Plan and/or making any changes to
          your coverage elections until the next annual enrollment period.
      •   You add a dependent due to marriage, birth, adoption, or placement for adoption, provided that you request
          enrollment within 30 days after the marriage, birth, adoption, or placement for adoption. Coverage added due to
          marriage, birth, adoption or placement for adoption will become effective as of the date of the event. Failure to
          notify Cigna of your marriage, birth, adoption, or placement for adoption within 30 days of the event will prevent
          you from enrolling in the Plan and/or making any changes to your coverage elections until the next annual
          enrollment period.
      •   You or an eligible dependent (1) loses health care coverage that you had under Medicaid or a state children's
          health insurance program (CHIP) because you are no longer eligible, or (2) becomes eligible for premium
          assistance under Medicaid or a state CHIP plan that subsidizes your payroll contributions for medical coverage.
          In this situation, to have Medical Plan coverage for you or your dependent, you must enroll or add the dependent
          within 60 days after the special enrollment rights trigger event (losing Medicaid or CHIP coverage or qualifying
          for premium assistance). If you enroll on time, your Plan coverage will be effective on the event date. Failure to
          notify Cigna of your loss or gain of eligibility for coverage under Medicaid or a state children's health plan
          within 60 days will prevent you from enrolling in the Plan and/or making any changes to your coverage elections
          until the next annual enrollment period.
  To enroll in the Medical Plan on account of an event covered by special enrollment rights, you must, within 30 days of the
  event, go to the Life Events section of the Your Cigna Life website (Self Service>Employce Self Service> Life Events) or
  contact the Your Cigna Life Service Center at 1.800.551.3539 to complete the enrollment for you. If you are enrolling in
  the Plan due to a change in your or your dependent's status under Medicaid or CHIP more than 30 days after the event,
  you must contact the Your Cigna Life Service Center at .800.551 .3539 to complete the enrollment for you.
                                                    Porolling Dependents
  If you enroll yourself in the Medical Plan, you may also enroll anyone who qualifies as your eligible dependent, including
  your spouse/partner and your child under age 26. If you are enrolling a child for whom you are a legal guardian or a
  child who is being placed with you for adoption, you must submit proof of this relationship to the Your Cigna Life

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  Service Center. The child's enrollment will be processed once proof of eligible dependent status is received and
  accepted by the Your Cigna Life Service Center. Coverage is retroactive to the event date.
  If you wish to elect coverage for your partner and/or your partner's children, you must submit a notarized copy of a
  completed Affidavit of Domestic Partnership and required documentation to the Your Cigna Life Service Center. The
  enrollment will be processed once the Affidavit and required documentation is received and accepted by the Your Cigna
  Life Service Center. Coverage is retroactive to the event date.
                                                 Enrolling Newbtienrhildreit
                                                 -35555555551



  Coverage for your newborn child is automatic for the first 30 days from the date of birth. In order for coverage for your
  newborn child to continue after the first 30 days, you must enroll your newborn child in the Medical Plan during this 30-
  day period, using the self-service tools on the Life Events section of the Your Cigna Life website (Self Service>Employee
  Self Service>Life Events) or you must call the Your Cigna Life Service Center at 1.800.551.3539. If you do not enroll an
  eligible newborn child within 30 days of birth, your newborn's coverage will terminate at the end of 30 days and you will
  not be able to enroll your child until the earlier of the next open enrollment period or, depending on the circumstances,
  another life status change.
  Note: A child born to your female covered dependent child is NOT covered under the Medical Plan for other than
  routine hospital nursery care, unless the newborn is legally adopted by you and legally and financially dependent on you
  for support.
  &EMS aVECiliNG                                                            OfitOSTS
  The information that follows describes events that may affect your Medical Plan coverage, eligibility or costs.
                                            PAYou Haven: Life Status Change1M111
  You can change or cancel certain Medical Plan coverage elections outside the annual enrollment period if you have a
  qualifying life status change.
  You will be permitted to change your election based on the following events if, in the determination of the plan
  administrator, the change satisfies the requirements set forth in IRS regulations governing mid-year changes in election:
      •   You marry, divorce or have an annulment or a legal separation;
      •   You enter into or end a partnership;
      •   You have a new eligible dependent child by marriage, birth, adoption, placement for adoption, or legal
          guardianship;
      •   Your eligible dependent dies (including your spouse);
      •   Your or your eligible dependent's employment starts or terminates;
      •   You or your eligible dependent changes work location or residence, but only if it results in the need to change
          health care networks as determined by Cigna;
      •   You or your eligible dependent has a reduction or increase in hours of employment (including a switch between
          full-time and part-time status), the beginning or ending of an unpaid leave of absence, a strike or a lockout); or
      •   Your dependent satisfies or ceases to satisfy the requirements for eligible dependent status because of age,
          financial dependency, or any similar circumstances as provided under the Medical Plan.
  In addition, you may be allowed to change your election based on the following events in the sole discretion of the plan
  administrator, and/or as legally required:
      •   Your spouse experiences a significant change in his or her group medical coverage;



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      •   Service of a Qualified Medical Child Support Order (QMCSO) issued under ERISA Section 609, as approved by
          the plan administrator;
      •   Eligibility to participate in a government-sponsored premium assistance program; and
      •   Enrollment in Medicare or Medicaid (or loss of eligibility for Medicare or Medicaid).
  To make a change in your Medical Plan coverage within 30 days after a qualifying life status change event, you must go
  to the Life Events section of the Your Cigna Life wcbsitc (Self Service>Employee Self Service>Life Events) or contact the
  Your Cigna Life Service Center at 1.800.551.3539 for assistance. The change will take effect on the date of the life status
  change event and any necessary payroll deduction contribution changes will be made during the next available payroll
  processing cycle.
  If you experience any of the life status change events noted above, any changes to your benefit selections must be on
  account of and cm-respond with a change in status that affects eligibility under the Plan. This means that you can make
  only those changes that directly relate to the event and are consistent with the event. For example, if you get divorced,
  you must delete your spouse from the Plan, but may not delete your dependent. Permissible election changes on account
  of a life status change event are:
      •   Elect, cancel or change medical coverage; or
      •   Add or delete eligible dependents.
  If you are on an approved unpaid leave of absence (other than a family and medical leave) when you have a life status
  change event, you may change your election only if:
      •   You have or adopt a child -- then you may add the child to your coverage;
      •   You marry or enter a partnership -- then you may add your spouse or partner to your coverage;
      •   You get a divorce or annulment or end a partnership — then you may remove your spouse or partner from your
          coverage; or
      •   Your eligible dependent dies — then you may change your coverage tier, if appropriate.
  All your other Medical Plan elections continue, unless they are no longer available, until you return to work.
                                        f The Plan Has auChange in Cast:
  If the cost or coverage of a Medical Plan option changes, the plan administrator may allow each affected participant to
  change his or her election during the plan year, subject to applicable legal requirements.
                         If Nigniatre Enrolling alieliFeIrWhok,        s a Special Enrollment Right
  You can change certain Medical Plan coverage elections outside of the open enrollment period when you enroll an
  eligible dependent with a special enrollment right.
  See "Special Enrollment Rights" above for more information on special enrollment rights.
              111111114EVouukre Eligible for COVerage Underatnotler Medical PtaHwith a DiffsteAlin,,)Iiir
  You can change certain Cigna Medical Plan coverage elections outside of the open enrollment period if you have an
  eligible dependent who is also eligible for coverage under another employer's medical plan -- but only if that medical
  plan has a plan year that is not the calendar year and your Cigna Medical Plan election change is on account of and
  corresponds with a coverage change made by your eligible dependent under the other plan. To change your coverage
  election, contact the Your Cigna Life Service Center at 1.800.551.3539 within 30 days of the event.




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                                  I      •         To   Qualifted Medical Child Sirmiort OrdeP
  The Plan will comply with the terms of a QMCSO. If you are subject to a QMCSO, your noncustodial child will be
  enrolled as an eligible dependent (and, if you are not already covered under the Cigna Medical Plan, you will also be
  enrolled for coverage.) You must continue your Plan coverage while the QMCSO is in effect.
  If your eligible dependent child is enrolled for Cigna Medical Plan coverage, and a QMCSO is issued requiring another
  individual to provide medical plan coverage for the child and that coverage is provided, you may make a change to cancel
  Cigna Medical Plan coverage for the child. To do so, you must send, fax or e-mail a copy of this QMCSO to the Your
  Cigna Life Service Center, who will update your election for you. See "WHO TO CONTACT" on page 2 for the address
  and fax number of the Your Cigna Life Service Center.
  If you have questions about or wish to obtain a copy of the procedures governing a QMCSO determination (at no charge),
  contact the plan administrator.
                                                          If Yu Move
  If you move, you must update your personal information on the Your Cigna Life website under Self Service>Enaployee
  Self Service. You will then be sent instructions for changing your medical coverage option only if you move to an area
  where there is no network access or a different network option applies, as determined by Cigna.
                                             If Your Employment Status Chatjx,
  If your employment status changes from regular full-time to regular part-time, or vice versa, or if you are a regu ar part-
  time employee and the number of hours you are regularly scheduled to work changes from less than 33 to 33 or more or
  vice versa, the cost for your Medical Plan coverage will change automatically.
  If your employment status changes from regular employee to anything else, you will no longer be eligible for Medical
  Plan coverage, but you will be offered COBRA coverage.
  If your employment status changes from an ineligible status to regular employee, you will be eligible to enroll in the
  Medical Plan. In that case or if you otherwise become eligible to enroll in the Medical Plan, you will automatically be
  provided enrollment materials and instructions on how to enroll.
                                      If You Become Eligible for Marketplace Civerage
  You may change your election to drop your medical coverage if, in the deteunination of the Plan Administrator, you
  satisfy the requirements set forth in Notice 2014-55:
      •   You are eligible for a special enrollment period to enroll in a qualified health plan through a Marketplace pursuant
          to guidance issued by the Department of Health and Human Services and any other applicable guidance, or you
          seek to enroll in a qualified health plan through a Marketplace during the Marketplace's annual open enrollment
          period; and
      •   The revocation of the election of coverage under the Plan corresponds to your (and any related individuals who
          cease coverage during the revocation's) intended enrollment in a qualified health plan through a Marketplace for
          new coverage that is effective beginning no later than the day immediately following the last day of coverage
          under the Plan.
                                              ArYou Take!tilltiVetirAbsence
  During a paid leave of absence, you continue to make Medical Plan payroll cost contributions through payroll deduction.
  During an approved unpaid leave of absence, including an unpaid FMLA leave (unless you elect otherwise), you will be
  billed monthly on an after-tax basis for your Medical Plan contributions. You will have a 31-day grace period following
  the due date to make payment and your Medical Plan coverage will continue as long as you make the required
  contributions. If you do not make the required contributions before the end of the grace period, or you stop payments at



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  any time during the leave, your Medical Plan coverage will end on the last day of the month for which you make the
  required contributions, and you will not be able to enroll for Medical Plan coverage again while you remain on leave.
  Alternatively, with respect to approved unpaid FMLA leave only, you may elect to continue Medical Plan coverage and
  suspend payroll cost payments until you return to active employment. You must make this election before the start of
  your leave. When you return to active employment, your payroll cost will be adjusted to cover the amount of missed
  payments during your leave. If you fail to return to active employment, you will be billed for the amount of missed
  payments.
  If you continue to be eligible for an approved leave of absence in a new calendar year, you may change your coverage
  election during the annual enrollment period. [f you do not change your coverage election during annual enrollment, your
  current Medical Plan election will automatically continue in the new calendar year (to the extent it is still available) if you
  continue to make the required contributions.
      •   If you return to work as an active employee and you continued to make payments during your leave, your Medical
          Plan elections will automatically continue unless you request a change based on a life status change.
      •   If you return to work as an active employee and you did not continue to make payments during your leave, you
          may reinstate your Medical Plan coverage within 30 days of your return based on the rules that apply to a life
          status change.
  The maximum period of a leave of absence for any reason is 30 months. If, at the end of 30 months of leave of absence,
  you have not returned to active employment, your Cigna employment will be terminated. See "If Your Cigna
  Employment Ends" for the effect of a termination of employment on your Medical Plan coverage.
                                                   You Take a Disability Lea
  Generally, you will be on a disability leave of absence during any period when you are eligible to receive benefits under
  either the Cigna Short-Term Disability Plan (STD) or Cigna Long-Term Disability Plan (LTD). During a disability leave,
  the Leave of Absence rules described above apply. Any period that you receive STD benefits is treated as a paid leave of
  absence, and any period that you receive LTD benefits is treated as an unpaid leave. On December 31 following the date
  you first receive benefits under the Cigna Long-Term Disability Plan, your eligibility for coverage under this Plan will
  end. You may be eligible for medical coverage under the Cigna Medical Plan for Retirees, Survivors and Disabled
  Employees. For details, sec that plan's SPD.
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  Generally, a paid or unpaid military leave (see Military Leave in the Returns & Rewards section on the Your ('ig1111 Life
  website) is a leave of absence. if you are on a paid military leave of absence, your coverage will continue if you continue
  to make Medical Plan payroll cost contributions through payroll deduction or direct billing. If you are on an unpaid
  military leave of absence, the Leave of Absence rules for unpaid leave (described above) will apply.
                                               If YountignaiiiEmploymtnitiEndsii
  Cigna Medical Plan coverage ends on the last day of the month of your termination of employment. If you are enrolled in
  the Medical Plan on your termination of employment date, you may elect to continue Medical Plan coverage under
  COBRA. You will find more information about COBRA under "COBRA Continuation Coverage".
  If you are eligible for severance benefits from Cigna you will also be eligible for a Cigna subsidy for part of your
  COBRA coverage. Cigna will pay 65% of the cost of your COBRA Medical Plan coverage during the period you receive
  biweekly severance payments. You will be billed for the other 35% of the cost. If you continue your COBRA coverage
  after biweekly severance payments end, you will be billed for the full cost of COBRA coverage at unsubsidized rates, plus
  a 2% administration fee for the remainder of the COBRA period.
  If you are not eligible for severance benefits from Cigna, you will be billed for the full cost of COBRA coverage at
  unsubsidized rates, plus a 2% administration fee.
  If you do elect COBRA coverage:

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      •   You will have the opportunity to change coverage options during the COBRA annual enrollment period.
      •   You will receive a new Medical Plan ID card for COBRA coverage. DESTROY THE OLD CARD.
                                                  If You Retire from Cigna
  If you were first hired by Cigna before January 1, 2011, and you retire from Cigna, you may be eligible for Cigna-
  sponsored medical coverage beginning as early as the first day of the month following your termination of employment
  date. For details on the Cigna Medical Plan for Retirees, Survivors and Disabled Employees, see that plan's SPD.
                                                *You Die While Employed
  Cigna Medical Plan coverage ends on the last day of the month in which you die. Your covered dependents may elect
  COBRA coverage for up to 36 months at company-subsidized rates. COBRA coverage is explained under "COBRA
  Continuation Coverage". There are no Medical Plan conversion rights available.
  In certain limited cases, if you die while employed, your covered dependents may also be eligible for medical coverage
  under the Cigna Medical Plan for Retirees, Survivors and Disabled Employees. For details, see that plan's SPD.
                                        If Youlhange Cigna Medical Plan Options
  If you change Medical Plan options during an annual enrollment period or because of a life status change or special
  enrollment right, the following rules apply:
      •   The new option generally will cover only treatment you or your covered dependent receives after the effective
          date of the option change.
      •   If you or your covered dependent is in the hospital when the new option becomes effective, your old option
          continues to apply to the hospital and related expenses you incur after the new option effective date while you are
          in the hospital, but your new option will apply to expenses that are not related to the hospitalization.
      •   The new option will apply to any expenses you incur after you or your covered dependent is released from the
          hospital.
      •   For purposes of your deductible and out-of-pocket maximum, expenses that you have incurred before the
          change will be credited to the new option.
      •   Your HSA contribution amounts will be adjusted accordingly.


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  Your Medical Plan coverage ends automatically on December 31 of a plan year if your coverage option is no longer
  available in the following plan year or if you decline coverage during the annual enrollment period. In addition, if you
  are receiving LTD benefits, Medical Plan coverage ends on December 31 of the plan year in which LTD benefits are first
  paid to you.
  Your Cigna Medical Plan coverage ends on the last day of the month during which one of these events occurs:
      •   You have a qualified life status change and choose to cancel coverage within 30 days after the qualifying event,
          if cancellation is consistent with the life status change event;
      •   You fail to make required payroll cost payments;
      •   You transfer from regular employee status to an ineligible status;
      •   Your covered dependent is no longer an eligible dependent (coverage ends only for the no-longer-eligible-
          dependent);
      •   Your Cigna employment terminates (including on account of retirement); or

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      •   Cigna terminates the Cigna Medical Plan.
  If you or a covered dependent is totally disabled and in the hospital when Medical Plan coverage ends, hospital benefits
  for the ongoing confinement will continue for the injury or illness that required this confinement until you or your
  covered dependent is released from the hospital. There is no Plan coverage after the release from the hospital.
                                       y Cause CigualoCauggleYouMigu                 irarM n Coverage
  Cigna may cancel or terminate your Cigna Medical Plan coverage for any of these reasons:
      •   You provide false material information-
          o   During enrollment or after a life status change -- such as false information about a person to try to have the
              person covered under the Plan as your eligible dependent; or
          o   In communications with Cigna or the plan administrator (including a failure to contact the Your Cigna Life
              Service Center at 1.800.551.3539 or update your dependent information on the Life Events section of the Your
              Cigna Life website (Self Service>Employee Self Service> Life Events when there has been a change in
              dependent eligibility).
      •   You permit anyone who is not your covered dependent to use your or your covered dependent's Plan
          identification card or to obtain covered services and benefits.
      •   You submit a claim based on an intentional misrepresentation or make a fraudulent submission to the claims
          administrator or otherwise obtain or attempt to obtain covered services or benefits by means of false,
          misleading or fraudulent information, acts, or omissions.
      •   You fail to pay any coinsurance, supplemental charge or other amount due in connection with covered services
          and benefits.
      •   You threaten the life or well-being of Cigna Medical Plan personnel, individuals who provide services and
          benefits, or any Plan participant.
  Termination of coverage under this provision due to an act, practice or omission by you that is fraudulent or due to your
  intentional misrepresentation of material fact may, in the plan administrator's sole discretion, cause coverage for you
  and your covered dependents to be cancelled retroactively to as early as when the coverage began. You will receive
  written notice describing the reasons for the termination of your coverage. Termination of coverage for reasons that
  constitute misconduct under Cigna's employment policies may also result in the termination of your employment.
                                                          Rescissions                             M    1

  Coverage under the Medical Plan may not be rescinded (retroactively terminated) by Cigna unless you (or someone
  seeking coverage on your behalf) ( 1 ) performs an act, practice or omission that constitutes fraud or (2) makes an
  intentional misrepresentation of material fact.
                                                    No Couvern Rights
  The Medical Plan options are self-insured: that is, Plan benefits are not provided through any group health insurance
  policy. As a result, there are no conversion privileges when your Cigna Medical Plan coverage ends. You have no group
  health insurance coverage that can be converted to individual coverage when you are no longer a member of the group.


  DVERVIEWO* MEDICAL COVERAGE AND HEALTH SAVINGS ACCOUNt
  The Cigna Medical Plan combines medical coverage through a high deductible health plan (HDHP) with a special tax-
  advantaged savings account called a health savings account or HSA. This section first provides an overview of how your
  medical coverage works and then explains the features of your HSA, including:
      •   In-Network and Out-of-Network Services Overview;

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      •   Overview of Claim Processing;
      •   Deductibles, Coinsurance and Out-Of-Pocket Maximum;
      •   Unlimited Lifetime Maximum Benefit;
      •   How to establish and contribute to your HSA; and
      •   How your HSA and medical coverage (i.e., your HSA option) fit together.
                                     I n-Networkand             Netwoi      ervices Overviet„
  The Plan has a network of health professionals and facilities. You may receive care outside of the network, but the benefit
  levels are higher if you receive care from in-network health professionals and facilities:
      •   Certain services are covered only when you use in-network doctors. For more information, see the charts in
          Appendix I.
      •   The Plan pays the full cost of preventive generic drugs when you use Cigna Home Delivery Pharmacy.
      •   Your deductibles, coinsurance and out-of-pocket maximum are higher when you use out-of-of network
          services. See the charts in Appendix I.
  The Plan uses Cigna's Open Access Plus with CareLink network, except as noted under "Special Network Plan Options"
  for limited network offerings in specific geographic areas. The directory of participating health care professionals, such
  as doctors, hospitals and pharmacies, is available online at www.tnyCigna.com under the tab, Find a Doctor, Dentist, or
  Facility or by calling the Customer Service Center at 1.888.99Cigna (1.888.992.4462).
  You may use any health care professional in your network. No referrals from a primary care physician are required to
  get specialist care but preauthorization and other requirements may apply for certain services.
  The Plan will not discriminate against a health care professional or facility that acts within the scope of its license or
  certification under applicable state law when choosing in-network health care professionals and facilities.
                                                 Overview of Claim Processing
  When you receive in-network care, your health care professional or facility will send claims directly to the claims
  administrator for payment. When you receive care out-of-network, you may have to pay for the care and then file claims
  with the claims administrator for reimbursement.
  In either case, the claims administrator reviews the claim and sends an Explanation of Benefits (EOB) to you and your
  health care professional or facility. The EOB tells you what expenses are covered by the Plan, how much the Plan pays
  and what you owe. If you receive a bill from your health care professional, make sure the expense was sent to the claims
  administrator before you pay the bill. You can do this by checking on www.myCigna.com.
  For prescription drugs, the pharmacist determines your out-of-pocket cost when the pharmacist fills your prescription.
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  Deductibles
  A deductible is the annual dollar amount you are required to pay before the Medical Plan begins to pay its share of your
  covered expenses. After the deductible is met, you share in the cost of covered expenses at a percent called
  coinsurance as explained in this section below. The charts in Appendix I show the deductibles for each HSA option.
  All covered expenses are subject to the annual deductible, except in-network preventive care, preventive generic drugs
  when you use Cigna Home Delivery Pharmacy, and other medications covered under the Patient Protection and
  Affordable Care Act.
  Your deductible amount depends on your coverage tier- that is, whether you cover only yourself or also cover other
  family members. If you cover only yourself, you must meet the individual deductible. If you also cover family

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  members, you have a higher collective deductible. With a collective deductible your out-of-pocket expenses for all
  covered dependents must reach the entire collective deductible amount before the Plan pays for covered expenses for
  you or your covered dependents at the coinsurance level.
  Your deductible amount also depends on how you receive covered services. The deductible amount for in-network
  services is lower than the deductible amount for out-of-network services. Covered expenses will count toward both your
  in-network and out-of-network deductibles until you meet your in-network deductible. These expenses are combined to
  calculate the amount applied towards your annual in-network and out-of-network deductibles. However, once you reach
  your in-network deductible and pay a coinsurance percent for covered in-network services, those expenses are not
  subject to your in-network deductible and will not count towards your out-of-network deductible.
  The following expenses do NOT count toward meeting your annual deductible:
      •   Expenses that are not subject to an annual deductible;
      •   Expenses that are not covered by the Medical Plan, including charges in excess of maximum reimbursable
          charges; and
      •   Any reduced benefits or penalties for failure to follow the "Prior Authorization," "Pre-Admission
          Certification/Continued Stay Review" and "Prior Authorization and Certification" procedures.
      •   Amounts you pay for the cost between the cost of the generic equivalent and the brand name drug when you fill
          the brand name drug and "dispense as written" is not indicated on the prescription.
  Coinsurance
  Once you have met your annual deductible, you pay part of the cost for covered services by paying coinsurance.
  Coinsurance is a percent of the covered expense that you must pay. The Plan pays the rest of the cost.
  The charts in Appendix I show the coinsurance percentages for the Plan's covered services for each HRA option. For
  most covered services, the coinsurance percentages that you pay are higher for out-of-network services. See the charts
  in Appendix I.
  Out-Of-Pocket Maximum
  The Plan places an annual limit on what you must pay out-of-pocket toward your deductible and coinsurance share.
  That limit is the out-of-pocket maximum.
  Once that limit is reached, the Plan pays 100% of the maximum reimbursable charge for most approved covered
  services and prescription drugs for the rest of the calendar year. The out-of-pocket maximum helps protect you from
  financial hardship if your medical expenses are unusually high during any single year.
  Your out-of-pocket maximum amount depends on whether you have elected individual or family coverage and how you
  receive covered services. For individual coverage, you must meet the individual out-of-pocket maximum before the
  Plan pays expenses at 100%. For in-network family coverage, the Plan has a per-individual out-of-pocket maximum and
  a family out-of-pocket maximum. Once an individual's out-of-pocket maximum is met, the Plan pays 100% of covered
  expenses for that individual, regardless of whether the family out-of-pocket maximums have been met. Once a family's
  out-of-pocket maximum is met, the Plan pays 100% of covered expenses for the family, regardless of whether the
  individual out-of-pocket maximums have been met.
  For out-of-network family coverage, the entire family out-of-pocket maximum must be met before the Plan pays
  expenses at 100% for any family member. The in-network out-of-pocket maximum is lower than the out-of-network
  out-of-pocket maximum. Your out-of-pocket costs for in- and out-of-network covered services will count toward both
  your in-network out-of-pocket maximum and your out-of-network out-of-pocket maximum until you reach your in-
  network out-of-pocket maximum. In-network expenses which the Plan pays at 100% are not subject to your in-network
  out-of-pocket maximum and will not count towards your out-of-network out-of-pocket maximum.



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  The coinsurance and deductible amounts that you pay are applied toward meeting your out-of-pocket maximum.
  However, the following expenses do not count toward this maximum and they are not reimbursed at 100% once you reach
  the out-of-pocket maximum:
     •    Any penalties or reduced benefits for failure to follow the "Prior Authorization," "Pre-Admission
          Certification/Continued Stay Review" and "Prior Authorization and Certification" procedures.
      •   Expenses that are not covered expenses, including charges in excess of the maximum reimbursable charge.
      •   Expenses that are not subject to an annual deductible.
      •   Amounts you pay for the cost between the cost of the generic equivalent and the brand name drug when you fill
          the brand name drug and "dispense as written" is not indicated on the prescription.
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  The Medical Plan has no lifetime maximum and will continue to pay for covered services as long as you and your family
  members are covered by the Plan.
                                            Establishing a Health Savings A
  Special Requirements for Opening an Account
  To be eligible for a health savings account, you must participate in an HSA option under the Cigna Medical Plan and meet
  certain requirements. If you are not eligible to make contributions to a health saving account, it does not impact your
  medical coverage and you can still continue to be enrolled in an HSA option.
  You can open a health savings account as long as you are not claimed as a dependent on another person's tax return and
  are not enrolled in other health coverage that does not qualify as an HDHP, with certain exceptions described below. You
  are not eligible to open a health savings account if you are:
      •   Enrolled in Medicare;
      •   Enrolled in Medicaid;
      •   Receiving benefits under TRICARE; or
      •   Covered under any other health plan (including a Flexible Spending Account (FSA) or a stand-alone Health
          Reimbursement Account (HRA)) that is not a qualified HDHP unless it fits within one of the exceptions listed
          below.
  You may make contributions to a health savings account if you have coverage under the following types of plan for:
      •   some disease-specific coverage (i.e., critical illness insurance);
      •   dental care;
      •   vision care;
      •   long-term care;
      •   disability;
      •   accident;
      •   "limited purpose" FSAs/HRAs, which can be used only for dental or vision expenses; or
      •   "post-deductible" FSAs/HRAs, which provide coverage only after you satisfy the deductible under an HDHP.
  For employees who enroll in an HSA option, the Cigna Health Care Flexible Spending Account provides limited purpose
  and post-deductible coverage that meets these exception rules, which will allow you to make contributions to a health



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  savings account. See the Cigna Health Care Flexible Spending Account Summary Plan Description on the Your Cigna
  Lift website (click on Self Service>Forms, Tools & Resources) for more information about that plan.
  You will not be eligible to make HSA contributions for any month in which you are traveling on Cigna business outside
  the U.S. and are covered under another Cigna-sponsored plan that provides medical benefits for Cigna employees
  traveling abroad on business. Your overall contributions for the year must be adjusted pro rata for any months in which
  you have this other coverage.
  Other restrictions may apply. internal Revenue Service Publication 969 provides information about the requirements for a
  plan to qualify as an HDHP and the requirements you must meet to qualify for an HSA. You may contact the Cigna
  Customer Service Center at 1.888.99Cigna (1.888.992.4462) for assistance.
  During the plan year, you may be required to confirm your eligibility to continue to make contributions to your account
  (example: if you become Medicare-eligible because of your age, you may be asked to demonstrate that you have not
  enrolled in Medicare).
  Federal HSA Contribution Limits
  By law, the maximum annual contribution that can be made to your account, including both Cigna's contributions and your
  contributions (pretax and after-tax) is:
      •   For 2016, $3,350 for individual coverage; or
      •   For 2016, $6,750 for family coverage.
  These amounts are indexed annually by the federal government and are subject to change each year. The annual maximum
  contribution is the total contribution from all sources (payroll contributions by you and/or Cigna and personal contributions
  you deposit directly) to all accounts.
  If married employees are both eligible to contribute to separate HSAs, the contribution limit for 2016 for both accounts
  combined is based on the maximum amount that can be contributed for a family - $6,750. Note, however, if either person is
  age 55 or older in 2016, the total combined contribution is increased by $1,000 for each individual age 55 or older. (See
  below).
  It is important to monitor contributions to your HSA—there will be adverse tax consequences if your contributions exceed
  the annual limit that has been set by the Federal government. Changes in coverage during the year, continuous enrollment in
  an HSA option for less than 12 months or enrollment after the beginning of the year can all affect your contribution limits. If
  you become aware during the year that combined contributions to your HSA exceed the annual limit, you can withdraw the
  excess amount and the related interest earnings before your income tax return for the year is due (including extensions).
  For assistance and information about the contribution limits, call the Cigna Customer Service Center at 1.888.99Cigna
  (1.888.992.4462).
  If You Are Age 55 or Older
  If you are age 55 and older, you can make additional contributions to your HSA. These are called catch-up contributions and
  can be made by payroll deductions just like your normal contribution. The catch-up contribution limit is $1,000.
  If you also cover your spouse/partner under the HSA option and your spouse/partner is age 55 or older, he or she may also
  be eligible to open a second HSA and contribute catch-up contributions. Cigna will not contribute funds or pay any fees
  associated with the HSA for your spouse/partner.
  Please call the Cigna Customer Service Center at 1.888.99Cigna (1.888.992.4462) for information about catch up
  contributions and how to open a second HSA for your spouse/partner.
  Setting Up a Health Savings Account
  The custodian of the HSA fund, will automatically open an HSA for you when you enroll in an HSA option, as long as
  you provide identification in accordance with the USA Patriot Act. The contact for the custodian is: Cigna Customer


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  Service Center at 1.888.99Cigna (1.888.992.4462) or use the myCigna.com email box. If the custodian does not
  automatically open an 1ISA for you, you should call the Cigna Customer Service Center.
                                        Contributingto Mr Health Savingsiii4eicount
  Once you have opened a health saving account, you can decide whether to make contributions to it. Your contributions are
  tax-free up to federal limits and any dollars in your health savings account earn interest on a tax-free basis.
  The balance in your HSA rolls over from year to year, increasing your savings for future medical expenses. You own the
  balance in your account, and can save it, invest it in funds offered through the custodian or spend it on qualified medical
  expenses. If you change employers or retire, the balance in your account belongs to you as the account holder.
  Your Contributions
  You can make pre-tax contributions through payroll deductions each pay period up to the legal limit (taking into account
  Cigna's contributions), provided your account remains open and you are enrolled in an HSA option. Payroll
  contributions can only be made to HSAs through the Cigna Medical Plan arrangement with the custodian.
  When you enroll in the HSA option, you will be asked how much you want to contribute to your account during the plan
  year. This amount will automatically be divided by the number of pay periods that you expect to receive a paycheck.
  You may change the amount of your deduction at any time by contacting the Your Cigna Life Service Center
  (1.800.551.3539 or YourCignaLifeServiceCenter@Cigna.com). The change will start with the next available pay check
  following the processing of your request.
  You may also make additional personal contributions to your account by electronic funds transfer or by mailing a check,
  along with a deposit coupon available on myCigna.com>Manage Claims & Balances. The contributions will be made on
  an after-tax basis. Check with your tax advisor to determine if you can deduct them from your federal or state tax return.
  Contributions for the current plan year can be made until the IRS deadline for filing income tax returns (April 15).
  If you enroll in Medicare, you are prohibited from contributing to your account beginning with the first month you are
  enrolled. Note that enrollment in Medicare may be a life status change event that would permit you to make a change in
  your Cigna Medical Plan coverage outside of the annual enrollment period. See the "If You Have a Life Status Change"
  section of this SPD for further details.
  Cigna's Contributions
  As long as your account remains open and you are enrolled in an HSA option, Cigna may also make contributions to your
  account. Cigna's contribution is a fixed amount each pay period and the amount that Cigna contributes each plan year
  depends on:
      •   The coverage tier (employee only or employee plus other family members) that you elect;
      •   When during the year your coverage starts; and
      •   Whether you satisfy any additional requirements that must be met to receive the maximum HSA contribution.
          You will receive information about any such requirements during the annual benefits enrollment period (or when
          you enroll if you become eligible to enroll mid-year).
  The chart in Appendix I provides details on Cigna's HSA contribution amounts and any requirements that apply to
  receive the maximum HSA contribution from Cigna.
  When Contributions Are Made
  Biweekly contributions will be made to your HSA, once you have set up your account and Cigna is notified that it is
  open. The amount of your biweekly contribution will be based on the goal amount you set when you enrolled, divided by
  the number of available pay periods.
  Cigna's contribution is incremental and retroactive to the day that your coverage started for the plan year. Cigna's
  contribution can only be made to HSAs through the Cigna Medical Plan arrangement with the custodian and Cigna's


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  contribution will end when your employment ends or your coverage under the HSA option is cancelled, whichever comes
  first.
  To receive employer contributions for the plan year, you must establish your account by December 31st of the plan year.
  If you do not establish an HSA with the custodian by December 31st of the plan year, no employer contributions will be
  made for that plan year.
  If you are on an unpaid leave, including FMLA or while receiving Long-Term Disability benefits, employer contributions
  will continue to be credited to your account. However, you will not have access to these employer contributions made
  during your unpaid leave until you return to work or at the end of the plan year, whichever comes first.
  If you experience a life status change event, please contact HSA Member Services Center at 1.866.524.2483 to discuss how
  this may impact your account. In the event that the life status change event results in contributions in your account above
  the annual maximum contribution allowed under IRS guidelines, you can withdraw the excess contributions by your tax
  filing deadline to avoid additional taxes.
  Funds will no longer be contributed once Cigna receives notification that your account has been closed.
                                           Managing Your Health Savings Account
  Paying Qualified Medical Expenses from Your Health Savings Account
  With a health savings account, you can pay for qualified medical expenses with tax-free dollars.
  The IRS has compiled a list of qualified expenses that may be reimbursed by your HSA tax-free. A qualified expense is
  identified in Code section 213(d). These are explained in IRS Publication 502 and generally include medical, dental and
  vision expenses, chiropractic care and acupuncture. Note that amounts paid for over-the-counter drugs are considered
  qualified expenses only if the drugs are prescribed by a doctor. In addition, amounts you pay toward the cost of health
  coverage are generally not considered qualified expenses (with limited exceptions) unless you are age 65 or over. If you
  have questions about qualified medical expenses, please contact HSA Member Services at 1.866.524.2483.
  Once you have funds in your account, you may pay your out-of-pocket medical expenses incurred on or after the date
  your HSA was opened. You may use your HSA debit card, online bill payment, self-reimbursement/direct deposit or
  check to withdraw money from your account. You also may choose to cover your expenses using your own funds and
  allow your HSA to grow. See myCigna.com>Manage Claims and Balances for more information and any fees that may
  apply to you.
  You may also authorize the claims administrator to automatically forward medical expenses, for which you are
  responsible (example: deductible and coinsurance) to your HSA for payment once your claim is processed. This is
  called Automatic Claim Forwarding (ACE), which you can elect by completing an automatic claim forwarding
  authorization form available on myCigna.com.
  If you use your account dollars for expenses that are not qualified medical expenses, you will be subject to federal income
  tax, as well as a 20 percent penalty if you are under age 65. You will be required to report the distribution and any
  applicable penalty on your federal and possibly your state tax return.
  Earning Interest on Your HSA
  The balance in your account earns interest, which is tax-free. For interest rate information on your account, visit
  myCigna.com>Manage Claims and Balances for the Health Savings Account or call HSA Member Services at
  1.866.524.2483.
  Investing Your HSA
  The custodian offers investment options within your HSA. HSA investment accounts provide the option of investing in
  mutual funds as part of a longer-term savings program. The initial investment must be at least $2,000 and any money
  transferred to an investment account is not available for direct payment of eligible medical expenses. Investments are not
  guaranteed or FDIC insured. Contact the HSA Member Services at 1.866.524.2483 for more information.


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  HSA Fees
  Cigna will pay the custodian's account set-up fee if you are newly enrolled in an HSA option and do not have an existing
  HSA. Cigna will also pay the monthly maintenance fees while you are enrolled in an HSA option. Cigna will not pay
  overdraft fees, excess contribution fees, lost card or replacement check fees. If you are enrolled in COBRA, terminate
  employment with Cigna, otherwise become ineligible for coverage under the Cigna Medical Plan, or are no longer
  enrolled in the I-ISA option, all associated fees will become your responsibility. These fees will be deducted automatically
  from your HSA balance, if any of these events occur.
  Visit myCigna.com>illanage Claims and Balances for the Health Savings Account or contact HSA Member Services at
  1.866.524.2483 to learn about the fees for various HSA services. It is your responsibility to check your account balance
  prior to using funds to pay for services.
  If You Leave Cigna or Are No Longer Enrolled in the HSA Option
  The balance in your health savings account belongs to you as the account holder, even if you enroll in COBRA (or choose
  not to enroll in COBRA), change options (are no longer enrolled in the HSA option), end your medical coverage, change
  jobs or leave Cigna. In these events, all fees associated with the account will become your responsibility.
  Closing Your Account
  The balance in your account belongs to you and you may use these funds to pay for qualified medical expenses on a tax-
  free basis. If you choose to no longer maintain The account, it is your responsibility to close your account (for example, if
  you are no longer enrolled in an HSA option and do not wish to maintain your account).
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  With a health savings account you have the ability to contribute to your account on a tax favored basis. Interest earnings
  or earnings on investments made through your HSA will not be taxed as long as the funds remain in your account.
  In addition, all HSA withdrawals for qualified medical expenses are tax-free. If funds are used for expenses that are not
  qualified medical expenses, income tax will apply and a 20 percent penalty may also apply.
  Filing Your Income Tax Return
  Each January you will receive tax forms to report distributions, contributions and the market value of your HSA for the
  previous calendar year. You should save all of your medical expense receipts for income tax purposes.
  Form 1099-SA reports the distributions from your HSA in the previous calendar year. In May, you will receive Form
  5498-SA which reports the contributions to your HSA either "in" or "for" the previous calendar year and the fair market
  value of your account as of December 31.
  Under IRS guidelines, you must file a Form 8889 with your federal tax return if you (or someone on your behalf,
  including Cigna) make contributions to an HSA during the year. Form 8889 must also be filed if you have an HSA
  balance or use HSA funds during the year, even if you do not make contributions to your account in that year.
  Note: State tax law may differ from federal tax law in certain states, including:
      •   Alabama
      •   California
      •   New Jersey
  Please consult your tax advisor or HSA Member Services at 1.866.524.2483 if you have questions about the tax forms
  mentioned above.
  kOVERED EXPENSS
  This section describes the services and supplies covered under the HSA options. All HSA options cover the same services
  and supplies. References in this section to the "Plan" are to these options. Claim determinations are based only on

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  whether or not benefits are available under the Plan for the proposed treatment or procedure. The determination as to
  whether the pending health service is necessary and/or appropriate for you is between you and your physician. However,
  just because you or your physician decides a service is necessary or appropriate does not mean the service will be paid for
  by the Plan.
                                       General Requirements for Covered
  To be covered expenses, services or supplies must be recommended by a physician and medically necessary for the care
  and treatment of an injury or sickness as determined by Cigna HealthCare or for covered preventive care services.
  Preauthorization or Certification
  Certain services are covered under the Plan only if you meet preauthorization or certification requirements. For example,
  preauthorization or certification requirements apply to:
      •   Non-emergency ambulance use;
      •   Infertility treatment;
      •   Home health care and home infusion therapy;
      •   Transplant services;
      •   External prosthetic appliances and devices;
      •   Durable medical equipment;
      •   Gender reassignment surgery;
      •   Genetic Testing;
      •   Prescriptions that require prior authorization as noted on the drug list at www.myCigna.com;
      •   Injectable drugs;
      •   Hospital admissions;
      •   Outpatient surgical procedures;
      •   Diagnostic cardiology;
      •   Diagnostic testing using advance radiological imaging (CT Scans, MRI, MRA or PET scans);
      •   Dialysis;
      •   Radiation therapy; and
      •   Speech therapy.
  Maximum Reimbursable Charges
  When you receive care in-network, your cost will generally be lower because charges are subject to discounts negotiated
  by Cigna HealthCare and the Plan generally pays a greater share of the cost than if you receive care out-of-network.
  Charges for out-of-network services are covered only up to the maximum reimbursable charge. This is the maximum
  amount the Plan pays for out-of-network care. You are responsible for any amount above this maximum limit.
  The maximum reimbursable charge for covered services is determined based on the lesser of:
      •   The health care professional's normal charge for a similar service or supply; or
      •   110% of the schedule developed by the claims administrator that is based on a methodology similar to a
          methodology utilized by Medicare to determine the allowable fee for the same or similar service within the
          geographic market.

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  In some cases, a Medicare based schedule will not be used and the maximum reimbursable charge for covered services
  is determined based on the lesser of:
      •   The health professional's normal charge for a similar service or supply; or
      •   The 80th percentile of charges for such service or supply by other health care professionals in the geographic area
          where it is received as compiled in a database selected by the claims administrator.
  The maximum reimbursable charge is subject to all other benefit limitations and Plan provisions, and applicable coding
  and payment methodologies determined by the claims administrator. Additional information about how the claims
  administrator determines the maximum reimbursable charge is available upon request. To obtain the maximum
  reimbursable charge for a particular procedure or treatment, contact the Customer Service Center at 1.888.992.4462.
  Calculation of Covered Expenses
  The claims administrator will calculate covered expenses after evaluating and validating the bills submitted for payment
  in accordance with the most recent edition of the Current Procedural Terminology (CPT) codes published by the
  American Medical Association and generally recognized methodologies for claims administration.
  PHYSICIAN,         SPITALPAND RELATED SERVICES
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  The Plan covers preventive care, which includes health screenings and interventions, and immunizations. Preventive
  exams are comprehensive in relation to age and gender and consist of an appropriate history and exam, anticipatory
  guidance, education regarding risk reduction interventions and a psychosocial/behavioral assessment. The Plan pays the
  full cost of preventive care services if you receive them in-network. Your network doctor determines how often
  preventive care services are needed based on such factors as your age and medical history.
  For certain services, you must use in-network health care professionals for these services to be covered by the Plan. If
  they are received out-of-network, you will be responsible for the cost of these services. See the charts in Appendix 1 for
  more information on how your share of the cost for out-of-network preventive care is determined.
  The Plan also pays the full cost of the following preventive care services if you receive them in-network. Detailed
  information is available at https://www.healthcare.gov/what-are-my-preventive-care-benefits/:
      •   Evidence-based items or services that have in effect a rating of "A" or "B" in the current recommendations of the
          United States Preventive Services Task Force;
      •   Immunizations that have in effect a recommendation from the Advisory Committee on Immunization Practices of
          the Centers for Disease Control and Prevention with respect to the person involved;
      •   For infants, children and adolescents, evidence-informed preventive care and screenings provided for in the
          comprehensive guidelines supported by the Health Resources and Services Administration; and
      •   For women, such additional preventive care and screenings not described in the first item above as provided for in
          comprehensive guidelines supported by the Health and Resources Services Administration.
  A list of commonly recognized preventive care services is also available on the Your Cigna Life website (Health& Well-
  Being> Medical).
                                                   npatient Hospital Ser&es
  The Plan covers inpatient hospital services, as described in this section and in the charts in Appendix I if you are a
  registered bed patient in a hospital on the recommendation of a physician.
  The Plan covers charges made by a hospital, on its own behalf, for bed and board and other necessary services and
  supplies. Covered expenses for bed and board and hospital services include:
      •   Semi-private room and board unless Cigna HealthCare determines a private room is medically necessary;

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      •   Care and services in an intensive care unit;
      •   Administered drugs, medications, biologicals and fluids;
      •   Special diets;
      •   Dressings and casts;
      •   General nursing, unless Cigna HealthCare determines private duty nursing is medically necessary;
      •   Use of operating room and related facilities;
      •   The administration of blood and blood products;
      •   X-ray, laboratory and other diagnostic services;
      •   Anesthesia and oxygen services;
      •   Inhalation therapy;
      •   Radiation and chemotherapy;
      •   Physical, speech and occupational therapy; and
      •   Other services customarily provided in acute care hospitals.
  Cigna HealthCare must authorize any non-emergency hospital admission in advance. If you receive in-network care, a
  network health professional will obtain that authorization for your admission to a network hospital. For more information
  about certifying a hospital stay, see the "HOSPITAL PRE-ADMISSION CERTIFICATION AND CONTINUED STAY
  REVIEW REQUIREMEN TS" chart.
                                                             Hospital Smet,—
  The Plan covers charges made by a hospital, on its own behalf, for medical care and treatment received as an outpatient.
  Diagnostic Outpatient Testing
  The Plan covers charges for diagnostic, x-ray and laboratory tests performed on an outpatient basis if the services are
  recommended by a physician, and are medically necessary for the care and treatment of an illness or injury.
  Radiation and Chemotherapy
  The Plan covers charges for radiation and chemotherapy treatments performed on an outpatient basis.
  Outpatient Surgery
  The Plan covers charges by a hospital, free-standing surgical facility or other approved surgical facility for medical care
  for outpatient surgery. Medically necessary services and supplies offered in conjunction with the surgery are also
  covered, including:
      •   Lab tests and x-rays;
      •   Drugs and medications;
      •   Biologicals and fluids;
      •   Anesthesia and its administration;
      •   Administration of blood and blood products; and
      •   Recovery room services.




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  The Plan covers charges for the diagnosis, treatment and care for an illness and injury whether you receive the services in
  an office, hospital or at home. Your coverage includes the necessary diagnostic tests and x-rays, injections, casts and
  dressings, and physician services in the hospital as well as surgical services provided by a surgeon, assistant surgeon, co-
  surgeon and anesthesiologist.
  When a surgeon performs two or more surgical procedures during the same operation, the maximum amount the Plan will
  pay is the amount that would be payable for the most expensive procedure, plus one-half of the amount that would be
  payable for all other procedures.
  If an assistant surgeon is medically necessary, the maximum amount the Plan will pay for the assistant surgeon's charges
  is limited to 20% of the surgeon's allowable charge (before any reductions due to coinsurance or deductible amounts).
  The maximum amount the Plan will pay for charges made by co-surgeons is limited to 20% of the surgeon's allowable
  charge (before any reductions due to coinsurance or deductible amounts) plus 20%.
  The Plan requires treatment decision support coaching for elective hip, back, and knee surgery. If you do not complete
  the coaching, your covered benefit will be reduced by $1,000. For more information or to complete the pre-surgical
  decision support program, call the Customer Service Center at 1.888.99Cigna (1.888.992.4462).
                                          Noesthesia/X-Ray & Laboratory Service':::::::::
  The Plan covers charges made for anesthetics and their administration; diagnostic x-ray and laboratory examinations; x-
  ray, radium, and radioactive isotope treatment; chemotherapy; blood transfusions; oxygen and other gases and their
  administration.
  The Plan also covers charges made for laboratory services, radiation therapy and other diagnostic and therapeutic
  radiological procedures.


  The Plan covers charges by a licensed ambulance service for transportation to or from the nearest hospital where the
  needed emergency medical care and treatment can be provided. Non-emergency ambulance use must be authorized in
  advance by Cigna HealthCare.
                                                           Maternity C
  The Plan covers maternity care for you and your covered dependents. "Maternity care" includes medical and surgical
  services and care at a hospital or free-standing birthing center during the term of pregnancy, upon delivery, and during the
  postpartum period. Normally, physicians bill one all-inclusive fee for the delivery and all related exams. This fee is
  considered a surgical charge and is subject to the applicable coinsurance. Plan coverage includes:
      •   Pre- and post-delivery exams;
      •   Normal deliveries;
      •   Spontaneous abortion miscarriage);
      •   Cesarean section;
      •   Elective termination of pregnancy (abortion); and
      •   Complications due to pregnancy.
  For your coinsurance and deductible amounts, see the charts in Appendix I.
  Newborn Care
  Coverage for maternity care includes services for the newborn. Cigna HealthCare will create a separate claim file for
  your new baby.

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  Plan coverage for your newborn child is automatic for the first 30 days from the date of birth. To have coverage for your
  new child after the first 30 days, you must enroll the child as a covered dependent in the Plan. See "Enrolling Newborn
  Children" for instructions on how to enroll your newborn.
  Note: Automatic Plan coverage for the first 30 days does not apply to a child born to your female covered dependent
  child. A child born to your female dependent child is NOT covered under the Cigna Medical Plan for other than routine
  hospital nursery care, unless the newborn qualifies as your eligible dependent and you enroll this infant in the Plan.
                               Therapies forfarticipants Diagnosed with Autism Spectrum Disorder
  The Plan's covered services include a maximum of 60 days per plan year of physical therapy, occupational therapy, and
  speech therapy for participants who have been diagnosed with autism spectrum disorder (not to be combined with the
  Plan's standard rehabilitation services).
                                                  Voluntary Family Planning
  The Plan's covered services include:
     •     Charges made for family planning, including medical history, physical exam, related laboratory tests, medical
           supervision in accordance with generally accepted medical practices, other medical services, information and
           counseling on contraception, implanted/injected contraceptives; and
     •     Charges made for appropriate counseling, medical services connected with surgical therapies, including
           vasectomy and tubal ligation.
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  The Plan covers in-network charges made for services related to the diagnosis of infertility and the treatment of infertility
  once a condition of infertility has been diagnosed. Services include, but are not limited to:
      •    Infertility drugs which are administered or provided by a physician;
      •    Approved surgeries and other therapeutic procedures that have been demonstrated in existing peer-reviewed,
           evidence-based, scientific literature to have a reasonable likelihood of resulting in pregnancy;
      •    Laboratory tests; sperm washing or preparation;
      •    Artificial insemination;
      •    Diagnostic evaluations;
      •    Gamete intrafallopian transfer (GIFT);
      •    In vitro fertilization (IVF);
      •    Zygote intrafallopian transfer (ZIFT); and
      •    The services of an embryologist.
  Infertility is defined as:
      •    The inability of opposite sex partners to achieve conception after one year of unprotected intercourse;
      •    The inability of a woman to achieve conception after six trials of artificial insemination over a one-year period; or
      •    The inability of opposite-sex partners to achieve conception after six months of unprotected intercourse for a
           woman over the age of 35.
  This benefit includes diagnosis and treatment of both male and female infertility. However, the Plan does not cover any
  of the following infertility services:
      •    Reversal of male and female voluntary sterilization;


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      •   Infertility services when the infertility is caused by or related to voluntary sterilization;
      •   Donor charges and services;
      •   Cryopreservation of donor sperm and eggs;
      •   Attempts at artificial insemination, with or without superovulation drug therapy, more than 12 months after the
          start of such treatment;
      •   Surrogate mothers; and
      •   Any experimental, investigational or unproven infertility procedures or therapies.
  The Plan does not cover out-of-network charges for infertility services.
  Special Preauthorization Requirements
  Before starting a program for treatment of infertility, your network doctor must submit the proposed treatment plan to
  Cigna HealthCare for review and initiate the case management process. Cigna HealthCare reviews your medical
  history and notifies your network doctor of the services authorized for Plan coverage. Also, participants must enlist the
  services of a Healthy Life Personal Health Team coach to receive infertility benefits from the Plan.
  Lifetime Maximum Benefit for Infertility Diagnosis and Treatment
  The Plan covers up to $10,000 of the cost of all covered services related to the diagnosis and treatment of infertility for
  you over your lifetime, or $15,000 when a Center of Excellence is used.
                                       Skilled Nursing and :1 teri,flealth Careracility
  The Plan covers charges made by other health care facilities (including a skilled nursing facility, a rehabilitation
  hospital or a subacute facility) for medical care and treatment.
  The Plan will cover a maximum number of days per calendar year, as described in the charts in Appendix I, in a licensed
  skilled nursing facility. This treatment maximum applies to the total of services you receive from both in-network and
  out-of-network health professionals. Coverage will be based on whether Cigna HealthCare determines that treatment in
  a skilled nursing facility is medically necessary and appropriate. Covered services include:
      •   Semi-private room and board;
      •   Skilled and general nursing services;
      •   Physician visits;
      •   Physiotherapy;
      •   X-ray; and
      •   Administration of drugs, medications, biologicals and fluids.
  In the case of a skilled nursing facility, you must be admitted to the facility within 10 days after the end of your hospital
  confinement for the same illness or injury. The Plan covers the extended-care treatment only if your preceding hospital
  confinement was also covered. If Cigna Healthcare determines that treatment in a skilled nursing facility is an
  acceptable alternative to a hospital stay, it will waive these requirements.
  Two or more successive stays in an extended-care facility for the same or a related illness or injury will be considered one
  stay unless the periods are separated by a period of at least 14 days during which there is also no hospital stay.
                                                      Home Health Servim
  The Plan covers charges made for home health services when you:
      •   Need skilled care;


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      •   Cannot obtain the required care as an ambulatory outpatient; and
      •   Do not require a stay in a hospital or other health care facility.
  Home health services are provided only if Cigna HealthCare has determined in advance that the home is a medically
  appropriate setting. In the case of a minor or an adult who is dependent on others for non-skilled care and/or custodial
  services (e.g., bathing, eating, toileting), home health services will be provided only when another family member or
  caregiver is present in the home to meet any needs for non-skilled care and/or custodial services.
  Home health services are services that can be provided during home visits by other health care professionals. The
  services of a home health aide are covered when these services are in direct support of skilled health care services
  provided by other health care professionals. A visit is defined as a period of 2 hours or less. The Plan covers up to a
  maximum of 16 hours of home health services per day. Necessary consumable medical supplies and home infusion
  therapy administered or used by other health care professionals in providing home health services are covered.
  Home health services do not include services by a person who is a member of your family or your covered dependent's
  family or who normally resides in your house or your covered dependent's house even if that person is an other health
  care professional.
  Skilled nursing services or private duty nursing services provided in the home are subject to the rules that apply to home
  health services. Physical, occupational, and other short-term rehabilitative therapy services provided in the home are
  subject to the rules that apply to short-term rehabilitative therapy in the charts in Appendix l; they are not considered
  home health services.
                                                      Hosiiiii'CAeggervices
  Covered expenses include charges made for a person who has been diagnosed as having six months or fewer to live, due
  to terminal illness, for the following hospice care services provided under a hospice care program:
      •   By a hospice facility for bed and board and services and supplies;
      •   By a hospice facility for services provided on an outpatient basis;
      •   By a physician for professional services;
      •   By a psychologist, social worker, family counselor or ordained minister for individual and family counseling;
      •   For pain relief treatment, including drugs, medicines and medical supplies;
      •   By an other health care facility for:
          o   part-time or intermittent nursing care by or under the supervision of a nurse;
          o   part-time or intermittent services of an other health care professional;
          o   physical, occupational and speech therapy; and
          o   medical supplies; drugs and medicines lawfully dispensed only on the written prescription of a physician; and
              laboratory services; but only to the extent those charges would have been payable under the policy if the
              person had remained or been confined in a hospital or hospice facility.
  The Plan does NOT cover the following hospice care services:
      •   Services by a person who is a member of your family or your covered dependent's family or who normally
          resides in your house or your covered dependent's house;
      •   Services for any period when a person is not under the care of a physician;
      •   Services or supplies not listed in the hospice care program;
      •   Any curative or life-prolonging procedures;


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      •   Expenses for services and supplies to the extent that any other benefits are payable for those expenses under the
          Plan; and
      •   Services or supplies that are primarily to aid in daily living.
                                hortiferm Rehatiliative.Therapv and Chiropractic Ser
  The Plan covers the following charges made for short-tet m rehabilitative therapy and chiropractic services as shown in the
  charts in Appendix I. There is a limit on what the Plan will cover. This limit applies to the total of services you receive
  from both in-network and out-of-network health professionals.
      •   Charges made for short-telm rehabilitative therapy that is part of a rehabilitative program, including physical,
          speech, occupational, cognitive, osteopathic manipulative, cardiac rehabilitation and pulmonary rehabilitation
          therapy, when provided in the most medically appropriate setting.
      •   Charges for diagnostic and treatment services that are provided by a chiropractic physician when provided in an
          outpatient setting. Services of a chiropractic physician include the conservative management of acute
          neuromusculoskeletal conditions through manipulation and ancillary physiological treatment that is rendered to
          restore motion, reduce pain and improve function.
  The following limitations apply to short-term rehabilitative therapy and chiropractic care services:
      •   To be covered, all therapy services must be restorative in nature. Restorative therapy services are services that are
          designed to restore levels of function that had previously existed but that have been lost as a result of injury or
          sickness. Restorative therapy services do not include therapy designed to acquire levels of function that had not
          been achieved before the injury or sickness.
      •   Services are not covered if they are custodial, training, educational or developmental in nature.
      •   Occupational therapy is provided only for purposes of enabling persons to perform the activities of daily living
          after an injury or sickness.
  The Plan does NOT cover:
      •   Sensory integration therapy; group therapy; treatment of dyslexia; behavior modification or myofunctional
          therapy for dysfluency, such as stuttering or other involuntarily acted conditions without evidence of an
          underlying medical condition or neurological disorder;
      •   Treatment for functional articulation disorder such as correction of tongue thrust, lisp, verbal apraxia or
          swallowing dysfunction that is not based on an underlying diagnosed medical condition or injury; or
      •   Maintenance or preventive treatment consisting of routine, long term or non-medically necessary care provided
          to prevent recurrences or to maintain the patient's current status.
  The Plan does not cover these chiropractic care services:
      •   Services of a chiropractor that are not within his scope of practice, as defined by state law;
      •   Charges for care not provided in an office setting; or
      •   Vitamin therapy.
  Multiple outpatient services provided on the same day constitute one visit.

  U                                              Acupuncture Servic
  The Plan covers acupuncture as medically necessary for any of the following indications:
      •   Nausea and vomiting associated with pregnancy;
      •   Nausea and vomiting associated with chemotherapy;

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      •   Postoperative nausea and vomiting; and
      •   Postoperative dental pain.
  Acupuncture is covered as an adjunct to standard conservative therapy for the treatment of the following chronic, painful
  conditions when other conservative methods of treatment have failed, there is limitation resulting in impaired activities of
  daily living, and there is reasonable expectation acupuncture treatment will result in significant therapeutic improvement
  over a clearly defined period of time:
      •   Migraine or tension headache;
      •   Osteoarthritic knee pain;
      •   Neck pain; and
      •   Low back pain.
  The Plan does not cover acupuncture when treatment is unlikely to result in sustained improvement or when there is no
  defined endpoint, including preventive, maintenance or supportive care, because it is considered not medically necessary.
  Acupuncture also is not covered for any other indication, because it is considered experimental, investigational or
  unproven.
  Acupuncture point injections are not covered for any indication because they are considered experimental, investigational
  or unproven.
                                                 I nternal Prosthetic Appliances
  The Plan covers internal prosthetic/medical appliances that provide permanent or temporary internal functional supports
  for non-functional body parts. The Plan also covers the medically necessary repair, maintenance or replacement of
  covered internal prosthetic appliances.
  Breast Reconstruction and Breast Prostheses
  The Plan covers charges made for reconstructive surgery following a mastectomy. Benefits include:
      •   Surgical services for reconstruction of the breast on which surgery was performed;
      •   Surgical services for reconstruction of the non-diseased breast to produce symmetrical appearance;
      •   Postoperative breast prostheses; and
      •   Mastectomy bras and external prosthetics, limited to the lowest cost alternative available that meets external
          prosthetic placement needs.
  During all stages of mastectomy, treatment of physical complications, including lymphedema therapy, are covered.
                                                    Reconstructive Surgery
  The Plan covers reconstructive surgery or therapy to repair or correct a severe physical deformity or disfigurement which
  is accompanied by functional deficit (other than abnormalities of the jaw or conditions related to temporomandibular joint
  (TMJ)) disorder provided that:
      •   The surgery or therapy restores or improves function;
      •   Reconstruction is required as a result of medically necessary, non-cosmetic surgery; or
      •   The surgery or therapy is performed before age 19 and is required as a result of the congenital absence or agenesis
          (lack of formation or development) of a body part.




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  Repeat or subsequent surgeries for the same condition are covered only when there is the probability of significant
  additional improvement as determined under the procedures described in the "If You Need to Be Hospitalized -
  Authorization/Certification Requirement" section.
                                                        ransplant Ser06s
  The Plan covers charges made for human organ and tissue transplant services which include solid organ and bone
  man-ow/stem cell procedures at designated facilities throughout the United States or its territories. This coverage is
  subject to the following conditions and limitations. All transplant services must be authorized in advance by Cigna
  HealthCare.
  Transplant services include the recipient's medical, surgical and hospital services; inpatient immunosuppressive
  medications; and costs for organ or bone marrow/stem cell procurement. Transplant services are covered only if they are
  required to perform any of the following human-to-human organ or tissue transplants:
      •   Allogeneic bone marrow/stem cell,
      •   Autologous bone man-ow/stem cell,
      •   Cornea,
      •   Heart,
      •   Heart/lung,
      •   Kidney,
      •   Kidney/pancreas,
      •   Liver,
      •   Lung,
      •   Pancreas, or
      •   Intestine which includes small bowel-liver or multi-visceral.
  All transplant services, except cornea, are covered at 100% when received at Cigna LIFESOURCE Transplant Network®
  facilities. Cornea transplants are not covered at Cigna LIFESOURCE Transplant Network® facilities. Transplant
  services, including cornea, received at participating facilities specifically contracted with Cigna for those transplant
  services, other than Cigna LIFESOURCE Transplant Network® facilities, are payable at the in-network level. Transplant
  services received at any other facilities, including non-participating facilities and participating facilities not specifically
  contracted with Cigna for transplant services, are payable at the out-of-network level.
  Coverage for organ procurement costs are limited to costs directly related to the procurement of an organ, from a cadaver
  or a live donor. Organ procurement consists of surgery necessary for organ removal, organ transportation and the
  transportation, hospitalization and surgery of a live donor. Compatibility testing undertaken before procurement is
  covered if medically necessary. Costs related to the search for, and identification of a bone marrow or stem cell donor
  for an allogeneic transplant are also covered.
  Transplant Travel Services
  Charges made for reasonable travel expenses incurred in connection with a preapproved organ/tissue transplant are
  covered subject to the following conditions and limitations. Transplant travel benefits are not available for cornea
  transplants. Benefits for transportation and lodging are available to the recipient of a preapproved organ/tissue transplant
  from a designated Cigna LifeSOURCE Transplant Network® facility. A recipient is a person receiving authorized
  transplant related services during any of the following stages:
      •   Evaluation,


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      •   Candidacy,
      •   Transplant event, or
      •   Post-transplant care.
  Travel expenses for the person receiving the transplant include charges for transportation to and from the transplant site
  (including charges for a rental car used during a period of care at the transplant facility). These travel expense charges
  will also be covered for one companion accompanying a recipient. A companion includes a recipient's spouse, partner, a
  member of the recipient's family, the recipient's legal guardian, or any person not related to the recipient, but actively
  involved as the recipient's caregiver. Lodging expenses while at, or traveling to and from the transplant site will be
  covered up to a maximum of $50 per day for one person and $100 per day for two people. Lodging expenses in excess of
  the daily limits will not be covered.
  The following travel expenses are NOT covered:
      •   Costs for travel within 60 miles of your home,
      •   Food and meals,
      •   Laundry bills,
      •   Telephone bills,
      •   Alcohol or tobacco products, and
      •   Charges for transportation that exceed coach class rates.
  These transplant benefits are only available when you or your covered dependent is the recipient of an organ transplant.
  The Plan does not provide any benefits for a transplant donor.

  I                                      external Prosthetic Appliances spa
  The Plan covers charges made or ordered by a physician for the initial purchase and fitting of external prosthetic
  appliances and devices that are: (1) available only by prescription, and (2) necessary for the alleviation or correction of
  injury, sickness or congenital defect. Coverage is limited to the most appropriate and cost-effective alternative as
  detetinined by Cigna HealthCare.
  External prosthetic appliances and devices include:
      •   Prostheses/prosthetic appliances and devices (replacements for missing body parts);
      •   Orthoses and orthotic devices (orthopedic appliances or apparatuses used to support, align, prevent or correct
          deformities);
      •   Braces (an orthosis or orthopedic appliance that supports or holds in correct position any movable part of the body
          and that allows for motion of that part); and
      •   Splints (an appliance for preventing movement of a joint or for the fixation of displaced or movable parts).
  Prostheses/Prosthetic Appliances and Devices
  Prostheses/prosthetic appliances and devices include, but are not limited to:
      •   Basic limb prostheses;
      •   Terminal devices such as hands or hooks; and
      •   Speech prostheses.
  Orthoses and Orthotic Devices
  The Plan covers only the following custom foot orthoses:

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      •    For those with impaired peripheral sensation and/or altered peripheral circulation (e.g., diabetic neuropathy and
           peripheral vascular disease);
      •    When the foot orthosis is an integral part of a leg brace and is necessary for the proper functioning of the brace;
      •    When the foot orthosis is for use as a replacement or substitute for missing parts of the foot (e.g., amputated toes)
           and is necessary for the alleviation or correction of injury, sickness or congenital defect; and
      •    For those with neurologic or neuromuscular conditions (e.g., cerebral palsy, hemiplegia, spina bifida) producing
           spasticity, malalignment, or pathological positioning of the foot and there is reasonable expectation of
           improvement.
  The Plan covers the following other orthoses:
      •    Rigid and semirigid custom fabricated orthoses;
      •    Semirigid prefabricated and flexible orthoses; and
      •    Rigid prefabricated orthoses including preparation, fitting and basic additions, such as bars and joints.
  The Plan does NOT cover the following orthoses and orthotic devices:
      •    Prefabricated foot orthoses;
      •    Cranial banding and/or cranial orthoses. Other similar devices are excluded except when used postoperatively for
           synostotic plagiocephaly. When used for this indication, the cranial orthosis is subject to the limitations and
           maximums of the external prosthetic appliances and devices benefit;
      •    Orthosis shoes, shoe additions, procedures for foot orthopedic shoes, shoe modifications and transfers;
      •    Orthoses primarily used for cosmetic rather than functional reasons; and
      •    Orthoses primarily for improved athletic performance or sports participation.
  Braces
  The Plan does not cover Copes scoliosis braces.
  The Plan covers replacement of external prosthetic appliances and devices as follows:
      •    Replacement due to regular wear. Replacement for damage due to abuse or misuse is not covered.
      •    Replacement when anatomic change has rendered the external prosthetic appliance or device ineffective.
           Anatomic change includes significant weight gain or loss, atrophy and/or growth.
      •    Coverage for replacement is limited to:
           o   No more than once every 24 months for those 19 years of age and older; and
           o   No more than once every 12 months for those 18 years of age and under unless replacement is due to a
               surgical alteration or revision of the site.
                                             External Prosthetic Appliances-Wigs
  The Plan covers charges for wigs, sometimes referred to as hair prostheses or cranial hair prostheses, if hair loss is due to
  chemotherapy and/or radiation treatments for cancer, alopecia aerata, metabolic diseases, or injury. To be covered, the
  wig must be ordered by a physician. Covered charges are subject to the deductible and to the same coinsurance level as
  for other external prosthetic devices and appliances, and are limited to an annual maximum of $500.

  I                                                     Hearing Aids
  The Plan covers charges for hearing aid devices used to amplify sound. Covered charges for hearing aids are subject to
  the deductible and to the same coinsurance level as for external prosthetic devices and appliances, and are limited to a

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  per device maximum of $1,500. Covered charges under the Plan are limited to 2 hearing aid devices every 36 months.
  Coverage under the Plan includes charges associated with the testing and fitting of a hearing aid device.


                                                                 Ica    quip
  The Plan covers the purchase or rental of certain durable medical equipment listed in this section. To be covered, the
  equipment must be (1) ordered or prescribed by a physician and (2) provided by a vendor approved by the claims
  administrator for use outside a hospital or other health care facility.
  The Plan covers repair, replacement or duplicate equipment only when required due to anatomical change and/or
  reasonable wear and tear. The Plan does not cover maintenance and repairs that result from your misuse. Coverage for
  durable medical equipment is limited to the lowest-cost alternative as determined by Cigna Healthcare. Durable medical
  equipment is defined as items which:
      •   Are designed for and able to withstand repeated use by more than one person;
      •   Customarily serve a medical purpose;
      •   Generally are not useful in the absence of injury or sickness;
      •   Are appropriate for use in the home; and
      •   Are not disposable.
  Durable medical equipment includes, but is not limited to, crutches, hospital beds, respirators, wheel chairs, and dialysis
  machines. Durable medical equipment that is not covered includes:
      •   Bed-related items, including bed trays, over the bed tables, bed wedges, pillows, custom bedroom equipment,
          mattresses, including nonpower mattresses, custom mattresses and posturepedic mattresses;
      •   Bath-related items, including bath lifts, nonportable whirlpools, bathtub rails, toilet rails, raised toilet seats, bath
          benches, bath stools, hand held showers, paraffin baths, bath mats, and spas;
      •   Chairs, lifts and standing devices, including computerized or gyroscopic mobility systems, roll about chairs,
          geriatric chairs, hip chairs, seat lifts (mechanical or motorized), patient lifts (mechanical or motorized — manual
          hydraulic lifts are covered if patient is two-person transfer), and auto tilt chairs;
      •   Fixtures to real property, including ceiling lifts and wheelchair ramps;
      •   Car/van modifications;
      •   Air quality items, including room humidifiers, vaporizers, air purifiers and electrostatic machines;
      •   Blood/injection related items, including blood pressure cuffs, centrifuges, nova pens and needleless injectors;
      •   Other equipment, including heat lamps, heating pads, cryounits, cryotherapy machines, electronic-controlled
          therapy units, ultraviolet cabinets, sheepskin pads and boots, postural drainage board, AC/DC adaptors, enuresis
          alarms, magnetic equipment, scales (baby and adult), stair gliders, elevators, saunas, any exercise equipment and
          diathermy machines.


  The Plan covers smoking cessation programs that are offered by local hospitals, clinics and nonprofit organizations and
  that combine education, behavior modification and group support.




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  The Plan co; ers expenses related to the care of eye injuries and conditions that affect the health of the eye such as
  cataracts, glaucoma and complications from diabetes and high blood pressure. The Plan does not cover routine vision
  exams.
                                                     !!!!!!pentatgxpensgsi!!!!!
  The Plan does NOT coNer most dental expenses. The Cigna Dental Plan, which is described in the Cigna Dental Plan
  SPD, may cover your dental expenses. However, the Cigna Medical Plan does cover the following dental expenses, if
  your physician authorizes the services:
      •   Charges resulting from dental work needed because of an accidental injury to sound natural teeth, if you have the
          accident while covered under the Cigna Medical Plan; and
      •   Charges incurred at a hospital or free-standing surgical facility in connection with dental surgery.
  A hospital stay related to dental treatment is covered only if it is certified as medically necessary and authorized by
  Cigna HealthCare.
  Temporomandibular Disorders
  The Plan covers treatment for problems with the temporomandibular joint (TMJ) and associated muscles for chewing if
  authorized by Cigna HealthCare as being medically necessary. Covered services include, but are not limited to splints,
  physical therapy, trigger point injections and surgical procedures.
  The Plan does NOT cover:
      •   TMJ treatment involving the teeth, such as crowns, inlays/onlays, bridges, full and partial dentures or
          orthodontics; or
      •   Treatment for mandibular or maxillary prognathism, miscoprognathism or malocclusion, surgical/augmentation
          for orthodontics or maxillary construction.
                                                           g            irgei
  The Plan covers orthognathic surgery (corrective jaw surgery) to repair or correct severe facial deformity or disfigurement
  that orthodontics alone cannot correct if:
      •   The deformity or disfigurement is accompanied by a documented clinically significant functional impairment, and
          there is a reasonable expectation that the procedure will result in meaningful functional improvement; or
      •   The orthognathic surgery is medically necessary as a result of tumor, trauma, disease or;
      •   The orthognathic surgery is performed before age 19 and is needed because of severe congenital facial deformity
          or congenital condition.
  Repeat or subsequent orthognathic surgeries for the same condition are covered only when (1) the previous orthognathic
  surgery met the above requirements, and (2) there is a high probability of significant additional improvement as
  determined by Cigna HealthCare.
                                               110ender Reassignment Surgery
  The Plan covers gender reassignment surgery as medically necessary when the individual is age 18 or older, has
  confirmed gender dysphoria and is an active participant in a recognized gender identity program. Covered expenses
  include charges for medical and/or psychological counseling and hormone therapy in preparation for, or subsequent to,
  any such surgery.
  The Plan does not cover cosmetic surgery, even when it is performed as a component of a gender reassignment. The Plan
  also does not cover services related to the preservation of fertility or reproductive tissue.


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  Special Preauthorization Requirements
  All services must be authorized in advance by Cigna HealthCare. The attending physician must submit a proposed
  treatment plan to Cigna HealthCare for review and to initiate the case management process. Cigna HealthCare will
  review the individual's medical history and notify the attending physician of the services authorized for Plan coverage.
                                                                      Tiiab
  The Plan covers routine patient care costs/services related to a clinical trial for a qualified individual consistent with the
  Patient Protection and Affordable Care Act (PPACA) requirements. The individual must be eligible to participate
  according to the trial protocol and EITHER of the following conditions must be met:
      •   the referring health care professional is a participating health care provider and has concluded that the individual's
          participation in such trial would be appropriate, or
      •   the individual provides medical and scientific information establishing that the individual's participation in such
          trial would be appropriate
  The approved clinical trial is a phase I, phase II, phase III or phase IV clinical trial conducted in relation to the prevention,
  detection or treatment of cancer or other life-threatening disease or condition that meets ANY of the following criteria:
      •   Federally funded trial: The study of investigation is approved or funded (which may include funding through in-
          kind contributions) by one or more of the following:
          o   National Institutes of Health (NIH)
          o   Centers for Disease Control and Prevention (CDC)
          o   Agency for Health Care Research and Quality (AHRQ)
          o   Centers for Medicare and Medicaid Services (CMS)
          o   A cooperative group or center of any of the entities described above or the Department of Defense (DOD) or
              the Department of Veterans Affairs (VA)
          o   A qualified non-governmental research entity identified in NIH guidelines for center support grants
          o   ANY of the following:
               ■   Department of Defense
               ■   Department of Veterans Affairs
               ■   Department of Energy
              Only if BOTH of the following conditions are met: the study or investigation has been reviewed and approved
              through a system of peer review that the Secretary of Health and Human Services determines:
               ■   to be comparable to the system of peer review of studies and investigations used by the National Institutes
                   of Health; and
               ■   assures unbiased review of the highest scientific standards by qualified individuals who have no interest
                   in the outcome of the review.
      •   The study or investigation is conducted under an investigational new drug application reviewed by the Food and
          Drug Administration.
      •   The study or investigation is a drug trial that is exempt from having such an investigational new drug application.
  The Plan does not cover ANY of the following services associated with a clinical trial:
      •   services that are not considered routine patient care costs/services, including the following:


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          o   the investigational drug, device, item, or service itself
          o   an item or service that is provided solely to satisfy data collection and analysis needs
          o   an item or service that is not used in the direct clinical management of the individual
          o   a service that is clearly inconsistent with widely accepted and established standards of care for a particular
              diagnosis
      •   an item or service provided by the research sponsors free of charge for any person enrolled in the trial
      •   travel and transportation expenses unless otherwise covered under the plan, including, but not limited to the
          following:
          o   fees for personal vehicle, rental car, taxi, medical van, ambulance, commercial airline, train
          o   mileage reimbursement for driving a personal vehicle
          o   lodging
          o   meals
                                                            etemedicine
  The Plan offers MDLIVE teleinedicine services. Through this service, participants can connect with a natiomvide
  network of board certified physicians and licensed therapists through secure video or telephone. This service is available
  24 hours per day, and users may call from any location. Visit the iiiiic.iny(7glia.colii website for further information.
                                                         G endieTestir
  The Plan covers genetic testing that uses a proven testing method for the identification of genetically-linked inheritable
  disease, subject to these conditions:
      •   The person has symptoms or signs of a genetically-linked inheritable disease;
      •   The person is determined to be at risk for carrier status, and the determination is supported by existing peer-
          reviewed, evidence-based, scientific literature for the development of a genetically-linked inheritable disease
          when the results will impact the clinical outcome; or
      •   The therapeutic purpose is to identify a specific genetic mutation that has been demonstrated in the existing peer-
          reviewed, evidence-based, scientific literature to directly impact treatment options.
  The Plan covers pre-implantation genetic testing (genetic diagnosis before embryo transfer) when either parent has an
  inherited disease or is a documented carrier of a genetically linked inheritable disease.
  Testing of a family member may be covered under the following conditions:
      •   The condition meets the criteria for genetic testing under the Cigna HealthCare coverage policy;
      •   The family member is a better alternative than the patient for clinical reasons and a negative test would preclude
          unnecessary testing of the patient; and
      •   Testing the family member is being done for the primary purpose of identifying or excluding a risk for the patient.
  The Plan covers genetic counseling for someone who (1) is undergoing approved genetic testing, or (2) has an inherited
  disease and is a potential candidate for genetic testing. Genetic counseling is limited to three (3) visits per year for both
  pre- and post-genetic testing.
  Coverage for services related to genetic testing may require prior authorization. Your network physician will assist you
  in obtaining the authorization. If you are receiving care out-of-network, contact the Healthy Life Personal Health Team at
  1.888.992.4462 for assistance.


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  The Plan covers individualized nutritional evaluation and counseling that is (1) medically necessary for the management
  of any medical condition for which appropriate diet and eating habits are essential to the overall treatment program, (2)
  prescribed by a physician or physician extender (a nurse practitioner or physician assistant), and (3) provided by a
  licensed health-care professional (e.g., a registered dietician) covered under the Plan.
  Conditions for which nutritional evaluation and counseling may be considered medically necessary include, but are not
  limited to:
      •   Anorexia nervosa/bulimia,
      •   Celiac disease,
      •   Cardiovascular disease,
      •   Crohn's disease (CD),
      •   Diabetes mellitus (DM),
      •   Disorders of metabolism (e.g., inborn errors of metabolism, inherited metabolic diseases, amino acid disorders),
      •   Hyperlipidemia,
      •   Hypertension,
      •   Liver disease,
      •   Malabsorption syndrome,
      •   Metabolic syndrome X,
      •   Multiple or severe food allergies,
      •   Nutritional deficiencies,
      •   Obesity (i.e., body mass index (BMI) > 30 kg/m2 or >95th percentile),
      •   Post-bariatric surgery,
      •   Prediabetes,
      •   Renal failure, and
      •   Ulcerative colitis (UC).
  The Plan does not cover individualized nutritional evaluation and counseling for the management of conditions where
  appropriate diet and eating habits have not been proven to be essential to the overall treatment program because they arc
  not considered to be medically necessary.
  Conditions for which nutritional evaluation and counseling are not considered to be medically necessary include, but are
  not limited to:
      •   Attention-deficit/hyperactivity disorder (ADHD),
      •   Chronic fatigue syndrome (CFS),
      •   Idiopathic environmental intolerance (IEI), and
      •   Multiple food and chemical sensitivity.


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  This section describes the prescription drug benefits available under the Plan. Except for preventive generic drugs and
  other medications covered under the Patient Protection and Affordable Care Act (such as contraceptives and certain other
  over-the-counter medications), once you have met your Plan deductible, you pay coinsurance for each eligible
  prescription. Your coinsurance amount depends on whether you receive a generic drug, preferred brand name drug or a
  non-preferred brand name drug, as indicated on the drug list. Your coinsurance will be higher for a brand name drug,
  regardless of whether a generic equivalent is available. Your cost will be lowest with a generic drug and highest with a
  non-preferred brand name drug. Your cost may also be affected by whether you fill your prescription at an in-network
  pharmacy, an out-of-network pharmacy or through the Cigna Mail Order Prescription Program. More details are
  provided in the sections that follow.
                                                     Covbred Expenses
  The Plan covers charges for medically necessary prescription drugs or related supplies ordered by a physician and filled
  under:
      •   The Pharmacy Program, which covers prescriptions filled either through the Cigna Pharmacy Services network or
          outside the network; and
      •   The Cigna Mail-Order Prescription Program which uses Cigna Home Delivery Pharmacy.
  Once you fill a prescription for a maintenance medication (typically medications taken on a regular basis) at a retail
  pharmacy three times, future fills or refills of this medication must be made through the Cigna Home Delivery Pharmacy
  in order to receive coverage. See "Exclusive Home Delivery" for further details.
  The Plan also covers medically necessary prescription drugs and related supplies prescribed by a licensed dentist for the
  prevention of infection or pain in conjunction with a dental procedure.
  If a prescription that is part of emergency services cannot reasonably be filled by a participating pharmacy, the Plan will
  cover the prescription as if it were tilled by a participating pharmacy.
                                                      Dispensing Limy s
  Each prescription order or refill is limited:
      •   Up to a consecutive 30-day supply, at a pharmacy, unless limited by the drug manufacturer's packaging; or
      •   Up to a consecutive 90-day supply by Cigna Home Delivery Pharmacy , unless limited by the drug
          manufacturer's packaging; or
      •   Up to a dosage andlor dispensing limit as determined by the Pharmacy & Therapeutics (P&T) Committee.
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  The drug list is located on www.myCigna.coin. It provides a comprehensive list of generic and brand name drugs covered
  by the Plan, arid indicates whether the drug is considered generic, preferred brand or non-preferred brand and its
  coinsurance level. The drug list corresponds with the Cigna Value Prescription Drug List with certain customized
  enhancements to cover two additional classes of drugs: (1) allergy drugs and (2) proton pump inhibitors (PPI) that treat
  stomach ulcers and heartburn.
  The Plan covers prescribed medications, including certain prescribed over-the-counter (OTC) medications, required to be
  covered under the Patient Protection and Affordable Care Act at 100 percent when a network pharmacy is used.
  Coverage of OTC and other preventive medications may change as additional regulations are issued. You must have a
  prescription from your doctor in order for the covered OTC medication to be covered at 100 percent. A list of No Cost
  Preventive Medications covered under the Patient Protection and Affordable Care Act is available on the Your Cigna Life
  website under (Health & Well-Being>Health Benefits>Medical>Prescription drug coverage). For the most up-to-date list
  of preventive care OTC and other medications that are covered under the Patient Protection and Affordable Care Act, go
  to haps://www.healthcare.gov/what-are-my-preventive-care-benefits/.


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  All drugs newly approved by the FDA are designated as either non-preferred or not on the drug list until the P&T
  Committee clinically evaluates the prescription drug. The P&T Committee will review prescription drugs that represent
  an advance over available therapy according to the FDA within six months after FDA approval. The P&T Committee
  will not review prescription drugs that appear to have therapeutic qualities similar to those of an already marketed drug
  according to the FDA for at least six months after FDA approval. In the case of compelling clinical data, an ad hoc group
  will be formed by Cigna HealthCare to make an interim decision on the merits of a prescription drug.
  Dispense As Written
  The prescription must indicate "dispense as written" for the Plan to cover at 100 percent an otherwise covered brand name
  drug. If "dispense as written" is not indicated on the prescription, and you fill an otherwise covered brand name drug, the
  Plan will pay benefits up to the cost of the generic equivalent. You are responsible for paying the difference in cost
  between the brand name drug and the generic equivalent, plus any coinsurance applicable to the generic drug.
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  The Plan covers certain prescription drugs and related supplies only if your physician obtains authorization before
  prescribing them. Prior authorization may include, for example, a step therapy determination. Step therapy determines
  the specific usage progression of therapeutically equivalent drug products or supplies appropriate for treatment of a
  specific condition.
  Prescriptions that require prior authorization are noted on the drug list at www.myCigna.com. If your physician wishes to
  request coverage for prescription drugs or related supplies for which prior authorization is required, your physician may
  call the Customer Service Center at 1.888.99Ci.gna (1.888.992.4462) or fax the appropriate prior authorization form to the
  claims administrator. Your physician should make this request before writing the prescription.
  Cigna HealthCare reviews and makes a determination on the prior authorization request within 120 hours (72 hours if
  the request involves an expedited determination as described under "Medical Necessity Determinations"). If the request is
  approved, Cigna HealthCare will contact your physician confirming the approval. The authorization will be processed
  in the claim system to allow you to have coverage for those prescription drugs or related supplies. The length of the
  authorization will depend on the diagnosis and the prescription drugs or related supplies. When your physician advises
  you that coverage for the prescription drugs or related supplies has been approved, you should contact the pharmacy to
  fill the prescription. If you do not obtain prior authorization before going to the pharmacy, the pharmacist will charge
  you the full cost of the medication or, in some cases, may not be able to fill the prescription.
  If the prior authorization request does not meet Cigna HealthCare's criteria, it will send a letter to your physician within
  4 business days of the initial request, with a copy to you, explaining why the request was not approved and how to appeal
  the decision.
  If you have questions about a specific prior authorization request, you should call the Customer Service Center at
  1.888.99Cigna (1.88R.992.4462).
                                                     PharmicYltrogram
  You may have your prescription filled at any pharmacy but each prescription is limited to no more than a 30-day supply.
  If you fill your prescription at a pharmacy that participates in the Cigna network, you pay any applicable coinsurance or
  deductible at the time of purchase. You do not need to file a claim form.
  If you fill your prescription at a pharmacy that does not participate in the Cigna network, you pay the full cost at the time
  of purchase. You must submit a claim form to be reimbursed. Claim forms are available at the Your Cigna fife website
  under ,Veil.Cervice>Emplovee                                Resources.
                             Mail-Ordorerescrippinns (:sing pgna          xne Delivery Pharmacy
  The Plan covers prescriptions fi lled by mail-order through Cigna Home Delivery Pharmacy Service. This program allows
  you to order up to a 90-day supply of most prescription drugs.



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  Most prescription drugs are available through mail-order. It takes 15 or 20 days to fill a prescription, unless there are mail
  delays. If you need a supply of medication while waiting for your mail-order prescription to arrive, ask your physician
  for two prescriptions so you can also get a small supply of the medication from your local pharmacy.
  Preventive Generic Medication Paid in Full Through Cigna Home Delivery Pharmacy
  The cost of preventive generic drugs is paid in full by the Plan when obtained through Cigna Home Delivery Pharmacy.
  Preventive generic drugs that are paid in full when obtained through Cigna Home Delivery Pharmacy are identified on
  the drug list located on www.myCigna.com. A list is also available on the Your Cigna Life website under Health & Well-
  being>Medical>Prescription drug coverage.
  Certain Preventive Preferred Brand-Name Medication Deductible Waived Through Cigna Home Delivery Pharmacy
  The deductible is waived for preventive preferred brand-name medications in certain classes (insulin and asthma
  medications) without a generic alternative when obtained through Cigna Home Delivery Pharmacy. A list is available on
  www.Cigna.com/healthylife.
  Specialty Medication Through Cigna Home Delivery Pharmacy
  Specialty medications, injectables and oral, are used to treat a number of conditions, including anemia, arthritis, cancer,
  growth issues, infertility, hepatitis C and multiple sclerosis. Cigna Home Delivery Pharmacy provides these medications
  through its Specialty Pharmacy Program. You may receive up to a 90-day supply of medication. Alcohol pads, needles,
  syringes, and sharps kits are provided without charge, if requested when placing an order. Specialty drugs obtained
  through this program are subject to the Plan deductible, prescription drug coinsurance levels and a specialty medication
  cost limit. See the charts in Appendix I. Specialty medications are covered only when purchased through Cigna Home
  Delivery Pharmacy.
  Injectable infertility drugs and any injectable drugs that require physician supervision are not typically considered self-
  administered drugs obtained through Cigna Home Delivery Pharmacy under the Specialty Prescription Drug Program.
  The following are examples of physician supervised drugs considered medical services covered by the Plan and subject to
  pre-certification requirements: injectables used to treat hemophilia and RSV (respiratory syncytial virus), chemotherapy
  injectables, and endocrine and metabolic agents.
  Exclusive Home Delivery
  Prescriptions for maintenance medications taken on an ongoing or indefinite basis are to be filled through Cigna Home
  Delivery Pharmacy. Once you fill a prescription for a maintenance medication at a retail pharmacy three times, future
  fills or refills of this medication must be done through Cigna Home Delivery Pharmacy in order to receive coverage. If
  you fail to use the Cigna Home Delivery Pharmacy, the Plan will not cover the cost of that maintenance medication. A
  list of maintenance medications required to be filled through Cigna Home Delivery Pharmacy is available on the Your
  Cigna Life website under Health & Well-being>Medical>Prescription drug coverage.
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  The Plan does NOT cover the following types of drugs or medicines and related expenses:
      •   Drugs available over the counter that do not require a prescription by federal or state law other than those required
          to be covered as preventive items under the Patient Protection and Affordable Care Act;
      •   Any drug that is a pharmaceutical alternative to an OTC drug other than insulin;
      •   A drug class in which at least one of the drugs is available over the counter and the drugs in the class are deemed
          to be therapeutically equivalent as determined by the P&T Committee;
      •   Any drugs that are experimental or investigational as described under the Medical "Exclusions" section;
      •   FDA approved drugs used for purposes other than those approved by the FDA unless the drug is recognized for
          the treatment of the particular indication in one of the standard reference compendia (The United States
          Pharmacopeia Drug Information, The American Medical Association Drug Evaluations; or The American

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          Hospital Formulary Service Drug Information) or in medical literature. Medical literature means scientific studies
          published in a peer-reviewed national professional medical journal;
      •   Prescription and nonprescription supplies (such as ostomy supplies), devices, and appliances other than related
          supplies;
      •   Implantable contraceptive products;
      •   Dietary supplements, and fluoride products (except as required to be covered as preventive items under the Patient
          Protection and Affordable Care Act);
      •   Drugs used for cosmetic purposes such as drugs used to reduce wrinkles, drugs to promote hair growth as well as
          drugs used to control perspiration and fade cream products;
      •   Diet pills or appetite suppressants (anorectics);
      •   Immunization agents, biological products for allergy immunization, biological sera, blood, blood plasma and
          other blood products or fractions and medications used for travel prophylaxis;
      •   Replacement of prescription drugs and related supplies due to loss or theft;
      •   Drugs used to enhance athletic performance;
      •   Drugs which are to be taken by or administered to you while you are a patient in a licensed hospital, skilled
          nursing facility, rest home or similar institution which operates on its premises or allows to be operated on its
          premises a facility for dispensing pharmaceuticals;
      •   Vitamin pills (not including prescription pre-natal vitamins); and
      •   Prescriptions more than one year from the original date of issue.
  Other limitations are shown in the "Medical Exclusions" section.
  MENTAL illtAIMEMSUR§TAINCEABUSE
  The Plan covers mental health and substance abuse services as described in this section. In addition, the Cigna Employee
  Assistance Program LEAF) (formerly called the Life Coaching Program) provides support for mental health and
  substance abuse issues. You do not have to be enrolled in the Cigna Medical Plan to use it.
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  The EAP is a resource for you and members of your household for mental health or substance abuse concerns. If you or a
  household member is struggling with a personal problem, you may call the EAP at 1.888.992.4462, 24 hours a day, seven
  days a week. You do not need to be enrolled in the Cigna Medical Plan to use the EAP.
  The EAP provides assessment and problem resolution and is focused on helping you find appropriate care when you need
  it. The EAP provides up to five visits for each issue at no cost to you or members of your household. When you call the
  EAP, you will be referred to an EAP counselor for an assessment or, in the case of a more acute condition, a specialist
  within the Cigna network. Many situations can be resolved through the EAP alone. However, if you need additional
  assistance, the EAP will provide a referral to the appropriate professional for ongoing care. All information you provide
  to the EAP is treated as confidential.
  If the EAP coverage ends due to the termination of your Cigna employment (for reasons other than gross misconduct as
  defined by Cigna), the EAP services will be available to you and members of your household for 18 months from the date
  of the termination.
  If the EAP coverage for a member of your household terminates due to your death, your divorce or legal separation, the
  dissolution of your partnership, or when coverage terminates for your dependent, the EAP services will be available for
  36 months from the date of the event.


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  The Plan covers mental health and substance abuse care services as described in this section and in the charts in Appendix
  I.
      •   Mental health services are services that are required to treat a disorder that impairs the behavior, emotional
          reaction or thought processes. Treatment of any physiological conditions related to mental health is not
          considered to be mental health services.
      •   Substance abuse is defined as the psychological or physical dependence on alcohol or other mind-altering drugs
          that requires diagnosis, care, and treatment. Treatment of any physiological conditions related to rehabilitation
          services for alcohol, drug abuse or addiction is not considered to be substance abuse care services.
  Inpatient Mental Health Services
  The Plan covers services that are provided by a hospital while a patient is confined in a hospital for the treatment and
  evaluation of mental health. Inpatient mental health services include (1) partial hospitalization sessions and (2) mental
  health residential treatment services when a patient is a registered bed patient on the recommendation of a physician.
      •   Partial hospitalization sessions are services that are provided for not less than 4 hours and not more than 12 hours
          in any 24-hour period.
      •   Mental health residential treatment services are services provided by a hospital or mental health residential
          treatment center for the evaluation and treatment of the psychological and social functional disturbances that are a
          result of subacute mental health conditions.
      •   A mental health residential treatment center is an institution that:
          o   Specializes in the treatment of psychological and social disturbances that are the result of mental health
              conditions;
          o   Provides a subacute, structured, psychotherapeutic treatment program, under the supervision of physicians;
          o   Provides 24-hour care, in which a person lives in an open setting; and
          o   Is licensed by the appropriate legally authorized agency as a residential treatment center.
  Inpatient mental health services are provided in accordance with the Mental Health Parity Act of 1996, as amended.
  Outpatient Mental Health Services
  The Plan covers services of health care professionals who are qualified to treat mental health when treatment is (1)
  provided on an outpatient basis, while a person is not an inpatient in a hospital, and (2) is provided in an individual, group
  or mental health intensive outpatient therapy program.
  Covered services include, but are not limited to, outpatient treatment of conditions such as:
      •   Anxiety or depression which interfere with daily functioning;
      •   Emotional adjustment or concerns related to chronic conditions, such as psychosis or depression;
      •   Emotional reactions associated with marital problems or divorce;
      •   Child/adolescent problems of conduct or poor impulse control;
      •   Affective disorders, suicidal or homicidal threats or acts;
      •   Eating disorders;
      •   Acute exacerbation of chronic mental health conditions (crisis intervention and relapse prevention); and
      •   Outpatient testing and assessment.


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  A mental health intensive outpatient therapy program consists of distinct levels or phases of treatment that are provided by
  a certified/licensed mental health program. Intensive outpatient therapy programs provide a combination of individual,
  family and/or group therapy in a day, totaling nine or more hours in a week.
  Inpatient Substance Abuse Rehabilitation Services
  The Plan covers services for rehabilitation while a patient is confined in a hospital, when required for the diagnosis and
  treatment of abuse or addiction to alcohol and/or drugs. Inpatient substance abuse services include (1) partial
  hospitalization sessions and (2) substance abuse residential treatment services when a patient is a registered bed patient on
  the recommendation of a physician as follows:
      •   Partial hospitalization sessions are services that are provided for not less than 4 hours and not more than 12 hours
          in any 24-hour period.
      •   Substance abuse residential treatment services are services provided by a hospital or substance abuse residential
          treatment center for the evaluation and treatment of the psychological and social functional disturbances that are a
          result of subacute substance abuse conditions.
      •   A substance abuse residential treatment center is an institution that:
          o    Specializes in the treatment of psychological and social disturbances that are the result of substance abuse;
          o    Provides a subacute, structured, psychotherapeutic treatment program, under the supervision of physicians;
          o    Provides 24-hour care, in which a person lives in an open setting; and
          o    Is licensed by the appropriate legally authorized agency as a residential treatment center.
  Outpatient Substance Abuse Rehabilitation Services
  The Plan covers services for the diagnosis and treatment of abuse or addiction to alcohol and/or drugs, while a person is
  not an inpatient in a hospital, including outpatient rehabilitation in an individual, group or a substance abuse intensive
  outpatient therapy program.
  A substance abuse intensive outpatient therapy program consists of distinct levels or phases of treatment that are provided
  by a certified/licensed substance abuse program. Intensive outpatient therapy programs provide a combination of
  individual, family and/or group therapy in a day, totaling nine or more hours per week.
  Substance Abuse Detoxification Services
  Detoxification and related medical services are provided when required for the diagnosis and treatment of addiction to
  alcohol and/or drugs. The claims administrator will decide, based on the medical necessity of each situation, whether
  such services will be provided in an inpatient or outpatient setting.
  Exclusions
  The Plan does NOT cover the following mental health and substance abuse services:
      •   Any court-ordered treatment or therapy, or any treatment or therapy ordered as a condition of parole, probation or
          custody or visitation evaluations unless medically necessary and otherwise covered under the Plan;
      •   Treatment of disorders which have been diagnosed as organic mental disorders associated with permanent
          dysfunction of the brain;
      •   Developmental disorders, including but not limited to, developmental reading disorders, developmental arithmetic
          disorders, developmental language disorders or developmental articulation disorders;
      •   Counseling for activities of an educational nature;
      •   Counseling for borderline intellectual functioning;
      •   Counseling for occupational problems;

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     •   Counseling related to consciousness raising;
     •   Vocational or religious counseling;
     •   I.Q. testing;
     •   Custodial care, including but not limited to geriatric day care;
     •   Psychological testing on children requested by or for a school system; and
     •   Occupational/recreational therapy programs even if combined with supportive therapy for age-related cognitive
         decline.


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  The following medical expenses are NOT covered expenses under the Cigna Medical Plan:
     •   Charges for services you receive before Plan coverage is effective.
     •   Charges above (1) the maximum reimbursable charge level, (2) the amount allowed by Medicare, or (3)
         specified coverage limitations.
     •   Charges for services for or in connection with an injury or sickness arising out of, or in the course of, any
         employment for wage or profit.
     •   Charges for services for or in connection with an injury or sickness which is due to war, declared or undeclared.
     •   Charges for services to the extent that you or your covered dependent is in any way paid or entitled to payment
         for those expenses by or through a public program, other than Medicaid.
     •   Charges for court-ordered treatment or hospitalization, unless such treatment is prescribed by a physician and
         listed as covered in this Plan.
     •   Charges for services provided at no cost under any federal, state or local law, including Medicare.
     •   Charges made by any covered health professional who is a member of your family or your covered dependent's
         family.
     •   Charges that would not have been incurred if the person had no medical insurance.
     •   Charges for care for health conditions that state or local law requires to be treated in a public facility.
     •   Fees associated with the collection or donation of blood or blood products, except for autologous donation in
         anticipation of scheduled services where in the utilization review physician's opinion the likelihood of excess
         blood loss is such that transfusion is an expected adjunct to surgery.
     •   Charges for blood administration aimed at general improvement in physical condition.
     •   Charges for biologicals that are immunizations or medications for the purpose of travel, or to protect against
         occupational hazards and risks.
     •   Unless otherwise covered in this Plan, charges for reports, evaluations, physical examinations, or hospitalization
         not required for health reasons. This exclusion includes, but is not limited to, exams for employment, insurance
         or a government license, and court-ordered, forensic or custodial evaluations.
     •   Charges for any services or supplies for the treatment of male or female sexual dysfunction such as, but not
         limited to, treatment of erectile dysfunction (including penile implants), anorgasmy, and premature ejaculation.
     •   Charges for services that are not medical care, such as filling out claim forms.


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     •   Charges for treatment, surgery, or services that are not medically necessary as determined by Cigna HealthCare
         or the claims administrator according to guidelines established by Cigna HealthCare.
     •   Except as provided under "Clinical Trials" above, charges for medical, surgical, diagnostic, psychiatric, substance
         abuse or other health care technologies, supplies, drug therapies, devices, procedures and treatments that are
         experimental, investigational, or unproven, as determined by Cigna HealthCare to be:
         o   Not demonstrated through existing peer-reviewed, evidence based, scientific literature to be safe and effective
             for treating or diagnosing the condition for which its use is proposed; or
         o   Not approved by the FDA or other appropriate regulatory agency to be lawfully marketed for the proposed
             use; or
         o   The subject of review or approval by an Institutional Review Board for the proposed use; or
         o   The subject of an ongoing phase I, II or III clinical trial.
     •   Charges excluded as a result of failure to comply with precertification, continued stay review, case management
         or other certification or preauthorization requirements.
     •   Charges for consumable medical supplies (such as bandages and elastic stockings), except for urinary catheters
         and ostomy supplies. Excluded supplies include, but are not limited to, bandages and other disposable medical
         supplies, skin preparations and test strips, except as specified in the "Home Health Services" or "Breast
         Reconstruction" sections of the SPD.
     •   Charges for all noninjectable prescription drugs, injectable prescription drugs that do not require physician
         supervision and are typically considered self-administered drugs, nonprescription drugs, and investigational and
         experimental drugs, except as provided in the Plan.
     •   Charges for services, including maternity-related services, rendered after coverage terminates, except for those
         services provided on account of qualifying total disabilities.
     •   Charges for, or related to, custodial care, respite care, education or training.
     •   Charges for which you have no legal obligation to pay.
     •   Charges for which payment is unlawful where you or your covered dependent lives when the expenses are
         incurred.
     •   Charges for a stay in a hospital owned or operated by the U.S. Government or incurred while performing services
         for the U.S. Government, if such charges are directly related to a military service-connected illness or injury.
     •   Charges for private hospital rooms and/or private duty nursing except as provided under the "Home Health
         Services" provision.
     •   Charges for or in connection with routine refractions (except as noted in the charts in Appendix I), eye exercises
         and for surgical treatment for the correction of a refractive error, including radial keratotomy, when eyeglasses or
         contact lenses may be worn.
     •   Charges for or in connection with the examination for, prescription of, purchase or replacement of eyeglasses or
         contact lenses, except the charge for the first pair of eyeglasses, lenses, frames or contact lenses following
         kcratoconus or cataract surgery.
     •   Charges for eye examinations required as a condition of employment or which an employer is required to provide
         under a collective bargaining agreement.
     •   Charges for eye examinations required by law, safety glasses, or lenses required for employment.
     •   Charges for routine ear examinations, except as part of preventive care.


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     •   Charges for hearing aids over $1,500 per hearing aid and/or charges for any hearing aid in excess of the maximum
         of two hearing aids every 36 months. A hearing aid is any device that amplifies sound.
     •   Charges for genetic screening or pre-implantation genetic screening. General population-based genetic screening
         is a testing method performed in the absence of any symptoms or any significant, proven risk factors for
         genetically linked inheritable disease.
     •   Charges for dental implants for any condition.
     •   Charges related to personal or comfort items such as personal care kits provided on admission to a hospital,
         television, telephone, newborn infant photographs, complimentary meals, birth announcements, and other articles
         which are not for the specific treatment of an injury or sickness.
     •   Charges for therapy or treatment services to improve general physical condition or for the purpose of enhancing
         job, school, athletic or recreational performance. This exclusion includes, but is not limited to, routine, long term
         or maintenance care which is provided after resolution of the acute medical problem and when significant
         therapeutic improvement is not expected.
     •   Charges related to all medical and surgical services intended primarily for the treatment or control of obesity.
         However, treatment of clinically severe obesity, as defined by the body mass index parameters of the National
         Heart, Lung and Blood Institute guidelines, is covered if the services are demonstrated through peer-reviewed
         medical literature and scientifically-based guidelines, to be safe and effective for the treatment of the condition.
     •   Charges for membership or fees associated with health clubs and weight-loss programs.
     •   Charges for massage therapy.
     •   Charges related to court-ordered treatment or hospitalization, unless such treatment is deemed medically
         necessary and otherwise covered.
     •   Charges related to artificial aids including, but not limited to, orthotic shoes, shoe additions, procedures for foot
         orthopedic shoes, shoe modifications and transfers, orthoses primarily used for cosmetic rather than functional
         reasons, corrective orthopedic shoes or arch supports, elastic stockings, garter belts, corsets or dentures.
     •   Charges made for, or in connection with, tired, weak or strained feet for which treatment consists of routine foot
         care including, but not limited to, the removal of calluses or corns or the trimming of nails. However services
         associated with foot care for diabetes and peripheral vascular disease are covered when medically necessary.
     •   Charges for cosmetics, dietary supplements, health and beauty aids and nutritional formulae. However,
         nutritional formulae is covered when required for the treatment of inborn errors of metabolism or inherent
         metabolic disease (including disorders of amino acids and organic acid metabolism) or enteral feeding for which
         the nutritional formulae (a) can be dispensed only through a physician's prescription under state or federal law
         and (b) is medically necessary as the primary source of nutrition.
     •   Charges for those items cited as not covered in the section on "Prescription Drugs."
     •   Charges for non-medical counseling or related services including, but not limited to, custodial services, education
         or training, vocational rehabilitation, behavioral training, biofeedback, neurofeedback, hypnosis, sleep therapy,
         employment counseling, back-to-school counseling, work hardening, driving safety and services, training,
         educational therapy or other non-medical related services for learning disabilities or developmental delays.
     •   Charges for accupressure, craniosacral/cranial therapy, dance therapy, movement therapy, applied kinesiology,
         rolfing, and extracorporeal shock wave lithotripsy (ESWL) for musculoskeletal and orthopedic conditions.
     •   Charges in connection with treatment of the teeth or periodontium unless such expenses are incurred for: (a)
         charges made for a continuous course of dental treatment started within six months of an injury to sound natural
         teeth; (b) charges made by a hospital for bed and board or necessary services and supplies; (c) charges made by
         a free-standing surgical facility or the outpatient department of a hospital in connection with surgery.

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      •   Except as described under "Global Medical Services," charges incurred outside the United States or Canada.
      •   Charges for aids or devices that assist with nonverbal communications including, but not limited to,
          communication boards, prerecorded speech devices, laptop computers, desktop computers, Personal Digital
          Assistants (PDAs), Braille typewriters, visual alert systems for the deaf and memory books.
      •   Charges for telephone, e-mail and Internet consultations and telemedicine other than MDLive.


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  The following section provides detailed information about resources that provide personalized support to help you manage
  your health.
                                              Hdidthyitiffe PHStiiifil Health Team
  The Healthy Life Personal Health Team provides education and support to keep you healthy, help you reduce risks
  caused by lifestyle choices and help you reach your health-related goals. It can help you identify treatment options to
  discuss with your physician and can refer you to the appropriate care/disease management program when you have a
  chronic or acute condition.
  The Healthy Life Personal Health Team includes registered nurses, health educators, behavioral clinicians, nutritionists
  and other clinical resources to meet the various needs of the individuals that they serve. You will be assigned a coach
  whose expertise most closely aligns with your health-related concerns and issues.
  A Healthy Life Personal Health coach may contact you about topics related to your health assessment, care alternatives
  or resources available to help you manage your condition. You may speak with a Healthy Life Personal Health coach by
  calling 1.888.99Cigna (1.888.9)2..4462).
                                          111310e14-Hour Health InformationUO*11111
  You can call the 24-Flour Health Information Line at 1.888.99Cigna (1.888.992.4462) to speak with a registered nurse
  any hour of the day or evening to get:
      •   Answers to your health questions;
      •   Help in choosing the most appropriate care in the case of an emergency;
      •   Help in locating nearby participating health professionals when you are away from home; or
      •   Information from hundreds of pre-recorded programs or tapes in the Health Information Library covering a wide
          variety of health topics.
                                              =
                                    rirflniC COndition Support OtherICOaching Programs                                      I
  The Chronic Condition Support Program provides individualized care support and educational materials to you and your
  doctor for the following conditions:
      •   Asthma;
      •   Chronic Obstructive Pulmonary Disease (emphysema, chronic bronchitis);
      •   Coronary Artery Disease;
      •   Depression (anxiety, bipolar disorder);
      •   Diabetes;
      •   Heart Disease (heart failure, angina, acute myocardial infarction);
      •   Low Back Pain;

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      •   Metabolic Syndrome/Weight Complications;
      •   Osteoarthritis;
      •   Peripheral Artery Disease;
      •   Childhood Asthma; and
      •   Childhood Diabetes.
  The Plan also provides a special care coaching program that focuses on pregnancies called Healthy Pregnancies, Healthy
  Babies and support services for many other conditions.
  in addition, Lifestyle Management Programs provide help with stopping tobacco use, weight loss/management and stress.
  Online Health Coaching is also available for sleep, nutrition, stress and physical activity.
                                       mealthy Life::Caresgenters (Onsite Clinics:);;;;;;;;;;;
  In certain locations, Cigna provides access to an onsite clinic staffed by a nurse practitioner and medical assistant. These
  Healthy Life Care Centers are open to all Cigna employees and in certain locations, spouses/partners and dependent
  children ages 13 and older may also access the clinic. A list of Healthy Life Care Center locations and contact
  information is available on the Your Cigna Life website under Health & Well-being>My Healthy Life> Wellbeing Center.
  Visit or contact your local clinic directly for information about clinic hours and to schedule an appointment.
  The Healthy Life Care Centers generally provide the following services:
      •   Routine medical care;
      •   Urgent care;
      •   Chronic condition management;
      •   Health coaching;
      •   Care coordination with your doctor or other specialists;
      •   Travel medicine;
      •   Ergonomic Assessments;
      •   Occupational medicine;
      •   Physicals and biometric screenings; and
      •   Phlebotomy services (drawing blood).
  If your Plan coverage terminates due to the termination of your Cigna employment (for reasons other than gross
  misconduct as defined by Cigna) or due to the reduction of your work hours, onsite clinic services will be available to you
  for 18 months from the date of termination or reduction in hours.


  OrtSSI
  The following sections provide detailed information about how your Plan coverage works.
                                                  iwottr identitication ' Carts
  You and your covered dependents will each receive Plan identification (ID) cards approximately 10 business days after
  you enroll in the Cigna Medical Plan. You may receive new cards at the beginning of new plan years. Your ID card
  contains important information, including your ID number and instructions on what to do in an emergency. Remember to
  carry your card with you at all times and present it each time you need medical care or a prescription.


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  Unless you live in an area where a special network option applies, the Plan uses the Cigna Health Open Access Plus
  (OAP) with the CareLink national network of physicians, hospitals, and other health care professionals/facilities.
  Under the OAP network, you may use any network health care professional or facility nationwide, and you do not need
  referrals for specialists. The network directory is available online at www.myCigna.com under the tab, Find a Doctor,
  Dentist, or Facility or by calling the Customer Service Center at 1.888.99Cigna (1.888.992.4462).
  When you receive services in-network your cost will generally be lower because Cigna HealthCare negotiates discounts
  with network health care professionals and facilities and the Plan generally pays a greater share of the costs than if you
  receive out-of-network care.
                                                Special Network Plan Options
  LocalPlus Network Options
  If you live in certain geographic areas where the LocalPlus Network has been established and is made available by Cigna
  Healthcare (except for Massachusetts and Rhode Island), you may be covered by an HSA LocalPlus Plan option.
  LocalPlus Plan options have special network features that work differently than the standard in-network and out-of-
  network coverage described throughout this SPD.
  In the applicable geographic area for the LocalPlus option, in-network coverage is available only through a separate
  network of physicians, hospitals and other health care professionals/facilities. This LocalPlus network is different than
  the Cigna Healthcare Open Access Plus network. If you receive care from a physician, hospital or other health care
  professional/facility that is located in the applicable LocalPlus geographic area but does not participate in the LocalPlus
  network (even if the health care professional participates in the Cigna Healthcare Open Access Plus network), your
  services will be covered under the rules that apply to out-of-network services.
  Outside of the LocalPlus geographic area, the Cigna Healthcare Open Access Plus network applies and services received
  from a physician, hospital or other health care professionaUfacility that participates in the Cigna Healthcare Open
  Access Plus network will be covered under the rules that apply to in-network services for the Open Access Plus Plan
  options.
  A list of participating LocalPlus network health care professionals is available online at www.myCigna.com under the tab,
  Find a Doctor, Dentist, or Facility or by calling the Customer Service Center at 1.888.99Cigna (1.888.992.4462).
                                                    Out-of-Network Car
  The Plan provides coverage for hospital, physician and related services that you receive out-of-network. You can see
  any doctor you choose, even one who is not in your network. Your costs will be higher for out-of-network services and
  you may have to file claims.
  When you use out-of-network services, remember:
      •   You may have to pay higher out-of-pocket costs.
      •   Your out-of-network coverage is lower than your in-network benefits and some out-of-network services may not
          be covered at all.
      •   You may have to file claims.
      •   You are responsible for all authorizations.
  Out-of-network services are covered only up to the amount of maximum reimbursable charges. Cigna HealthCare
  determines these amounts by computing what area physicians charge for specific services. These are the maximum
  amounts the Plan pays for out-of-network care. Any charges above that maximum are your responsibility. You can call
  the Customer Service Center at 1.888.99Cigna (1.888.992.4462) for more information on the maximum reimbursable
  charges for a particular procedure or treatment.


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  The Plan does not require that you select a primary care physician or obtain a referral from a primary care physician in
  order to receive all benefits available to you under this Plan. A primary care physician may serve an important role in
  meeting your health care needs by providing or arranging for your medical care. For this reason, Cigna HealthCare
  encourages the use of primary care physicians and provides you with the opportunity to select one for yourself and your
  covered dependents. If you choose to select a primary care physician, the primary care physician you select for
  yourself may be different from the primary care physician you select for each of your covered dependents. You have
  the right to designate any primary care physician who participates in the network and who is available to accept you or
  your covered dependents.
  You can find a list of the participating primary care physicians on www.myCigna.com under the tab, Find a Doctor,
  Dentist or Facility, or call the Customer Service Center at 1.888.99Cigna (1.888.992.4462) for assistance. The Cigna
  network of primary care physicians generally includes family and general practitioners. For children, you may
  designate a pediatrician as the primary care physician.
                                      DireCt Access to
  You do not need prior authorization from the Plan or from any other person (including a primary care physician) in
  order to obtain access to obstetrical or gynecological care from a health care professional in the network who specializes
  in obstetrics or gynecology. The health care professional, however, may be required to comply with certain procedures,
  including obtaining prior authorization for certain services, following a pre-approved treatment plan, or procedures for
  making referrals.
  For a list of participating health care professionals who specialize in obstetrics or gynecology, visit the Find a Doctor,
  Dentist or Facility tab on the www.myCigna.com website or call the Customer Service Center at 1.888.99Cigna
  (1.888.992.4462).

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  If you or your doctor decides that you need specialized care, you may see any specialist in or out of the Open Access Plus
  national network. Plan benefits are higher and your out-of-pocket costs are lower if you choose a network specialist.
                                      igna Car'e Network Designation — Open Access Plus Id
  Your Open Access Plus in-network Plan benefit will be even higher if you use a specialist or primary care physician
  with a Cigna Care Network designation. These physicians are designated with a tree of life logo in the directory, which
  can be accessed through www.myCigna.com. The Cigna Care Network designation does not apply to all specialties; for
  some specialties there may be no Cigna Care designated specialist. For specialties that are designated, a Cigna Care
  specialist may not be available near to you. In some locations, no Cigna Care designated physicians are available. The
  Cigna Care Network designation does not apply to the Loca I Plus network.
                                                     Oititoteninf Matinee
  When you require care in a hospital, you may use a hospital in or out of your network. Plan benefits are higher and your
  out-of-pocket costs are lower when you receive your care in-network.
  Hospitals that have received the highest rating for quality and cost from Cigna HealthCare for certain common
  procedures are identified as Centers of Excellence in the online health care professional directory on www.myCigna.com.
  More information about Centers of Excellence is available on -www.inyCiglia.coni under the tab Find a Doctor, Dentist or
  Facility.
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  Travel Outside the ES.
  The Plan covers charges for covered services incurred outside the United States and Canada. If you are traveling on
  Cigna business outside the U.S. and are covered under another Cigna- sponsored plan that provides medical benefits for

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  Cigna employees traveling abroad on business, your benefits under the Cigna Medical Plan will be coordinated with that
  plan and it will be considered the primary plan that pays first. See "Coordination of Benefits".
  Global Medical Tourism
  Through the Global Medical Tourism Program, you may choose to have hip or knee replacement procedures performed at
  a designated hospital abroad. Global Medical Tourism must be authorized in advance by Cigna HealthCare.
  A procedure performed under Cigna's Global Medical Tourism Program is considered network care and the cost for the
  surgery and associated post operative care counts toward meeting your annual network deductible and out-of-pocket
  maximum, provided prior authorization is received from Cigna HealthCare. If you receive treatment under the Global
  Medical Tourism Program, Cigna will credit an additional $2,500 to your HSA to help pay your share of the medical
  expenses.
  The Plan will pay air fare (coach class), food (up to $50;day;    person) and lodging expenses for the person receiving the
  surgery and one companion, up to a maximum allowance of $7,500 per person. (This would cover travel and lodging
  expenses for 2 weeks, which is a typical length of stay for the surgery and recovery.) A companion includes your spouse
  or partner, a member of your family, a legal guardian or any person not related to the person having surgery, but actively
  involved as a caregiver.
  A concierge facilitator will be assigned to assist with making travel arrangements, selecting a surgeon from a Cigna-
  approved panel of overseas physicians and scheduling the appointment. For more information, contact the Healthy Life
  Personal Health Team at 1.888.992.4462.
                                                  mglAmergency Ca
  This section describes how the Plan works in situations that require emergency care. See "Urgent Care" for information
  about less-serious situations that may still require prompt medical attention.
  In an emergency always seek medical care immediately. Go directly to the nearest emergency room or call 911. Some
  examples of emergency medical conditions are loss of consciousness, seizures, severe pain, uncontrolled bleeding, lack
  of responsiveness, sudden paralysis or slurred speech, chest pains, shortness of breath, broken bones, inability to swallow,
  and suspected overdose of medication or poisoning.
  As long as your care meets the Plan's definition of emergency services, you do not need any pre-authorization for it. The
  Plan covers emergency services provided out-of-network as if the services were provided in-network, but out-of-network
  services will cost you more because Cigna has not contracted with out-of-network health professionals or facilities to
  provide lower, discounted charges for the services you receive. Emergency services are subject to the deductible and
  you will have to pay the in-network coinsurance amount. In the case of care received out-of-network, you also will be
  responsible for any amount over the maximum reimbursable charge covered by the Plan.
  Call Your Physician
  If you have any questions about your situation, you should call your physician or the physician covering his or her calls.
  The 24-Hour Health Information Line
  The Cigna HealthCare Health Information Line is available 24 hours a day, any day of the year. You may call
  1.888.99Cigna (1.888.992.4462) to speak with a nurse for detailed answers to your health care questions and for
  assistance locating the nearest medical facility where you can receive care.
  If You Need to Be Hospitalized
  If you are taken to a hospital because of a life-threatening emergency, be sure to show your ID card. Contact your
  physician and the Customer Service Center at 1.888.99Cigna (1.888.992.4462) within 48 hours after admission so
  arrangements can be made for your continued care.




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  Be sure to follow these procedures carefully. Otherwise, payment to the hospital for emergency services may be denied
  or reduced. If you go to an out-of-network hospital or other facility, you also may be required to pay the full cost of the
  emergency care and then file a claim for reimbursement from the Plan.
                                                           Urgentsgg&
  Many situations are not emergencies but still require immediate medical attention. In an urgent medical situation
  symptoms occur unexpectedly and delaying medical treatment may cause serious medical problems. Some examples of
  urgent care situations are ear infections, sprains, minor burns, high fevers, vomiting, prolonged diarrhea, and urinary
  tract infections.
  Call Your Physician
  Your physician will tell you what you can do at home or tell you where to go to receive the most appropriate care.
  Call the 24-Hour Health Information Line
  You can call 1.888.99Cigna (1.888.992.4462) 24 hours a day, seven days a week to speak with a nurse who can answer
  your health care questions, provide helpful homecare suggestions or direct you to the nearest, medical facility.

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   The Plan covers you for treatment of an illness or injury if you are away from home. You can call the 24-Hour Health
   Infoimation Line at 1.888.99Cigna (1.888.992.4462) 24 hours a day, seven days a week to speak to a nurse who will
   answer your health care questions, provide helpful self-care suggestions or assist you in arranging care.
  If, while away from home, you are admitted to the hospital or require care beyond an initial emergency visit, you must
  call your physician and the Customer Service Center at 1.888.99Cigna (1.888.992.4462), within 48 hours so
  arrangements can be made for your continued care. If you cannot call, someone must call for you.
  When you receive medical care from out-of-network health care professionals, you may be responsible for paying for
  medical treatment when you or your covered dependent receives it. Be sure to keep a copy of the bill for your records
  and file a claim with the Plan for reimbursement.
                        If You Need io Be Hospitalized -AuthorizationiCerb.fication Requirements
  If your physician recommends that you enter a hospital, extended care facility or rehabilitation center, your admission
  must be authorized in advance or the amount the Plan pays will be reduced or denied. Different processes apply
  depending on whether you receive care at an in-network or out-of-network hospital or facility.
  Prior Authorization - For In-NetH,ork Care
  A network physician must receive approval — called "prior authorization" — from Cigna HealthCare in order for certain
  services and benefits to be covered under the Plan. The network physician must receive the prior authorization before the
  services are provided.
  Services that require prior authorization include, but are not limited to:
      •   Inpatient hospital services;
      •   Inpatient services at any participating other health care facility;
      •   Residential treatment;
      •   Nonemergency ambulance; or
      •   Transplant services.
  Your network physician obtains the authorization from Cigna HealthCare for in-network care.




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  PreAdmission Certification/Continued Stay Review for Hospital Confinement
  You must follow a process — called "pre-admission certification (PAC)" and "continued stay review (CSR)" — to obtain
  certification of the medical necessity and length of a hospital stay when you require treatment in an out-of-network
  hospital:
      •   As a registered bed patient;
      •   For a partial hospitalization for the treatment of mental health or substance abuse; and
      •   For mental health or substance abuse residential treatment services.
  You should request PAC before any non-emergency treatment in an out-of-network hospital. If you are admitted to the
  hospital as an emergency admission, you should contact the review organization within 48 hours after the admission. If
  you need to stay in the hospital or facility beyond the authorized number of days, you should request CSR before the end
  of the length of stay that has been approved.
  If you fail to follow these PAC/CSR requirements, penalties will apply. See the "Out-of-Network Hospital Pre-
  Admission Certification and Continued Stay Review Requirements" chart.
  The Plan will not treat any expenses for which the Plan denies or reduces payment because you fail to meet these out-of-
  network PAC/CSR requirements as expenses you have incurred for any other purpose under the Plan, except for the
  "Coordination of Benefits" section.
                       OUT-OF-NETWORK HOSPITAL PRE-ADMISSION CERTIFICATION
                             AND CONTINUED STAY REVIEW REQUIREMENTS

                                                                                   Cigna HealthCare
   Who to Call                                                              1.888.99Cigna (1.888.992.4462)
   When to Call
   Non-Emergency                                                                10 days before admission
   Emergency                                                                 Within 48 hours after admission
   Maternity'                                                           Sixth month of pregnancy and at delivery

   Penalties You Pay If You Don't Call                                      You pay 50% of covered charges

   Penalties If You Enter the Hospital After Your                                      No coverage
   Admission Is Not Approved

   Penalties If Your Hospital Stay Is Longer Than                                      No coverage
   Authorized
  'Under Federal law, a medical plan may not limit the length of hospital stay for the mother or the newborn child in
  connection with childbirth to a period of less than 48 hours following a normal, vaginal delivery, or less than 96 hours
  following a caesarean section. Plan benefits for longer stays require preauthorization.
  Maternity Care
  You and your covered dependents must follow the preauthorization or PAC/CSR procedures for maternity care just as
  you would any other type of inpatient hospital care. Your network physician obtains authorization for network care.
  You are responsible for obtaining hospitalization pre-certification (PAC) and continued stay authorization (CSR) for any
  out-of-network care. Follow these steps:
      •   Contact Cigna HealthCare to apply for pre-certification by the end of the sixth month of pregnancy. Contact the
          review organization earlier about potential high risk situations that may require additional assistance.

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      •   After the birth, contact Cigna HealthCare again to pre-certify a reasonable length of stay based on the mother's
          condition following the delivery.
      •   If the mother must remain in the hospital beyond the number of days authorized, contact the review organization
          to request continued certification of the stay.
      •   If the new baby must remain in the hospital beyond the mother's release date, contact the review organization so
          that an appropriate length of stay and treatment plan for the baby can be authorized.
  If you fail to follow these PAC/CSR requirements, penalties will apply. See the "OUT-OF-NETWORK HOSPITAL
  PRE-ADMISSION CERTIFICATION AND CONTINUED STAY REVIEW REQUIREMENTS" chart above.
  Medical Emergencies and Urgent Cure Coverage
  If you are admitted to the hospital on an emergency basis for any reason, even for less than one day, you, a member of
  your family, the physician or the hospital must contact Cigna Healthcare within 48 hours of the admission. If you do
  not follow the admission certification requirements for emergency situations, penalties will apply. See the "OUT-OF-
  NETWORK HOSPITAL PRE-ADMISSION CERTIFICATION AND CONTINUED STAY REVIEW
  REQUIREMENTS" chart above.


                              0     r tient PrioriA                   eirtiffik        quirements
  If your physician recommends that you receive outpatient diagnostic testing or other procedures as an outpatient in a
  free-standing surgical facility, other health care facility or a physician's office, the Plan may require prior
  authorization or certification. Examples of diagnostic testing and outpatient procedures are advanced radiological
  imaging, such as CT Scans, MRI, MRA or PET scans and hysterectomies.
  Different processes apply depending on whether you receive care in-network or out-of-network.
  Prior Authorization - For In-Network Care
  Your network physician will obtain prior authorization for outpatient diagnostic testing and outpatient procedures
  performed at in-network hospitals, free-standing surgical facilities and other network facilities.
  Certification Requirements — For Out-of-Network Care
  You must follow a process — called "outpatient certification" to obtain certification of the medical necessity of outpatient
  diagnostic testing and outpatient procedures, including, but not limited to, those listed in this section when performed as
  an outpatient in an out-of-network free-standing surgical facility, other health care facility or a physician's office.
  You should call the Customer Service Center at 1.888.99Cigna (1.888.992.4462) to determine if outpatient certification is
  required before any outpatient diagnostic testing or procedures.
  Outpatient certification should be only requested for non-emergency procedures or services. The request should be made
  at least four working days (Monday through Friday) before the test or procedure.
  If you do not receive outpatient certification before any outpatient diagnostic testing or procedure is performed, the Plan
  will pay the covered expenses at only 50% and you will have to pay the other 50%. If the test or procedures is
  determined not to be medically necessary, but you go ahead with the test or procedure, the cost will not be covered by the
  Plan. The cost will not be a covered expense, and you will have to pay the entire cost.
  The Plan will not treat any expenses for which the Plan denies or reduces payment because you fail to meet these out-of-
  network, outpatient certification requirements as expenses you have incurred for any other purpose under the Plan, except
  for the "Coordination of Benefits" section.
  Diagnostic Testing and Outpatient Procedures
  The outpatient diagnostic testing and procedures subject to prior authorization or certification include, but are not limited
  to:

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      •     Advanced radiological imaging — CT Scans, MRI, MRA or PET scans,
      •     Certain outpatient surgical procedures,
      •     Dialysis,
      •     Speech therapy,
      •     Diagnostic cardiology, and
      •     Radiation therapy.
  If you are receiving out-of-network care, contact the Cigna Customer Service Center at 1.888.992.4462 for assistance.
                                                       Case Management
  Case management is a voluntary service provided by Cigna HealthCare that can help you with treatment needs that
  extend beyond the acute care setting. The goal of case management is to ensure that you receive appropriate care in the
  most effective setting possible, whether at home, as an outpatient, or as an inpatient in a hospital or specialized facility.
  Under the case management program, a case management professional works closely with you, your family and the
  attending physician to determine appropriate treatment options which will best meet your needs and keep costs
  manageable. The case manager will help coordinate the treatment program and arrange for necessary resources. Case
  managers are also available to answer questions and provide ongoing support for your family in times of medical crisis.
  Case managers are registered nurses (RNs) and other credentialed health care professionals, who are trained in a clinical
  specialty area such as trauma, high risk pregnancy and neonates, oncology, mental health, rehabilitation or general
  medicine and surgery. A case manager trained in the appropriate clinical specialty area will be assigned to you. Case
  managers are supported by a panel of physician advisors who offer guidance on up-to-date treatment programs and
  medical technology. While the case manager recommends alternate treatment programs and helps coordinate needed
  resources, your attending physician remains responsible for your actual medical care.
  The case management process generally works as follows:
      (1) You or an attending physician can request case management services by calling the Customer Service Center at
          1.888.99.Cigna (1.888.992.4462) during normal business hours, Monday through Friday. In addition, Cigna, as
          your employer, a claim office or a PAC/CSR program may refer you for case management.
      (2) The case management group assesses each case to determine whether case management is appropriate.
      (3) An assigned case manager contacts you and explains in detail how the program works. Your participation in the
          program is voluntary — you will not be subject to any penalty or benefit reduction if you do not participate in case
          management.
      (4) After an initial assessment, the case manager works with you, your family and physician to determine your needs
          and to identify what alternate treatment programs are available (for example, in-home medical care in lieu of an
          extended hospital convalescence). You are not penalized if you do not follow the alternate treatment program.
      (5) The case manager arranges for alternate treatment services and supplies, as needed (for example, nursing services
          or a hospital bed and other durable medical equipment for the home).
      (6) The case manager also acts as a liaison between Cigna HealthCare, you, your family and physician as needed
          (for example, by helping you to understand a complex medical diagnosis or treatment plan).
      ( 7) Once the alternate treatment program is in place, the case manager continues to manage the case to ensure the
           treatment program remains appropriate to your needs.
  Participation in case management is strictly voluntary.


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  This section applies if you or a covered dependent is enrolled in more than one group medical plan (for example, if your
  spouse has Cigna Medical Plan coverage as your covered dependent and is also covered by his or her current employer's
  plan). This section describes coordination of benefits (COB), the process for determining which plan is the "primary
  plan" that pays first and which plan is the "secondary" plan that pays only the remaining balance up to the total covered
  charges.
  COB allows group medical plans to avoid duplication of benefits so that the total paid does not exceed the total covered
  amount for the services received.

  I                                     DefinitionslOili*COordittatittimi Benefit Rules
  The fo lowing terms apply to the COB section:
  Group Medical Plan
  A group medical plan either pays benefits or provides services for medical care or treatment and is one of the following:
      •   Group insurance and/or group-type coverage, whether insured or self-insured, which: (a) cannot be purchased by
          the general public, and (b) is not individually underwritten.
      •   Closed panel coverage that provides services through a panel of employed or contracted health care professionals
          and that limits or excludes services provided by health care professionals outside of the panel (except in the case
          of emergency or if referred by a health care professional within the panel).
      •   Coverage under Medicare and other governmental program as permitted by law, except Medicaid and Medicare
          supplement policies.
      •   Medical coverage under group, group-type, and individual automobile contracts.
  Each group medical plan or part of a plan that has the right to coordinate benefits is considered a separate plan.
  Allowable Expense
  An allowable expense is a necessary, reasonable and customary service or expense for a service that is covered in full or
  in part by any group medical plan in which you are enrolled. When a group medical plan provides services, the
  reasonable cash value of each service is the allowable expense and considered the amount paid by the plan for the
  purposes of coordination of benefits.
  Expenses or services that are not allowable expenses include, but are not limited to:
      •   An expense or service or a portion of an expense or service that is not covered by any of the group medical plans
          coordinating benefits.
      •   The difference in cost between a private and semiprivate room if you are hospitalized in a private hospital room
          and no group medical plan provides coverage for more than a semiprivate room.
      •   Any amount in excess of the highest reasonable and customary fee if you are covered by two or more group
          medical plans that provide services or supplies on the basis of reasonable and customary fees.
      •   If you are covered by one group medical plan that provides services or supplies on the basis of reasonable and
          customary fees and another group medical plan that provides services and supplies on the basis of negotiated fees,
          the allowable expense will be determined by the fee arrangement used by the plan that pays first.
      •   If the plan that pays first reduces your benefits because you did not comply with the plan provisions (including
          second surgical opinions and precertification of admissions or services) or because you did not use a preferred
          health care professional, the amount of the reduction is not an allowable expense.
  Claim Determination Period
  A calendar year, excluding any part of a year during which you are not covered under the Cigna Medical Plan.


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  Reasonable Cash Value
  An amount which a licensed health care professional usually charges patients for a service if it is within the range of
  fees usually charged for the same service by other health care professionals who (1) are located in the immediate
  geographic area where the health care service is provided and (2) provide health care services under similar or comparable
  circumstances.
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  A group medical plan that does not have a COB rule consistent with this section is always the plan that pays first. If a
  group medical plan has a COB rule consistent with this section, the first of the following rules that applies determines
  which plan pays first and which plan pays second:
      (1) The group medical plan that covers you as an employee or enrollee is the plan that pays before the group medical
          plan that covers you as a dependent.
      (2) For a dependent child whose parents are not divorced or legally separated if both cover their dependent child
          under a group medical plan, the "birthday rule" applies. The plan covering the parent whose birthday falls earlier
          in the year pays first. Birthday refers to only the month and day in a calendar year, not the year in which someone
          was born. If both parents have the same birthday (month and day), the plan that has provided coverage longer
          pays first.
      (3) If your child is covered by more than one group medical plan and you are divorced or separated from the other
          parent, the plans would pay in the following order:
          (a) first, if a court decree states that one parent is responsible for the child's health care expenses or health
              coverage, the group medical plan for that parent -- if the plan is notified of the terms of the order, but only
              from the time of notification;
          (b) next, the group medical plan of the parent with custody of the child;
          (c) next, the group medical plan of the spouse/partner of the parent with custody of the child;
          (d) then, the group medical plan of the parent not having custody of the child, and
          (e) finally, the group medical plan of the spouse/partner of the parent not having custody of the child.
      (4) The group medical plan that covers you as an active employee (or as the dependent of an active employee) is the
          plan that pays first and the group medical plan that covers you as a former employee (or as the dependent of a
          former employee) is the plan that pays second. If the other group medical plan does not have a similar provision
          and, as a result, the plans cannot agree on the order of benefit determination, this paragraph does not apply.
      (5) The group medical plan that covers you as an active employee or as a retiree (or as the dependent of an active
          employee or retiree) is the plan that pays first and the group medical plan that covers you under federal COBRA
          continuation or a state law requiring health care coverage continuation (see discussion of federal COBRA
          continuation rights under the heading of "COBRA Continuation Coverage") is the plan that pays second. If the
          other group medical plan does not have a similar provision and, as a result, the plans cannot agree on the order of
          benefit determination, this paragraph does not apply.
  If none of these rules determines the order of benefits, the group medical plan that has covered you for the longer period
  of time is the plan that pays first.
  Here are some examples of how these rules apply:
      •   If you (the Cigna employee) arc the patient, but you also have coverage as a dependent under your
          spouse/partner's group medical plan, the Cigna Medical Plan (coverage option and accompanying account) will
          pay first and your spouse or partner's plan will pay next.



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      •   If your spouse/partner is the patient and has coverage through his or her employer and under the Cigna Medical
          Plan as your covered dependent, your spouse/partner's plan will pay first and the Cigna Medical Plan will pay
          next.
      •   If your child is the patient, both you and your spouse/partner cover your child, you were born in January and
          your spouse was born in August, the Cigna Medical Plan will pay first (the plan of the parent whose birthday falls
          earlier in the year, regardless of the ages of the parents, is the plan that pays first). However, special coordination
          of benefits rules described above apply if you are divorced or legally separated from the child's other parent.
                                         When the Cigna Medical Plan Pays Second
  If the Cigna Medical Plan pays second, the amount you receive may be reduced, so that the total benefits paid by all group
  medical plans during a claim determination period are not more than 100% of the total of all allowable expenses.
  The difference between the benefits that the Cigna Medical Plan would have paid if the Cigna Medical Plan had paid first,
  and the amount that the Cigna Medical Plan actually pays will be recorded as a benefit reserve for you.
  The Plan will use this benefit reserve to pay any allowable expense not otherwise paid in full during the calendar year. As
  each claim is submitted the claims administrator will automatically determine whether there are any unpaid allowable
  expenses and use the benefits reserve recorded for you to pay up to 100% of this amount. At the end of the claim
  determination period, which is also the end of the calendar year in the case of the Cigna Medical Plan, any dollars
  remaining in the benefit reserve will be forfeited and not carried over to the subsequent calendar year.
                                               MIlp Recovery of Excess Benefdi
  Payments are made in accordance with the provisions of the Plan. [fit is determined that payment was made for services
  or expenses that are not covered by the Plan, or for a participant who is not covered by the Plan, the Plan has the right to
  recover the overpayment. The Plan will have the right to recover an actual payment made or the reasonable cash value of
  any services provided if the Plan pays benefits that should have been paid first by another group medical plan or the Plan
  pays more than the covered amount under the Plan when the Plan pays first.
  The claims administrator will have sole discretion to seek this recovery from any person to, or for whom, or with respect
  to whom, these services were provided or payments made by any insurance company, health care plan or other
  organization. The claims administrator will attempt to collect the overpayment from the party to whom the payment
  was made. However, the claims administrator reserves the right to seek overpayment from you and/or your covered
  dependents. Failure to comply with a request to repay an overpayment will entitle the Plan to withhold benefits due you
  and/or your covered dependents.
  The claims administrator has the right to refer a claim for overpayment to an outside collection agency. It may also
  bring a lawsuit to enforce its rights to recover overpayments.
  If requested, you must provide any requested information as determined necessary by the claims administrator to secure
  the right of recovery.
                                        ;Right to Recd;;':;. iind Release Informati00
  The claims administrator, without consent or notice to you, may obtain information from and release information to any
  other group medical plan relating to you in order to coordinate your benefits under this section.
  You must provide any requested information in order to coordinate your benefits. When a request for information relates
  to a submitted claim, you will be advised that the "other coverage" information, (including an Explanation of Benefits
  paid by the other medical plan) is required before the claims administrator will process the claim. If you do not respond
  within 90 days of this request, the claim will be denied. The claims administrator will automatically reopen and process
  your claim provided the requested information is received by the end of the 90-day period.




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  If you or your covered dependent(s) are enrolled in Medicare while you are actively employed, participation in this Plan
  will continue as long as you are an active employee and remain enrolled. In that circumstance, this Plan will pay primary
  and Medicare will pay secondary.
  Medicare will pay primary and this Plan will pay secondary in the following situations:
      •   If you or a covered dependent is eligible for Medicare and Cigna Medical Plan coverage is continued under
          COBRA for any reason, as provided in this Plan; or
      •   If you or any covered dependents are eligible for Medicare due to End Stage Renal Disease, once you or any
          covered dependents have been eligible for Medicare for 30 months, to the extent permitted by applicable law.
  If you are on a leave of absence or you are receiving disability benefits, the following Medicare Secondary Payor
  coordination rules apply:
      •   Leave of Absence/No Disability: If you take a leave of absence, retain coverage under the Plan, and are not
          receiving disability benefits from Cigna, the Plan will continue to pay primary for as long as you retain your right
          to return to active employment, (i.e., your employment is not terminated by Cigna), provided that you are not
          receiving disability benefits from the Social Security Administration. If your employment is terminated by Cigna
          and/or if you begin to receive benefits from the Social Security Administration (and the subsequent paragraph
          below does not apply), Medicare will become primary for you and/or any covered dependents.
      •   Leave of Absence/Disability: If you take a medical leave of absence, retain coverage under the Plan, and start
          receiving disability benefits from Cigna, the Plan will continue to pay primary for the first 6 months of your
          disability coverage (i.e., while disability benefits are subject to FICA tax). After this 6-month period, Medicare
          will become primary for you and/or any covered dependents.
  If you are receiving benefits under the Cigna Long-Term Disability Plan, your coverage will be transferred to the Cigna
  Medical Plan for Retirees, Survivors and Disabled Employees on January 1 following the date you first receive long-term
  disability benefits from Cigna. Coverage for your covered dependents will also be transferred to the Cigna Medical Plan
  for Retirees, Survivors and Disabled Employees.
  The claims administrator will assume a Medicare payment was made as if a person has applied or enrolled as follows
  under:
      •   Part A of Medicare for a person who is eligible for that Part without premium payment, regardless of whether the
          person has applied.
      •   Part B of Medicare for a person who is eligible to enroll in that Part, regardless of whether the person has
          enrolled.
      •   Part B of Medicare for a person who has entered into a private contract with a health care professional, to be the
          amount he would receive in the absence of such private contract.
  A person is considered entitled to Medicare payments on the earliest date any coverage under Medicare could become
  effective for him/her. If Medicare would be the primary payer, the Plan will not pay expenses that would otherwise be
  covered by Medicare. Timely enrollment in Medicare Parts A and B will ensure proper coordination of benefits. You
  may obtain further information on Medicare eligibility by contacting Medicare directly at 1.800.MEDICARE or
  www.Medicare.gov.

  However, when more than one Plan is secondary to Medicare, the rules in the "Order of Benefits Determination Rules"
  section will be used to determine how benefits will be paid.
  Prescription Drug Benefits
  The Plan includes coverage for prescription drug benefits. However, if you are a Medicare-eligible individual, you are
  also entitled to enroll in a prescription drug plan under Medicare Part D. If you decide to join a Medicare drug plan as a

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  supplement to the prescription drug coverage you receive under the Cigna Medical Plan, your enrollment in the Medicare
  drug plan will not reduce your prescription drug benefits under the Cigna Medical Plan. However, your benefits under the
  Medicare drug plan may be affected by your prescription drug coverage under the Cigna Medical Plan. You are therefore
  urged to consider the options carefully prior to making a Medicare Part D election.
  If you decide to join a Medicare drug plan and drop your current Cigna Medical Plan coverage, you can elect this
  coverage again during open enrollment or upon the occurrence of a change in election event.
  Partners
  Under federal law, the Medicare Secondary Payer Rules do not apply to partners covered under a group health plan.
  Therefore, Medicare always pays first for a person covered as a partner, and the Plan pays after Medicare.
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  If you are traveling on Cigna business outside the U.S. and are covered under another Cigna-sponsored plan that provides
  medical benefits for Cigna employees traveling abroad on business, that plan will be considered the primary plan that pays
  first. Your Cigna Medical Plan will coordinate coverage with, and will pay after, that plan.
  ))/ HE,A1:::*iTH I RD::BARTYdimAy,..4,4,,RESPCIAISIBLE FOR BANEFITS
  This section describes the Plan's rights to be repaid if you receive Plan benefits after an injury, illness or other condition
  and then recover from someone else (a third party) money in payment for your related medical expenses. That money
  must be repaid to the Plan. As is true in most other parts of the SPD, "you" as used here includes your covered
  dependents.
  The Plan does NOT cover:
      (1) Expenses you incur if another party may be responsible for those expenses because he or she caused or
          contributed to your injury, illness or other condition.
      (2) Expenses you incur to the extent you receive any payments for them (either directly or indirectly) from a third
          party tortfeasor or as a result of a settlement, judgment or arbitration award in connection with any of the
          following or a similar type of coverage: compromises or awards, medical payment coverage (auto, homeowners
          or otherwise), any no-fault insurance, uninsured or underinsured motorist insurance, workers' compensation
          settlement, government insurance (other than Medicaid), and other group insurance (including student plans).

                               I ;!    mmw;Subrogation/Right of Reimbursemeniikmmaammmmmmwna:mmm
  If you incur a covered expense and the Plan or its claims administrator determines that another party may be
  responsible for the expenses or you may receive payment as described above:
      (1) Subrogation: The Plan shall, to the fullest extent permitted by law in the appropriate jurisdiction, be subrogated to
          all rights, claims, demands or interests that you may have against the responsible party. Such party may include
          (1) any other person (including, but not limited to, his or her insurance companies and carriers), whose action or
          inaction caused or contributed to the injury, illness or other condition for which Plan benefits are paid; and (2) any
          other third party, including, but not limited to, your automobile or other insurance company or carrier. The
          amount of subrogation will equal the total amount paid under the Plan arising out of the injury, illness or other
          condition together with any attorneys' fees and costs that the Plan incurs in enforcing its subrogation rights under
          these subrogation and right to reimbursement provisions. The Plan is not required to participate in or pay
          attorneys' fees, costs, or expenses to any attorney hired by you (or your guardian, estate, heir, or other
          representative) in pursuit of claims against a person who caused or contributed to the injury, illness or other
          condition; however, the Plan may bring an action on its own behalf or your behalf against any responsible party or
          third party involved in the injury, illness or other condition.
          The Plan may advance monies or provide benefits for an injury, illness or other condition for which another party
          is responsible, and, if so, the Plan is subrogated to all of your rights against any party liable for your injury, illness
          or other condition, or who is or may be liable for the payment for the medical treatment of such injury, illness or

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         other condition in the amount of monies or value of other benefits advanced or provided by the Plan to you. The
         Plan may assert this right independently of you. The Plan is not obligated in any way to pursue this right
         independently or on your behalf, but may choose to pursue its rights to reimbursement under the Plan, in its sole
         discretion.
         You are obligated to cooperate with the Plan and its agents to protect the Plan's subrogation rights. Your
         obligations include, but are not limited to, providing the Plan or its agents with any relevant information requested
         by them, signing and delivering such documents as the Plan or its agents reasonably request to enforce the Plan's
         subrogation rights, and obtaining the consent of the Plan or its agents before releasing any party from liability for
         payment of medical expenses.
         If you enter into litigation or settlement negotiations relating to your injury, illness or other condition, you must
         not prejudice, in any way, the subrogation rights of the Plan. If you fail to cooperate as provided, including
         executing any required documents, the Plan may, in addition to remedies provided elsewhere in the SPD and/or
         under the law, set off from any future benefits otherwise payable under the Plan the money and value of other
         benefits advanced to the extent not recovered by the Plan.
          The Plan will automatically have a lien on the proceeds of any recovery by you from that third party to the extent
          of any benefits paid under the Plan.
     (2) Right of Reimbursement: The Plan is also granted a right to be reimbursed from the proceeds of any recovery you
         (or your attorney, guardian, heir, estate, or other representative) receive from any sources related to such injury,
         illness or condition (including; but not limited to: (1) any policy or contract from any insurance company or
         carrier (including your automobile or other insurer); and/or (2) any third party, plan, or fund as a result of a
         judgment, arbitration award, verdict, insurance payment, settlement or other recovery, regardless of whether or
         not (1) you have been fully compensated, or made whole for your loss, (2) liability is admitted by you or any
         other party, or (3) the recovery by you is itemized or specified as a recovery for medical expenses incurred).
         If a recovery is made, the Plan shall have first priority in payment over you or any other party to receive
         reimbursement of the monies and value of the other benefits advanced on your behalf. This reimbursement shall
         be from any recovery made by you, and includes, but is not limited to, uninsured and underinsured motorist
         coverage, any no-fault insurance, medical payment coverage (auto, homeowners or otherwise), workers'
         compensation settlement, compromises or awards, other group insurance (including student plans), and direct
         recoveries from liable parties. The Plan has a right to be reimbursed from such payment for all amounts the Plan
         has paid or will pay as a result of that illness, injury or other condition. This right of reimbursement is cumulative
         with, and not exclusive of, the Plan's subrogation right granted in paragraph 1, but only to the extent of the
         benefits provided by the Plan.
                                                        Lion of dial*
  By accepting any benefits advanced under this Plan, you:
     •    Acknowledge that if the Plan advances monies or provides benefits for an injury, illness or other condition, and
          you recover monies or benefits from a third party due to that particular injury, illness or condition (of any sum up
          to the amount of the monies or benefits advanced), the Plan has an equitable lien in connection with such
          payments. This lien is binding on any attorney or other party who represents you, whether or not that attorney is
          your agent or the agent of any insurance company or other financially responsible party against whom you may
          have a claim if the attorney, insurance carrier or other party has been notified by the Plan or its agents;
     •    Acknowledge that any proceeds of settlement or judgment, including your claim to such proceeds held by another
          person, held by you, or by another, are being held for the benefit of the Plan;
     •    Agree that this lien shall constitute a charge against the proceeds of any recovery and the Plan shall be entitled to
          assert a security interest thereon; and



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      •   Agree to hold the proceeds of any recovery in trust for the benefit of the Plan to the extent of any payment made
          by the Plan. Failure to hold such received funds in trust, and in a separate, identifiable account, will be deemed a
          breach of your obligation to the Plan.
                                                       Additional Terms
      •   The above subrogation and reimbursement rights arise immediately upon payment of any benefits under the Plan.
      •   You (and your guardian, estate, heir or other representative) shall cooperate fully with the Plan and Cigna in
          asserting and protecting the Plan's subrogation and reimbursement rights.
      •   When requested by the Plan, the claims administrator or their designees, you (or your guardian, estate, heir or
          other representative) specifically agree to notify Cigna in writing if benefits are paid under the Plan for care
          arising out of any injury or illness that provides or may provide the Plan subrogation or reimbursement rights
          pursuant to the above subrogation and right to reimbursement provisions.
      •   When requested by the Plan, the claims administrator or their designees, you (or your guardian, estate, heir or
          other representative) specifically agree to notify the Plan in writing of your intent to pursue or investigate a claim
          to recover damages or obtain compensation due to sustained injuries or illness.
      •   You and your adult covered dependents may not assign any rights to recover medical expenses from any third
          party or other person or entity to any minor dependent without the prior express written consent of the Plan. The
          Plan's right to recover shall apply to the settlements or recoveries of decedents, minors, and incompetent or
          disabled persons.
      •   You (and your guardian, estate, heir or other representative) shall not to do anything to prejudice the Plan's right
          to reimbursement or subrogation, including making any settlement which specifically reduces or excludes, or
          attempts to reduce or exclude, the benefits provided by the Plan.
      •   The Plan's right of recovery shall be a prior lien against any proceeds you recover and this right shall not be
          defeated or reduced by the application of any so-called "Made-Whole Doctrine," "Rimes Doctrine," or any other
          such equitable doctrine or state law purporting to defeat the Plan's recovery rights by allocating the proceeds
          exclusively to non-medical expense damages.
      •   You must assign to the Plan any benefits you may have under any automobile policy or other coverage, to the
          extent of the Plan's claim for reimbursement. You shall sign and deliver, at the request of the Plan or its agents,
          any documents needed to effect such assignment of benefits.
      •   You shall not incur any expenses on behalf of the Plan in pursuit of the Plan's rights. Specifically; no court costs,
          attorneys' fees or other representatives' fees may be deducted from the Plan's recovery without the prior express
          written consent of the Plan. This right shall not be defeated by any so-called "Fund Doctrine," "Common Fund
          Doctrine," "Attorney's Fund Doctrine," or other equitable or legal defenses.
      •   The Plan shall recover the full amount of benefits provided hereunder without regard to any claim of fault on your
          part, whether under comparative negligence or otherwise.
      •   If you fail or refuse to honor your obligations, then the Plan will be entitled to recover any costs incurred in
          enforcing these terms. These costs may include, but are not limited to, attorney's fees, litigation, court costs, and
          other expenses. The Plan is also entitled to offset the reimbursement obligation against any entitlement to future
          medical benefits hereunder until you have fully complied with your reimbursement obligations hereunder,
          regardless of how those future medical benefits arc incurred.
  By accepting benefits under the Plan, you agree that a breach would cause irreparable and substantial harm and that no
  adequate remedy at law would exist. Further, the Plan shall be entitled to invoke such equitable remedies as may be
  necessary to enforce the terms of the Plan, including, but not limited to, specific performance, restitution, the imposition
  of an equitable lien and/or constructive trust, as well as injunctive relief.


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  Cigna, in its sole and absolute discretion, may waive or modify any or all of the above provisions.


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                                                   How to File YUr Claims
  In-Network and Out-of-Network Services in General
  You do not have to file claim forms if you use network health care professionals or facilities, participating pharmacies or
  the Cigna Home Delivery Pharmacy, but you must pay any applicable deductible or coinsurance amount.
  You must file claims to receive payment for out-of-network services, including having prescriptions filled at non-
  participating pharmacies. You may have to pay when you receive services and then submit a claim for reimbursement.
  Claim forms for most types of services are available online on the Your Cigna Life website (click on Self
  Service>Employee Self Service>Forms/Tools & Resources). In addition to the instructions on the claim form, below is
  information about filing claims for particular types of services:
  Hospital Stays: If you use an out-of-network hospital, if possible, get your claim form before you are admitted to the
  hospital. This form will make your admission easier and any cash deposit usually required will be waived.
  Doctor's Bills and Other Medical Expenses: The first medical claim should be filed as soon as you have incurred
  covered expenses. Itemized copies of your bills should be sent with the claim form. If you have any additional bills after
  the first treatment, file them periodically.
  Filing Deadline: Unless otherwise specified in the description of applicable benefits, you or your covered dependent(s)
  must file an initial claim for out-of-network group health care program benefits within 180 days of the date of service (24
  months if coordinating with another plan.) You or your covered dependent(s) must complete the required claims and
  appeals process described in this "Claims and Benefit Payments" section and in the "Appeals Process" section before you
  may bring legal action or, where applicable, pursue external review. You may not file a lawsuit for benefits if the initial
  claim or appeal is not made within the time periods described in the "Claims and Benefit Payments" and "Appeals
  Process" sections.
  Claim Reminders
      •   Be sure to use your medical ID number and account number when you file your claims.
      •   Your medical ID number is shown on your medical ID card.
      •   Claim forms include the 7-digit policy number, which is also shown on your medical ID card.
      •   Prompt filing of any required claim forms will result in faster payment of your claims.
                                                     Payment of Benefits
  The Plan generally makes payments directly to network health care professionals or facilities that provide your covered
  services. By using network services, you are automatically authorizing Cigna HealthCare, and any network health care
  professionals and facilities to release your relevant medical records to the claims administrator to determine applicable
  benefits or reimbursements for the services you receive.
  Plan benefits are not assignable unless agreed to by the claims administrator. The claims administrator may, at its
  option, make payment to you for the cost of any covered services received by you or your covered dependent out-of-
  network, even if benefits have been assigned. When benefits arc paid to you, you arc responsible for reimbursing the
  health care professional or facility. If the person to receive the payment is a minor or, in the claims administrator's
  opinion, cannot give a valid receipt for the payment, the Plan will pay that person's legal guardian. If no legal guardian
  requests payment, the Plan may, at its option pay the person or institution that appears to have responsibility for the
  person's custody and support.



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  If you die while any Plan benefits remain unpaid, the Plan may pay any of your following living relatives: spouse or
  partner, mother, father, child or children, brothers or sisters; or to the executors or administrators of your estate.
  The Plan will not be liable for any additional payments to the extent it makes a payment to a living relative or other person
  listed above.
  Recovery of Overpayments
  If the Plan makes an overpayment, the Plan or its designee has the right at any time to: (a) recover that overpayment from
  the person to whom or on whose behalf it was made; or (b) offset the amount of that overpayment from a future claim
  payment.


   LAM DETERMIN, T
                                              Medical Necessity Determination
  Procedures Regarding Medical Necessity Determinations
  In general, health services and benefits must be medically necessary to be covered under the Plan. The procedures for
  determining medical necessity vary according to the type of service or benefit requested — medical necessity
  determinations are made on either a preservice, concurrent, or postservice basis.
  Certain services require prior authorization in order to be covered under the Plan as described above. This SPD describes
  who must ask for this authorization.
  You or your authorized representative (typically, your health care professional) must request prior authorization according
  to the procedures described elsewhere, in this SPD and in your health care professional's network participation
  documents, as applicable.
  When services or benefits are determined to be not covered, you or your representative will receive a written description
  of the adverse determination, and you may appeal the determination. Appeal procedures are described in this SPD, in
  your health professional's network participation documents, and in the determination notices.
  Preservice Determinations
  When you or your representative request a required prior authorization, the claims administrator will notify you or your
  representative of the determination within 15 days after receiving the request. However, if the claims administrator
  needs more time due to matters beyond its control, the claims administrator will notify you or your representative within
   I 5 days after receiving your request. This notice will include the date you can expect a determination, which will be no
  more than 30 days after receipt of the request. If more time is needed because necessary information is missing from the
  request, the notice will also specify what information is needed. You or your representative must provide the specified
  information to the claims administrator within 45 days after receiving the notice. The determination period will be
  suspended on the date the claims administrator sends the notice of missing information, and will resume on the date you
  or your representative responds to the notice.
  If the determination periods above would (a) seriously jeopardize your life or health or your ability to regain maximum
  function, or (b) in the opinion of a physician with knowledge of your health condition, cause you severe pain which
  cannot be managed without the requested services, the claims administrator will make the preservice determination on
  an expedited basis. The claims administrator's Physician Reviewer will defer to the determination of the treating
  physician regarding whether an expedited determination is necessary. The claims administrator will notify you or your
  representative of an expedited determination within 72 hours after receiving the request.
  However, if necessary information is missing from the request, the claims administrator will notify you or your
  representative within 24 hours after receiving the request to specify what information is needed. You or your
  representative must provide the specified information to the claims administrator within 48 hours after receiving the
  notice. The claims administrator will notify you or your representative of the expedited benefit determination within 48


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  hours after you or your representative responds to the notice. Expedited determinations may be provided orally, followed
  within 3 days by written or electronic notification.
  If you or your representative fails to follow the claims administrator's procedures for requesting a required preservice
  determination, the claims administrator will notify you or your representative of the failure and describe the proper
  procedures for filing within 5 days (or 24 hours, if an expedited determination is required, as described above) after
  receiving the request. The claims administrator may provide this notice orally, unless you or your representative asks
  for written notification.
  Concurrent Determinations
  When an ongoing course of treatment has been approved for you and you wish to extend the approval, you or your
  representative must request a required concurrent coverage determination at least 24 hours before the previously approved
  period of time expires or the number of treatments is reached. The claims administrator will notify you or your
  representative of the determination within 24 hours after receiving that request.
  Postservice Determinations
  When you or your representative requests a coverage determination after services have been rendered, the claims
  administrator will notify you or your representative of the determination within 30 days after receiving the request.
  However, if the claims administrator needs more time to make a determination due to matters beyond its control the
  claims administrator will notify you or your representative within 30 days after receiving the request. This notice will
  include the date you can expect a determination, which will be no more than 45 days after receipt of the request.
  If the claims administrator needs more time because necessary information is missing from the request, the notice will
  also specify what information is needed. You or your representative must provide the specified information to the claims
  administrator within 45 days after receiving the notice. The determination period will be suspended on the date the
  claims administrator sends such a notice of missing information, and the determination period will resume on the date
  you or your representative responds to the notice.
                                               Notice of Adverse Determinat                                                     ■
  Every notice of an adverse benefit determination will be provided in writing or electronically, and will include all of the
  following that relate to the determination:
      •   Enough information for you to identify the claim;
      •   The specific reason or reasons for the denial;
      •   Reference to the specific Plan provisions on which the determination is based;
      •   A description of any additional material or information necessary to perfect the claim and an explanation of why
          such material or information is necessary;
      •   A description of the Plan's review procedures and the time limits applicable, including a statement of your rights
          to bring a civil action under section 502(a) of ERISA following an adverse benefit determination on appeal;
      •   Upon your request and free of charge, a copy of any internal rule, guideline, protocol or other similar criterion that
          was relied upon in denying your claim;
      •   An explanation of the scientific or clinical judgment for a determination that is based on a medical necessity,
          experimental treatment or other similar exclusion or limit; and
      •   In the case of a claim involving urgent care, a description of the expedited review process applicable to such
          claim.


  APPEAlsrauctsS

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  The Cigna Medical Plan has two different appeal procedures. One is for eligibility/election issues; the other is for
  coverage/benefit issues.
  An "eligibility/election" issue is one that deals with:
      •   Your eligibility to enroll in a Cigna Medical Plan option;
      •   The eligibility of your dependents;
      •   Your enrollment;
      •   Your coverage elections;
      •   Your dependent elections;
      •   Your cost for coverage (your payroll cost); or
      •   Changes in your elections — including life status changes.
  A "coverage/benefit" issue is one that deals with:
      •   Whether the option you elected covers a particular illness, injury, treatment or procedure; or
      •   If there is coverage, the level of benefit the option provides and the level of benefit to which you might be
          entitled.
  The appeals process for each of eligibility/election issues and for coverage/benefit issues is described in the next section.
  You may treat any issue that does not clearly fall into one of the above categories as an eligibility/election issue.


  Level One Appeal
  If you have a problem with or disagree with a decision about an eligibility/election issue, you may file an appeal by using
  the process described in this section. As part of the process, you are entitled to review pertinent documents and have a
  qualified person represent you in the review.
  You may start the appeal process by writing about your problem to the Your Cigna Life Service Center at:
                           Post Office Box 62825
                           Phoenix, AZ 85082
  You must make your written appeal within 180 days after the event that gives rise to your problem. Your appeal letter
  should include (1) your name, (2) the plan name, (3) an explanation of why you believe your claim is valid and (4) copies
  of any supporting documents. Someone other than you may write an appeal letter on your behalf if you have clearly
  authorized that person in writing to represent you and a copy of that written authorization, signed by you, is included with
  the appeal letter.
  The Your Cigna Life Service Center will normally make a decision on your appeal within 30 days after receipt of your
  appeal letter. However, if special circumstances require more time to make a decision, the Your Cigna Life Service
  Center may need an extension of up to 15 more days to consider your appeal. The Your Cigna Life Service Center will
  notify you in writing prior to the end of the 30-day period of any extension and the reason for it and if additional
  information is required.
  If you must provide additional information to support your appeal:
      •   The notice of the extension will detail the information you need to provide;
      •   You will have at least 45 days to provide the information; and




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      •   The running of the 15-day extension period will be suspended until the Your Cigna Life Service Center receives
          the additional information.
  The Your Cigna Life Service Center will notify you in writing of the decision on your appeal. If your appeal is denied in
  whole or in part, the notice will include:
      •   The specific reason for the denial;
      •   References to Plan provisions on which the denial is based;
      •   A statement that you may request access to or copies, free of charge, of all documents, records and other
          inforination relevant to your claim; and
      •   A description of the Plan's procedures for appealing the decision and a statement of your rights to bring a civil
          action under ERISA.
  If you have not received a decision by the end of the 30-day period (or the end of the extended period, if you received
  notice about the extension), you may treat your appeal as denied.
  Filing a Final Appeal
  If your appeal to the Your Cigna Life Service Center is denied in whole or in part, and you disagree with the decision, you
  may make a final appeal to the plan administrator. Your final appeal must also be in writing and must be sent within
  180 days from the date that you receive written notice of the denial of your level one appeal from the Your Cigna Life
  Service Center. You should address your final appeal letter to:




                           Office of the Plan Administrator
                           Cigna Corporation
                           Two Liberty Place, TLO5T
                           1601 Chestnut Street
                           Philadelphia, PA 19192
  Your final appeal letter should contain an explanation of why you think your request should be approved and copies of
  any supporting documents. Someone other than you may write an appeal letter on your behalf if you have clearly
  authorized that person in writing to represent you and a copy of that written authorization, signed by you, is included with
  the appeal letter.
  In considering your appeal, the plan administrator will review your written appeal letter, any relevant documents you
  provide, the relevant Plan provisions and other relevant information. The plan administrator will normally make a
  decision on your appeal within 30 days after receiving your appeal letter.
  The plan administrator will notify you in writing of the decision on your final appeal, and that decision is final. If your
  appeal is denied, this written notice will include:
      •   The specific reason for the denial;
      •   References to Plan provisions on which the denial is based;
      •   A statement that you may request access to or copies, free of charge, of all documents, records and other
          information relevant to your claim; and
      •   A statement of your right to bring a civil action for Plan benefits under ERISA section 502(a).
  If you have not received a decision by the end of the 30-day period, you may treat your appeal as denied.
  The plan administrator has the sole discretion to determine any eligibility/election issues; to interpret any of the Plan's
  provisions relevant to eligibility/election issues (and issues, if any, that are neither eligibility/election issues; nor

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  coverage/benefit issues), including any ambiguous or disputed terms; and to make any related factual determinations. The
  plan administrator's determinations and interpretations are final and binding on all parties.
                                                  dGgoeragefBwfit Issues
  If you have a problem with or disagree with a decision about a coverage/benefit issue, you may file an appeal by using the
  process described in this section. In this section, the terms "you" and "your," depending on the context, may also refer to
  your authorized representative.
  NOTE: Health care providers are not "beneficiaries" of the plan, and although Cigna may make direct payment to health
  care providers for the convenience of participants and their dependents, such payments for services shall not be
  considered "benefits" available under the plan, or confer beneficiary standing upon a health care provider.
  Physician Reviewers are licensed physicians who specialize in areas appropriate for the care, service or treatment under
  review.
  Start With the Customer Service Center
  If you have a concern about a person, a service, the quality of care, Plan benefits, or a rescission of coverage, you may call
  the Customer Service Center -- at 1.888.99Cigna (1.888.992.4462) -- to explain your concern to a Customer Service
  representative. You may also express your concern in writing.
  The Customer Service representative will try to resolve the matter on your initial contact. If the Customer Service Center
  needs more time to review or investigate your concern, a representative will get back to you as soon as possible, but in
  any case within 30 days. If you are not satisfied with the results of a coverage or benefits decision, you may start the
  appeals procedure.
  Internal Appeals Procedure
  To start an appeal, you must submit a written request for an appeal to the claims administrator within 180 days after you
  receive a denial notice. Address the appeal to:
                           Cigna HealthCare
                           ICARE Appeals
                           P.O. Box 188011
                           Chattanooga, TN 37422
  Your appeal letter should explain why you think your appeal should be approved and include any information that
  supports your appeal. If you cannot or choose not to write, you may start your appeal by telephone. Call the claims
  administrator at 1.888.992.4462 for assistance.
  Appeals Procedure
  Your appeal will be reviewed and decided by someone not involved in the initial decision. A health care professional will
  consider appeals involving medical necessity or clinical appropriateness.
  The claims administrator will respond in writing with a decision on your appeal:
      •   within 30 calendar days after receiving an appeal for a required preservice or concurrent care coverage
          determination or a post-service medical necessity determination, and
      •   within 60 calendar days after receiving an appeal for any other postservice coverage determination.
  If the claims administrator needs more time or information to make the determination, the claims administrator will
  notify you in writing to request an extension of up to 15 more calendar days and will specify any additional information it
  needs to complete the review.
  In the event any new or additional information (evidence) is considered, relied on or generated by the claims
  administrator in connection with the appeal, the claims administrator will provide this information to you as soon as
  possible and sufficiently in advance of the decision so that you will have an opportunity to respond. Also, if any new or

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  additional rationale is considered by the claims administrator, the claims administrator will provide the rationale to
  you as soon as possible and sufficiently in advance of the decision so that you will have an opportunity to respond.
  You may ask the claims administrator for a quicker decision (an expedited appeal) if:
      (a) the above timing would seriously jeopardize your life, health or ability to regain maximum functionality or in
          your physician's opinion would cause you severe pain which cannot be managed without the requested services;
          Or

      (b) your appeal involves non-authorization of a hospital admission or continuing inpatient hospital stay.
  If you ask for an expedited appeal based on (a) above, you may also ask for an expedited external independent review (see
  "Independent Review Process") at the same time, if the time to complete an expedited appeal would be detrimental to
  your medical condition.
  When an appeal is expedited, the claims administrator will respond orally with a decision within 72 hours, with a written
  follow up.
  External Review Process
  If you are not satisfied with the claims administrator's decision on your internal appeal review and the appeal involves
  medical judgment or a rescission of coverage, you may request that your appeal be referred to an Independent Review
  Organization (IRO). The IRO is composed of persons who are not employed by the claims administrator, Cigna
  HealthCare, or any of its affiliates. A decision to use the voluntary level of appeal will not affect your rights to any other
  Plan benefits.
  There is no charge for you to initiate the independent review process. The claims administrator will accept the decision
  of the IRO.
  To request an independent review, you or an authorized designated representative, must notify the Appeals Coordinator
  within 4 months after you receive notice that the claims administrator has denied your appeal. The claims
  administrator will then forward the claim file to a randomly selected IRO. The IRO will render an opinion within 45
  days.
  You can ask for an expedited review process if a delay would be detrimental to your medical condition, as determined by
  the claims administrator's Physician Reviewer, or if your appeal involves an admission, availability of care, continued
  stay, or health care item or service for which you received emergency services, and you have not yet been discharged
  from a facility. If your request is granted, the review will be completed within 72 hours.
  Notice ofBenefit Determination on Appeal
  Every notice of a determination on appeal will be provided in writing or electronically. If the decision involves a denial
  of your claim, the notice will include:
      •   Enough information to identify the claim;
      •   The specific reason or reasons for the denial;
      •   Reference to the specific Plan provisions on which the determination is based;
      •   A statement that you are entitled to receive, upon request and free of charge, reasonable access to and copies of all
          documents, records, and other relevant information as defined below;
      •   A statement describing any voluntary appeal procedures offered by the Plan and your right to bring an action
          under ERISA section 502(a);
          Upon your request and free of charge, a copy of any internal rule, guideline, protocol or other similar criterion that
          was relied upon in denying your claim; and



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      •   An explanation of the scientific or clinical judgment for any determination that is based on a medical necessity,
          experimental treatment or other similar exclusion or limit.
  A final notice of claim denial will include a discussion of the decision.
  Relevant Information
      Relevant information is any document, record or other information that:
      •   Was relied on in making the benefit determination;
      •   Was submitted, considered or generated in the course of making the benefit determination, even if the document,
          record, or other information was not actually relied on in making the benefit determination;
      •   Demonstrates compliance with the administrative processes and safeguards required by federal law in making the
          benefit determination; or
      •   Constitutes a statement of policy or guidance under the Plan about the denied treatment option or benefit for the
          applicable diagnosis, even if the advice or statement was not actually relied on in making the benefit
          determination.
  Legal Action
  You have the right to bring a civil action under section 502(a) of ERISA if you are not satisfied with the outcome of the
  Appeals Procedure. In most instances, you may not begin a legal action until you have completed the appeal processes.
  You must file any lawsuit for benefits within one year after the final decision on appeal. You may not file suit after the
  one-year period expires. You or your covered dependent(s) are not required to request voluntary internal review or an
  external review before filing a lawsuit. If you or your covered dependent(s) do request voluntary internal review or an
  external review of the decision, the time taken to appeal under the voluntary review process will not be counted against
  the one year in which you have to file a lawsuit.
                                    VolunitagaReviewpiNmAolggrage Appeal Decision.
  If you have exhausted the appeals process described above and you believe there has been an error or that your appeal has
  not been handled properly, you may make a voluntary request that the plan administrator review your claim.
  You do not have to ask for this voluntary review, and whether you ask or not will have no effect on your right to: any
  other Plan benefits, to pursue any legal remedies you have, to information about applicable Plan rules or to be represented
  by someone during your appeal. If you do not ask for a plan administrator review, the Plan will not assert any claim that
  you failed to exhaust the appeal process, for failing to request such review. If you do ask for a plan administrator
  review, the Plan agrees that any statute of limitation or lack of timeliness defenses it may have are suspended while the
  review is pending.
  If you want the plan administrator to review your claim, send a written request addressed to:
                           Office of the Plan Administrator
                           Cigna Corporation
                           Two Liberty Place, TLO5T
                           1601 Chestnut Street
                           Philadelphia, PA 19192
  You must mail your request within 60 days after you receive notice of the denial of your appeal or, if you request
  independent review, 60 days after that denial. You must explain in your request letter why you think the decision of your
  appeal is wrong.
  The plan administrator will investigate the decision on your appeal and determine whether all the appeal procedures
  were followed in reaching a decision and whether the decision was consistent with the terms of the Plan. The plan
  administrator will notify you of the results of the review within 30 days after receiving your request for review. If the


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  Plan Administrator needs more time (but not more than 60 days), the plan administrator will notify you about the
  extension and the reason for it.


  COBRA
  This section of the SPD contains important information about your right to COBRA continuation coverage (or COBRA
  coverage), which is a temporary extension of Plan coverage on a self-pay basis. The right to COBRA coverage was
  created by a federal law, the Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA). COBRA coverage can
  become available to you and to other members of your family who are covered under the Plan when you would otherwise
  lose your group health coverage. This section explains COBRA coverage, when it may become available to you and your
  family, and what you need to do to protect the right to receive it.
  Your rights to COBRA coverage may change as further amendments to COBRA are made by Congress or as
  interpretations of COBRA are made by the courts and by federal regulatory agencies.
                                              (I)BRA, Continuation Cover
  COBRA coverage is a continuation of Plan coverage when coverage would otherwise end because of a qualifying event.
  Specific qualifying events are listed in the next section. COBRA coverage must be offered to each person who is a
  qualified beneficiary. A qualified beneficiary is someone who will lose coverage under the Plan because of a qualifying
  event. Depending on the type of qualifying event, employees, spouses of employees, and dependent children of
  employees may be qualified beneficiaries. You are a qualified beneficiary under COBRA if you were a covered employee
  or a covered dependent of a covered employee on the day before the occurrence of a qualifying event. A child is a
  qualified beneficiary if he or she is born to the covered employee, while the covered employee is covered under COBRA.
  Qualified beneficiaries have the same rights as active employees.
  Under the Plan, qualified beneficiaries who elect COBRA coverage must pay the full cost of the coverage (employer and
  employee share) plus an administrative fee. In most instances the cost is the full group rate plus a 2% administration fee.
  However, Cigna subsidizes some of the cost for COBRA coverage in these two situations:
     •     While you are receiving biweekly severance payments, Cigna subsidizes 65% of the cost at the group rate for
           Cigna Medical Plan COBRA coverage. You or your qualified beneficiaries will be charged only 35% of the cost.
     •     If you die while a regular employee, Cigna subsidizes Cigna Medical Plan COBRA coverage during the entire
           COBRA period, so that your qualified beneficiaries will be charged only the employee share of the group rate.
  If the cost of active coverage changes after your COBRA coverage starts, the cost of your COBRA coverage also changes.
  You must send your first COBRA payment to the address listed on your COBRA election notice postmarked no more than
  45 days after the date that you elect COBRA coverage. You must make the rest of your monthly payments in full
  postmarked no more than 30 days after the date they are due or your COBRA coverage could terminate
  retroactive to the last date for which premiums were paid.
  For more information about COBRA rates, contact the Plan's COBRA Administrator.
  Adding Dependents
  Only children born to you or adopted by you during your COBRA coverage may be added as covered dependents. If
  you do not choose COBRA coverage and did not pay for COBRA coverage within the time limits set by COBRA, you
  may not be eligible for COBRA coverage in the future for the same qualifying event.
  Removing Dependents
  You do not have to elect full family coverage; you can elect coverage for yourself and/or any eligible dependents.




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  Partners
  Your partner and his or her dependent children do not have rights to COBRA coverage under existing federal law, but
  Cigna offers them the same right to continued coverage (described below) that an employee's spouse and the spouse's
  eligible dependent children have.
                                                      qualifying Events
  You are eligible for COBRA coverage only if a qualifying event occurs that results in the loss of active coverage for you
  or for your covered dependents. If you are an employee, you become a qualified beneficiary if you lose your Plan
  coverage because of either one of these qualifying events:
      •   Your hours of employment are reduced, or
      •   Your employment ends for any reason other than your gross misconduct.
  Your covered spouse becomes a qualified beneficiary if you lose your Plan coverage because of any of these qualifying
  events:
      •   You die;
      •   Your hours of employment are reduced;
      •   Your employment ends for any reason other than your gross misconduct;
      •   You become enrolled in Medicare (Part A, Part B or both);
      •   You become divorced or legally separated from your spouse; or
      •   Your marriage is annulled.
  Your covered dependent child becomes a qualified beneficiary if he or she loses Plan coverage because of any of these
  qualifying events:
      •   You die;
      •   Your hours of employment are reduced;
      •   Your employment ends for any reason other than your gross misconduct;
      •   You become enrolled in Medicare (Part A, Part B, or both);
      •   You become divorced or legally separated; or
      •   The child stops being an eligible dependent.
  Notices About Qualifying Events
  The Plan offers COBRA coverage to qualified beneficiaries only after the Your Cigna Life Service Center has been
  notified that a qualifying event has occurred.
  Your employer notifies the plan administrator or Your Cigna Life Service Center if the qualifying event is the
  termination of your employment; reduction of your hours of employment; or your death. The employer must provide
  notice of the qualifying event within 30 days of the event.
  You must notify the Your Cigna Life Service Center about any other qualifying events (your divorce or legal separation or
  when a child stops being an eligible dependent). To qualify for COBRA continuation, you must provide the notice
  within 60 days after the later of the qualifying event or when you would lose coverage as a result of the qualifying event.
  If you do not record these qualifying events within the appropriate 60-day period, COBRA coverage will not be available.
  You may provide this notice by going to the Life Events section of the Your Cigna Life website (Self Service>Employee
  Self Service >Life Events) if the notice is within 30 days after the qualifying event. You may also send your notice of a

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  qualifying event to the Your Cigna Life Service Center by fax to 855.674.5282, by email to
  YCLServiceCenter@Cigna.com or by mailing a hard copy to the following address:
                  Post Office Box 62825
                  Phoenix, AZ 85082
                                                      tiecting COBRA
  Once the Your Cigna Life Service Center receives notice that a qualifying event has occurred, COBRA coverage is
  offered to each qualified beneficiary, who has a right to elect COBRA coverage independently of other qualified
  beneficiaries. The Plan's COBRA Administrator will issue a COBRA election notice, which will list the individuals who
  are eligible for COBRA coverage and inform you of the applicable premium. As an employee, you may elect COBRA
  coverage on behalf of your spouse, and you or your spouse may elect COBRA coverage on behalf of your children. You
  must notify the Plan's COBRA Administrator of your election no later than the due date stated on the COBRA election
  notice by following the procedures specified on the election form.
  COBRA Premiums
  If you elect continuation coverage, you do not have to send any payment with the election form. However, you must
  make your first payment for continuation coverage not later than 45 days after the date of your election. If you do not
  make your first payment in full by that date, you will lose your right to COBRA coverage under the Plan.
  After you make your first payment for COBRA coverage, you must then make subsequent payments each month of the
  required premium for each additional month of coverage. More details on the required premium amount and payment
  deadlines will be provided in your COBRA election notice.
                                               1p    The C           el-10

  COBRA coverage is a temporary continuation of coverage. If it is elected, COBRA coverage begins on the date that Plan
  coverage would otherwise have been lost.
  The maximum COBRA Period is 36 months if the qualifying event is the death of the employee, enrollment of the
  employee in Medicare (Part A, Part B, or both), your divorce or legal separation, the dissolution of your partnership, or
  when a covered dependent child stops being an eligible dependent.
  The maximum COBRA period is 18 months if the qualifying event is the termination of your employment with Cigna for
  reasons other than gross misconduct, as defined by Cigna or the reduction of your work hours. However, if you become
  entitled to (enroll in) Medicare less than 18 months before your termination or reduction in hours, the maximum COBRA
  period for your qualified beneficiaries ends 36 months after the date you became entitled to Medicare. For example, if
  you become entitled to Medicare 8 months before your employment terminates, COBRA coverage for your spouse and
  children can last up to 36 months after the date of Medicare entitlement, or 28 months after your termination date.
                                         Extension of the 18-Month COBRA Period
  There are several ways in which the 18-month COBRA period described above can be extended. In all of these cases, you
  must notify the Plan's COBRA Administrator about the second qualifying event within 60 days after it happens. Send the
  notice to:
  CONEXIS
  P.O. Box 223684
  Dallas, TX 75222-3684
  Include with the notice copies of documents that prove the second qualifying event actually happened.
  Disability Extension
  If the Social Security Administration determines that you or one of your qualified beneficiaries is disabled before the
  qualifying event or at any time during the first 60 days of COBRA coverage and you notify the Plan's COBRA

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  Administrator in a timely fashion as described in the preceding paragraph, you and each of your qualified beneficiaries
  who has elected continuation coverage can receive up to an additional 11 months of COBRA coverage, for a total
  maximum of 29 months.
  The disability must start before the 60th day of your initial COBRA period and last at least until the end of the initial 18-
  month COBRA period. If you or the qualified beneficiary is determined by the Social Security Administration to no
  longer be disabled, you must notify the Plan's COBRA Administrator of that fact within 30 days after the determination.
  The Plan provides the longer period of COBRA coverage only if the Social Security Administration sends you a notice
  confirming your disability before the end of the 18th month of your COBRA coverage and confirms the disability onset
  was no later than the 61st day of COBRA coverage. The notification from the Social Security Administration must be
  sent to the Plan's COBRA Administrator no more than 60 days after the latest of any one of the following events:
      •   The date of the notice from the Social Security Administration;
      •   The date of the qualifying event;
      •   The date that benefits are terminated; or
      •   The date on which the qualified beneficiary is informed, through the Plan's SPD or the general COBRA notice, of
          his or her obligation to provide notice, and the procedures for providing such notice.
  Second Qualifying Event Extension
  If your family experiences another qualifying event during the initial 18-month period of COBRA coverage, your spouse
  and covered dependent children can receive up to 18 additional months of COBRA coverage (for a maximum of 36
  months after the initial qualifying event). This extension is available to:
      •   Your spouse and covered dependent children if you die, enroll in Medicare (Part A, Part B, or both), get
          divorced or legally separated, have a dissolution of your partnership, or your employment with Cigna ends for
          any reason; and
      •   Your child if he or she stops qualifying as an eligible dependent.
  The extended COBRA period is available only if the new qualifying event would have caused your spouse or child to lose
  coveraae under the Plan if the first event had not occurred.
                    Terminating CORN?► Coverage Beforei!the End of theiMxi 'OM COBRAjp0000
  COBRA coverage will be terminated before the end of the maximum period if:
      •   Any required premium is not paid in full on time or within the grace period required by COBRA;
      •   A qualified beneficiary begins coverage under another group health plan after electing COBRA coverage (as long
          as that plan doesn't impose an exclusion or limitation with respect to a preexisting condition of the qualified
          beneficiary-if there is such an exclusion or limitation, COBRA coverage does not end for this reason until the
          exclusion or limitation no longer applies);
      •   A qualified beneficiary enrolls in Medicare (Part A, Part B, or both) after electing continuation coverage;
      •   Cigna ceases to offer the plan in which you are enrolled. However, COBRA coverage may be available under
          other Cigna plans. If all Cigna plans are terminated, all COBRA coverage is also terminated; or
      •   A qualified beneficiary engages in conduct that would justify the Plan in terminating coverage of a similarly
          situated participant or beneficiary not receiving continuation coverage (such as fraud).
                                          When COBRA Coxerage Endstineralli$,
  COBRA coverage ends on the date any one of the following events occur, whichever comes first:
      •   The date the maximum COBRA coverage period ends.

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      •   A special rule applies to the extra 11 months of COBRA coverage in the event that you are disabled. This
          coverage ends on the last date for which a premium was paid in the month that starts more than 30 days after the
          Social Security Administration finds that you are no longer disabled. You must inform the COBRA
          Administrator no more than 30 days after the latter of either the finding that you are no longer disabled or the date
          on which the qualified beneficiary is informed of his or her obligation to provide notice through the Plan's SPD or
          the general COBRA notice, and the procedures for providing such notice. All other rules still apply.
      •   If you added dependents to your COBRA coverage who are not also qualified enrollees, coverage for those
          dependents ends on the date your coverage ends.
                         ',;;a ffect of COBRA Election OIEWOut4Olkhts Under OtherVedei-AL a
  You should take into account that you have special enrollment rights under federal law. You have the right to request
  special enrollment in another group health plan for which you are otherwise eligible (such as a plan sponsored by your
  spouse's employer) within 30 days after your group health coverage ends because of a qualifying event. You will also
  have the same special enrollment right at the end of COBRA coverage if you get COBRA coverage for the maximum time
  available to you. You may also have other health coverage options available to you through the Health Insurance
  Marketplace. Visit www.healthcare.gov for further information.
                                           If You HAVQuestions About COBRA 'in
  If you have questions about your COBRA coverage, contact the Plan's COBRA Administrator or the nearest Regional or
  District Office of the U.S. Department of Labor's Employee Benefits Security Administration (EBSA). Addresses and
  phone numbers of Regional and District. EBSA Offices are available through EBSA's website at WW W. do1.2oviebsa.
                                     odKeppNoti              rmed of Address Changes
  In order to protect your family's COBRA rights, you should notify the Your Cigna Life Service Center about any changes
  in address for you or any of your covered dependents. You should also keep a copy, for your records, of any notices you
  send to the Your Cigna Life Service Center.




  For Eligibility/Election Issues:
  If you have a problem with or disagree with a decision about any COBRA eligibility or election issue, you may start the
  appeal process by filing a formal appeal with the Plan's COBRA Administrator at:
  CONEXIS
  P.O. Box 223684
  Dallas, TX 75222-3684
  The eligibility/election appeal process described above under the heading "Eligibility/Election Issues" applies except that
  the COBRA Administrator, rather than the Your Cigna Life Service Center, will handle your appeal.
  If you believe that your right to enroll in COBRA coverage should not have been terminated, you may request that the
  decision be reconsidered by filing an eligibility/election issue appeal. In your appeal request, please explain why you
  believe that your right to COBRA coverage during the initial enrollment period was improperly terminated, including all
  information that you wish to be reviewed. Be sure to include your name, current address, and the names of other covered
  individuals that you wish to include in your appeal.
  For Coverage/Benefits Issues:
  The coverage/benefits appeals process described above under the heading "Coverage/Benefits Issues" applies.



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  HIPAA"PtititAin
  In administering the Cigna Medical Plan, the Plan and the claims administrator may come into contact with what is
  considered "protected health information" (PHI) under the Health Insurance Portability and Accountability Act (HIPAA).
  The Plan and the claims administrator are permitted to disclose PHI to Cigna to enable Cigna to carry out plan
  administration functions or as otherwise permitted by the Standard for Privacy of Individually Identifiable Health
  Information, and in accordance with the following HIPAA privacy protection provisions.
  Permitted Uses and Disclosures of PHI by Cigna Corporation
  The Plan may only disclose PHI to Cigna Corporation, as sponsor of the Plan, to enable it to carry out plan
  administration functions or as otherwise permitted by the Standards for Privacy of Individually Identifiable
  Health Information (HIPAA Privacy Rule) and HIPAA Security Standards (HIPAA Security Rule), found at 45
  CFR Parts 160-164 (collectively HIPAA Privacy and Security Rule). Only persons involved with plan
  administration functions of the Plan may have access to any information disclosed under these HIPAA privacy
  protection provisions. If the persons to whom information is disclosed violate these privacy protection
  provisions or applicable law, violations may be treated as misconduct under Cigna Corporation's policies and
  procedures related to employees or a breach of contract in situations involving contracts with third parties.
  Cigna Corporation shall take appropriate action, up to and including terminating the employment of the
  employee who commits the violation or terminating the contract with the third party that commits the breach, as
  applicable.
  Cigna Corporation may perform its obligations under these HIPAA privacy protection provisions by members
  of its workforce or those of its subsidiaries and affiliates, or through contractual arrangements with third parties.
  All such arrangements shall comply with the applicable requirements of these HIPAA privacy protection
  provisions and the HIPAA Privacy and Security Rule.
  Unless otherwise indicated, any definitions under these HIPAA privacy protection provisions shall have the
  meaning given them under the HIPAA Privacy and Security Rule.
  Privacy Requirements
     •   Further Disclosure. Cigna Corporation agrees not to use or further disclose the information obtained under these
         HIPAA privacy protection provisions other than as permitted or required by the Plan document, or as required by
         law.
     •   Agents. Cigna Corporation will require that any agents, including any subcontractors, to whom it provides PHI
         received under these HIPAA privacy protection provisions agree to the same restrictions and conditions that apply
         to Cigna Corporation with respect to such information.
     •   Employment Actions. Cigna Corporation agrees not to use or disclose any information received under these
         HIPAA privacy protection provisions for employment-related actions and decisions, or in connection with any
         other benefit or employee benefit plan sponsored by Cigna Corporation.
     •   Duty to Report. Cigna Corporation will report to the Plan any use or disclosure of information that is inconsistent
         with the uses or disclosures provided for under these HIPAA privacy protection provisions of which it becomes
         aware.
     •   Access. Cigna Corporation will make available any information it holds under these HIPAA privacy protection
         provisions in order for the Plan to comply with the access requirements under the HIPAA Privacy Rule.
     •   Amendment. Cigna Corporation will make available any information it holds under these HIPAA privacy
         protection provisions in order for the Plan to comply with the amendment requirements under the HIPAA Privacy
         Rule, and will incorporate any amendments to PHI it holds, as required under the HIPAA Privacy Rule.



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      •   Accounting. Cigna Corporation agrees to document and provide a description of any disclosures of protected
          health information, and information related to such disclosures, as would be required for the Plan to respond to a
          request by an individual for an accounting of disclosures of PHI in accordance with the HIPAA Privacy Rule.
      •   Internal Books. Cigna Corporation agrees to make its internal practices, books, and records relating to the use and
          disclosure of PHI received from the Plan available to the Secretary of Health and Human Services, for purposes of
          the Secretary determining the Plan's compliance with the HIPAA Privacy Rule.
      •   Return of Information. Cigna Corporation will, if feasible, return or destroy all PHI received from the Plan that it
          maintains in any form, and retain no copies of such information, when it is no longer needed for the purpose for
          which the disclosure was made, except that, if such return or destruction is not feasible, Cigna Corporation will
          limit further uses or disclosures of the information to those purposes that make the return or destruction of the
          information not feasible.
      •   Adequate Separation. Cigna Corporation will establish adequate separation between it and the Plan, as required
          under the HIPAA Privacy Rule. Cigna Corporation will limit access to PHI to those employees or classes of
          employees entitled to use or disclose such information and will require that these employees only may use or
          disclose such information for plan administration functions.
      •   Noncompliance. Cigna Corporation will resolve issues of noncompliance with the terms of these HIPAA privacy
          protection provisions by persons entitled to use or disclose PHI in a timely manner.
  HIPAA Security Standards
      •   Safeguards. Cigna Corporation will implement administrative, physical, and technical safeguards that reasonably
          and appropriately protect the confidentiality, integrity, and availability of the electronic PHI, as defined in the
          HIPAA Security Rule, that it creates, receives, maintains, or transmits on behalf of the Plan, as required in the
          HIPAA Security Rule.
      •   Agents. Cigna Corporation will ensure that any agent, including a subcontractor, to whom it provides electronic
          PHI agrees to implement reasonable and appropriate safeguards to protect such information.
      •   Security Incidents. Cigna Corporation will report to the Plan any security incident under the HIPAA Security
          Rule of which it becomes aware.
      •   Adequate Separation. Cigna Corporation will establish reasonable and appropriate security measures to ensure
          adequate separation between it and the Plan, in support of the requirements described in these HIPAA privacy
          protection provisions.
  Cigna and the plan administrator have also taken specific steps to protect and limit access to PHI. For example, Cigna
  has:
      •   Designated a Privacy Officer;
      •   Developed privacy policies and procedures, including a sanctions policy that applies to employees and business
          partners who violate privacy policies;
      •   Implemented safeguards to protect against improper disclosure of PHI;
      •   Provided a complaint resolution process; and
      •   Entered into agreements requiring its business associates to safeguard PHI.
  As part of the compliance efforts, a HIPAA Notice of Privacy Practices is provided to employees. To receive another
  copy of the privacy notice, please consult the Appendix to this SPD, go to the Your Cigna Life website or contact the Your
  Cigna Life Service Center at 1.800.551.3539.




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  See "WHO TO CONIACI ,"page2
                                              Plan Atituinistration !Obi-mat
  Name of Plan:                            Cigna Medical Plan
  Plan Number                              520
  Plan Type                                Group Health Plan
  Type of Administration                   Self-funded; third-party administration (see below)
  Plan Administrator                       Office of the Plan Administrator
                                           Cigna Corporation
                                           Two Liberty Place, TLO5T
                                           1601 Chestnut Street
                                           Philadelphia, PA 19192
                                           215.761.2563
  Claims Administrator                     Cigna Health and Life Insurance Company (CHLIC)
                                           900 Cottage Grove Road
                                           Bloomfield, CT 06002

                                           Send all claims correspondence to:
                                           Cigna HealthCare
                                           P.O. Box 182223
                                           Nashville, TN 37422-7223
  Agent for Service of Legal Process
                                           Office of Corporate Secretary
                                           Cigna Companies
                                           Two Liberty Place, TL160
                                           1601 Chestnut Street
                                           Philadelphia, PA 19192
                                           Process may also be served on the plan administrator.
  Plan Year                                January 1 to December 31
  Plan Sponsor                             Cigna Corporation, Tax ID Number XX-XXXXXXX
  The Cigna Medical Plan is self-insured. All valid claims and fees are paid through CHLIC and are funded by employee
  pre-tax contributions (except in Puerto Rico) and Cigna contributions paid from its general asseis.
                                Discretionot PlanAdmijiqtratorand Claim A mi is trator
  The plan administrator (or its delegate(s)) shall have complete discretion to interpret and construe die provisions of the
  plans, programs and policies described in this SPD, to determine benefit eligibility for participation and for benefits, make
  findings of fact, correct errors and supply omissions. All decisions and interpretations of the plan administrator (or its
  delegate(s)) made pursuant to the plans, programs and policies described in this SPD shall be fmal, conclusive and
  binding on all persons and may not be overturned unless found by a court to be arbitrary and capricious. The plan
  administrator may delegate this discretionary authority to selected service providers.
  CHLIC, the claims administrator, has the sole discretion to determine whether the Plan provides coverage for any
  covered person's particular health care situation and the level or amount of any benefit to which he or she might be


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  entitled, as well as to interpret any of the Plan's provisions, including ambiguous and disputed terms and to make any
  related factual determinations. The claims administrator's determinations and interpretations on these issues are final
  and binding on all parties.
  No manager or Human Resources representative is authorized to waive requirements of the Plan, to interpret any
  Plan terms, to grant any exceptions to any Plan provisions or to contract with employees to provide benefits
  beyond those described in this SPD.
                                                                    ihett
  Cigna Corporation currently expects to continue the Cigna Medical Plan indefinitely but reserves the right to modify,
  suspend, or terminate the Plan, and Plan options, or any networks at any time. As a result of any such change, your
  coverage, payroll costs and benefits may be changed or your Plan coverage may be terminated.
  Any change in or termination of the Cigna Medical Plan will not affect any covered person's rights as to covered
  expenses he or she incurs while the Plan is still in effect.
                                                      Plan Amendments
  Neither the Plan nor the benefits described in this document can be orally amended. All oral statements and
  representations shall be without force or effect even if such statements and representations are made by the plan
  administrator, by any delegate of the plan administrator, or by Cigna management.
  The Plan may be amended at any time by a writing signed by any duly authorized officer of Cigna Corporation or his
  authorized designee.
                                                      ERISA Statements
  As a participant in the Cigna Medical Plan, you are entitled to certain rights and protection under ERISA. ERISA
  provides that all plan participants shall be entitled to:
  Receive Information about Your Plan and Benefits
      •   Examine, without charge at the plan administrator's office in Philadelphia during normal working hours, all
          documents governing the Plan and a copy of the latest annual report (Form 5500) filed by the Plan with the U.S.
          Department of Labor and available at the Public Disclosure Room of the Employee Benefit Security
          Administration.
      •   Obtain, upon written or electronic mail request to the plan administrator, copies of documents governing the
          operation of the Plan and copies of the latest annual report (Forni 5500) and updated summary plan description.
          The plan administrator may make a reasonable charge for copies.
      •   Receive a summary of the Plan's annual financial report. The plan administrator is required by law to furnish
          each participant with a copy of this summary annual report.
  Continue Group Health Plan Coverage
  Continue health care coverage for yourself, spouse or dependents if there is a loss of coverage under the Plan as a result of
  a qualifying event. You or your dependents may have to pay for such coverage. Review this summary plan description
  and the documents governing the Plan on the rules governing your COBRA continuation coverage rights.
  Prudent Action by Plan Fiduciaries
  In addition to creating rights for plan participants, ERISA imposes duties on the people responsible for the operation of
  the employee benefit plan. The people who operate your Plan, called "fiduciaries" of the Plan, have a duty to do so
  prudently and in the interest of you and other Plan participants and beneficiaries. No one, including your employer or any
  other person, may fire you or otherwise discriminate against you in any way to prevent you from obtaining a benefit or
  exercising your rights under ERISA.



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  Enforce Your Rights
  If your claim for a Plan benefit is denied or ignored, you have a right to know why this was done, to obtain copies of
  documents relating to the decision, without charge, and to appeal any denial, all within certain time schedules.
  Under ERISA, there are steps you can take to enforce the above rights. For instance, if you request a copy of Plan
  documents or the latest annual report from the plan administrator and do not receive them within 30 days, you may file
  suit in a Federal court. In such a case, the court may require the plan administrator to provide the materials and pay you
  up to $110 a day until you receive the materials, unless the materials were not sent because of reasons beyond the control
  of the plan administrator.
  If you have a claim for benefits that has been denied or ignored, in whole or part, you may file suit in a state or federal
  court.
  In addition, if you disagree with the Plan's decision or lack of a decision concerning a medical child support order, you
  may file suit in Federal court.
  If it should happen that Plan fiduciaries misuse the Plan's money, or if you are discriminated against for asserting your
  rights, you may seek assistance from the U.S. Department of Labor, or you may file suit in a Federal court.
  The court will decide who should pay court costs and legal fees. If you are successful, the court may order the person you
  have sued to pay these costs and fees. If you lose, the court may order you to pay these costs and fees, for example, if it
  finds your claim is frivolous.
  Assistance with Your Questions
  If you have any questions about the Plan, you should contact the plan administrator. If you have any questions about
  this statement or about your rights under ERISA, or if you need assistance in obtaining documents from the plan
  administrator, you should contact the nearest office of the Employee Benefits Security Administration, U.S. Department
  of Labor, listed in your telephone directory or the:
  Division of Technical Assistance and Inquiries
  Employee Benefits Security Administration
  U.S. Department of Labor
  200 Constitution Avenue, N.W.
  Washington, D.C. 20210
  You may also obtain certain publications about your rights and responsibilities under ERISA by calling the publications
  hotline of the Employee Benefits Security Administration.
                                                   Other               Niiiiies
  The Appendix section contains other important notices about the Plan and your legal rights under the Plan. The Appendix
  is part of this SPD and you should review it carefully.




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  CLOSSAItY
  Here are definitions of some important terms. The definitions are an integral part of the Cigna Medical Plan provisions.
  These terms appear in bold type in the rest of the SPD.
  Affidavit of Domestic Partnership     The formal written statement used to notify Cigna that you have a domestic
  partner. The affidavit must be sworn and signed in the presence of a notary. It is available on the Your• Cigna Life
  website under Self Service>Forms/Tools & Resources>Dornestic Partner Resources.
  bed and board       all charges made by a hospital on its own behalf for room and meals and for all general services and
  activities needed for the care of registered bed patients.
  Center of Excellence       A hospital that, as determined by Cigna Healthcare has achieved the highest scores for patient
  outcomes and cost efficiency in treating selected procedures/conditions in the clinical categories of cardiac,
  gastroenterology, general surgery, neurologic, obstetrics, orthopedics and respiratory. Centers of Excellence are
  identified in the health care professional directory.
  Cigna    Any corporation or other business entity that is owned by Cigna Corporation and that participates in the Cigna
  Medical Plan. As of January 1, 2016, the companies listed here are eligible to participate in the Cigna Medical Plan.
  Bravo Health Mid-Atlantic, Inc.                                Cigna Life Insurance Company of New York
  Bravo Health Pennsylvania, Inc.                                GulfQuest, LP
  Cigna Behavioral Health, Inc.                                  HealthSpring Inc.
  Cigna Behavioral Health of California, Inc.                    HealthSpring Management of America, LLC
  Cigna Corporation                                              HealthSpring USA, LLC
  Cigna Dental Health, Inc.                                      Life Insurance Company of North America
  Cigna Dental Health of California, Inc.                        NewQuest, LLC
  Cigna Dental Health of Florida, Inc.                           NewQuest, Management Northeast, LLC (known as Bravo
                                                                 Health, LLC through February 3, 2015)
  Cigna Health and Life Insurance Company
                                                                 NewQuest Management of Alabama, LLC
  Cigna Health Management, Inc.
                                                                 NewQuest. Management of Florida, LLC
  Cigna HealthCare of Arizona, Inc.
                                                                 NewQuest Management of Illinois, LLC
  Cigna HealthCare of California, Inc.
                                                                 Tel-Drug, Inc.
  Cigna HealthCare of North Carolina, Inc.
                                                                 Tel-Drug of Pennsylvania, LLC
  Cigna Holdings, Inc.
  Cigna International Services, Inc.



  Cigna company or companies—Refers collectively to Cigna Corporation and any subsidiary or affiliate in which Cigna
  Corporation owns directly or indirectly at least an 80-percent interest.
  Cigna HealthCare            The division or group that is responsible for medical management.
  civil union    A formal relationship legally-recognized in some states, but not under federal law, that gives same-gender
  couples rights and responsibilities similar to those of a marriage. State law imposes requirements and conditions that you
  must meet to have a valid civil union.
  claims administrator     Means the entity described in the "Administrative Information" section of this SPD, who is
  appointed to administer benefits described in this SPD, including initial and/or appeals claims determinations.
  coinsurance     The part of the cost of medical services that you must pay, usually stated as a percent of the amount
  charged by a health care professional or health care facility. See the charts in Appendix I.

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  cosmetic therapy or surgery — Therapy or surgery performed to improve or change appearance or self-esteem or to treat
  symptomatology or psychosocial complaints related to one's appearance.
  covered dependent       An eligible dependent you elect to cover under the Plan.
  covered expenses       Expenses you incur for services and supplies that, as described in this SPD, are covered by the Plan.
  covered services     Services that, as described in this SPD, are considered eligible under the Plan.
  custodial services     Services that are of a sheltering, protective, or safeguarding nature, primarily to help the person in
  daily living. These services may include a stay in an institutional setting, at-home care, or nursing services to care for
  someone because of age or mental or physical condition. Custodial care can also provide medical services, given mainly
  to maintain the person's current state of health. These services cannot be intended to greatly improve a medical condition;
  they are intended to provide care while the patient cannot care for himself or herself. Custodial services include, but are
  not limited to:
      •   Services related to watching or protecting a person;
      •   Services related to performing or assisting a person in performing any activities of daily living, such as walking,
          grooming, bathing, dressing, getting in or out of bed, toileting, eating, preparing foods, or taking medications that
          can be self administered, and
      •   Services not required to be performed by trained or skilled medical or paramedical personnel.
  custodian — means the custodian of your health savings account under an HSA option. The current custodian is HSA
  Bank.
  deductible     The dollar amount you must pay out-of-pocket (that is, with your money) before the Plan begins to
  reimburse you for covered expenses. When you cover family members, the deductible amount is collective. That is, you
  will pay out-of-pocket for yourself and all covered family members until you reach the designated amount.
  domestic partner       A person in a relationship with a Cigna employee that meets the following conditions:
      •   For at least twelve months, you have shared the same principal residence in an intimate, committed relationship of
          mutual caring and intend to do so indefinitely;
      •   Each of you agree to be responsible for the other's basic living expenses during the domestic partnership, and
          agree that anyone who is owed these expenses can collect from either of you;
      •   You are both at least 18 years old and mentally competent to enter binding legal contracts;
      •   Neither of you is married to anyone, and you are not so closely related by blood that a legal marriage between you
          would be prohibited for that reason in your state of residence;
      •   Neither of you has a different domestic partner at the time; and
      •   Neither of you had a different domestic partner during the last twelve months.
  The employee and his/her domestic partner must also have on file with Cigna a valid Affidavit of Domestic
  Partnership.
  drug list    A listing of approved prescription drugs and related supplies that arc covered by the Plan.
  eligible dependent      The following persons qualify as an eligible dependent of a regular employee:
      •   Your spouse.
      •   Your partner.
      •   Your child natural or legally adopted, a child placed with you for adoption, your stepchild (that is, the natural
          or legally-adopted child of your current spouse), the natural or legally-adopted child of your partner, or a child
          for whom you are the legal guardian (by court or testamentary appointment), but only if the child is under age 26.

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      •   A person who meets all the above requirements to be an eligible dependent child except that the person has
          passed his/her 26th birthday, but only if the person:
          •   Is physically or mentally handicapped and incapable of attending school or engaging in self-sustaining
              employment prior to the date he/she became eligible for coverage under the Plan; and
          •   Before reaching age 26, was continuously covered in a Cigna company sponsored Medical Plan or in another
              employer-sponsored group health plan prior to enrollment in the Cigna Medical Plan.
      •   A child under age 26 for whom you are legally required to provide health care under a divorce decree or
          QMCSO.
  You must provide the plan administrator with documented proof (such as copies of official court documents) as
  evidence of a legal adoption or guardianship or the placement with you of a child for adoption. A child who is placed
  with you for adoption will become your eligible dependent when you become legally obligated to support the child
  even if that is before you formally adopt the child.
  The plan administrator has the right to require proof from you at any time of the eligibility of anyone you claim as an
  eligible dependent. If you do not submit the required proof, Plan coverage for the person you claim as a dependent will
  be terminated.
  If there is evidence that you intentionally claim as your eligible dependent a person who does not qualify, you may be
  subject to disciplinary action, up to and including the termination of your Cigna employment, as well as possible legal
  action.
  emergency medical condition — A medical condition involving acute symptoms (including severe pain) that are severe
  enough so a prudent layperson, with average knowledge of health and medicine, could reasonably expect that lack of
  immediate medical attention will result in:
      •   Placing the person's health (or, for a pregnant woman, the health of the woman or her unborn child) in serious
          jeopardy;
      •   Serious impairment to bodily functions; or
      •   Serious dysfunction of any body organ or part.
  emergency services      For someone with an emergency medical condition, emergency services are:
      •   A medical screening examination that is within the capability of the emergency department of a hospital,
          including related services routinely available to the emergency department to evaluate the medical condition; and
      •   Such further medical examination and treatment, to the extent they are within the capabilities of the staff and
          facilities available at the hospital, to stabilize the patient.
  ERISA       The Employee Retirement Income Security Act of 1974, as amended.
  FMLA leave      A leave of absence under the Family and Medical Leave Act. See Family & Medical Leave on the Your
  Cigna Life website (go to Returns & Rewards>Time Away from Work->Family & Medical Leave (FMLA)).
  free-standing surgical facility — An institution which meets all of the following requirements:
      •   It has a medical staff of physicians, nurses and licensed anesthesiologists;
      •   It maintains at least two operating rooms and one recovery room;
      •   It maintains diagnostic laboratory and x-ray facilities;
      •   It has equipment for emergency care;
      •   It has blood supplies;


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      •   It maintains medical records;
      •   It has agreements with hospitals for immediate acceptance of patients who need to be hospitalized on an inpatient
          basis; and
          •   It is licensed in accordance with applicable law.
  HDHP — A health plan that meets the requirements to qualify as a high deductible health plan under Code section 223.
  health assessment       The confidential, online health questionnaire on www.myCigna. corn that provides an evaluation of
  an individual's health risks and offers recommendations for reducing those risks through lifestyle changes.
  health screening — An evaluation of potential health risks. To qualify for the incentive, it must include the following:
      •   Height;
      •   Weight;
      •   Blood Pressure; and
      •   Total Cholesterol Level (if recommended by your physician).
  Healthy Life Personal Health Team — The personal coaching program designed to provide education and one-on-one
  support to help employees and their covered family members identify health risks, make behavioral changes and
  maximize the resources available to support them.
  HIPAA — The Health Insurance Portability and Accountability Act of 1996.
  hospice care program — A coordinated, interdisciplinary program for persons who have a terminal illness and for the
  families of those persons. This program provides palliative and supportive medical, nursing and other health services
  through home or inpatient care during the illness to meet the physical, psychological, spiritual and social needs of dying
  persons and their families.
  hospice care services     Any services provided under a hospice care program by a:
      •   Hospital;
      •   Skilled nursing facility or a similar institution;
      •   Home health care agency;
      •   Hospice facility; or
      •   Any other licensed facility or agency.
  hospice facility    An institution or a part of an institution that:
      •   Primarily provides care for patients with a terminal illness;
      •   Is accredited by the National Hospice Organization;
      •   Meets standards established by Cigna HealthCare; and
      •   Fulfills any licensing requirements of the state or locality in which it operates.
  hospital    One of the following institutions:
  An institution licensed as a hospital that:
      •   Maintains on its premises all facilities necessary for medical and surgical treatment;
      •   Provides that treatment on an inpatient basis, for compensation, under the supervision of physicians; and
      •   Provides 24-hour service by registered graduate nurses.


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  An institution that qualifies as a hospital, a psychiatric hospital or a tuberculosis hospital, and a provider of services
  under Medicare, if the institution is accredited as a hospital by the Joint Commission on the Accreditation of Healthcare
  Organizations; or an institution that:
      •   Specializes in treatment of mental illness, alcohol or drug abuse or other related illness;
      •   Provides residential treatment programs; and
      •   Is licensed in accordance with applicable law.
  The term hospital does not include an institution that is primarily a place for rest, a place for the aged, or a nursing home.
  legacy QAN1 employee — means an individual who was employed by QualCare Alliance Networks, Inc. or one of its
  subsidiaries as of January 3, 2016.
  life status change    A term defined in accordance with IRS rules as described in the "Events Affecting Your Plan
  Coverage, Eligibility or Costs" section of this SPD that describes when you may be permitted to change your elections
  under the Medical Plan other than during an annual enrollment period. You may make election changes if you have a life
  status change event and the benefit election change you want to make is consistent with your life status change event.
  maximum reimbursable charges — The maximum amount the Plan pays for out-of-network covered services. See
  discussion under the "Maximum Reimbursable Charges" for a discussion of how the maximum reimbursable charge for
  covered services is determined.
  medically necessary/medical necessity — Services or supplies that are determined by Cigna HealthCare to be:
      •   Required to diagnose or treat an illness, injury, disease or its symptoms;
      •   In accordance with generally accepted standards of medical practice;
      •   Clinically appropriate in terms of type, frequency, extent, site and duration;
      •   Not primarily for the convenience of the patient, physician or other health care provider; and
      •   Rendered in the least intensive setting that is appropriate for the delivery of the services and supplies. Where
          applicable, Cigna HealthCare may compare the cost-effectiveness of alternative services, settings or supplies
          when determining least intensive setting.
  nurse — A registered graduate nurse, a licensed practical nurse or a licensed vocational nurse who has the right to use
  the abbreviation "R.N.," "L.P.N." or "L.V.N."
  other health care facility       A licensed facility other than a hospital or hospice facility. Examples of other health
  care facilities include, but are not limited to, licensed skilled nursing facilities, rehabilitation hospitals and subacute
  facilities.

  other health care professional — An individual other than a physician who is licensed or otherwise authorized under
  applicable state law to deliver medical services and supplies. Other health care professionals include, but are not limited
  to, physical therapists, registered nurses, licensed practical nurses, registered dietitians and licensed acupuncturists.

  out-of-pocket maximum — The total amount you must pay out-of-pocket for covered expenses in any calendar year.
  Once you reach your out-of-pocket maximum, the Cigna Medical Plan pays most covered expenses at 100% of the in-
  network contracted amount or maximum reimbursable charges in the case of out-of network care for the remainder of
  the calendar year. When you cover family members, the out-of-pocket maximum for the family is collective except that
  the individual in-network out-of-pocket maximum applies to each family member. That is, all of what you pay out-of-
  pocket for covered expenses for yourself and all covered dependents counts toward meeting the family out-of-pocket
  maximum and all of what each family member pays out-of-pocket for in-network covered expenses counts toward that
  family member meeting the individual out-of-pocket maximum. Once the family out-of-pocket maximum is met for all
  of you, the Cigna Medical Plan will then begin paying you and your covered dependent's covered expenses at 100% for

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  the remainder of the calendar year, and once a family member reaches the individual in-network out-of-pocket
  maximum, the Cigna Medical Plan will begin paying that family member's covered expenses at 100°/0 for the remainder
  of the calendar year, regardless of whether the family out-of-pocket maximum is met.
  P&T Committee — The pharmacy and therapeutics committee of in-network health care professionals and Cigna
  HealthCare medical and pharmacy directors which regularly reviews prescription drugs and related supplies for safety
  and efficacy, evaluates prescription drugs and related supplies for potential addition to or deletion from the drug list and
  may also set dosage and/or dispensing limits.
  partner     A person with whom a regular employee has a domestic partner arrangement or civil union that is legally
  recognized in the state in which the employee resides.
  partnership — A domestic partnership arrangement or civil union that is legally recognized in the state in which the
  employee resides.
  payroll cost        Your share of the annual cost for Plan coverage that you pay through payroll deduction contributions or
  direct billing.
  pharmacy — A licensed establishment where a pharmacist dispenses prescription drugs.
  physician — A licensed medical practitioner who is (a) licensed to prescribe and administer drugs or to perform surgery
  and (b) practicing within the scope of his or her license. Also, any other licensed medical practitioner whose services are
  required to be covered by applicable law if he or she is:
      •    Operating within the scope of his or her license; and
      •    Performing a service which, when performed by a physician, is a covered service under the Cigna Medical Plan.
  Plan — The Cigna Medical Plan and, where indicated, the HSA medical coverage options.
  plan administrator —The person or entity described in the "Administrative Information" section of this SPD.
  plan sponsor —The entity described in the "Administrative Information" section of this SPD.
  plan year         The calendar year. That is, the 12-month period beginning January 1 and ending December 31.
  pre-tax contributions     Contributions deducted from your wages before federal, Social Security, and in most cases,
  state and local income taxes have been withheld.
  preventive generic drugs —A designated group of generic drugs that may keep a disease from manifesting in an
  individual who has developed risk factors or stop the recurrence of a disease in an individual who has a history of that
  condition.
  primary care physician      A doctor in general or family practice, internal medicine or pediatrics whom you choose to
  provide or arrange for medical care for you or any of your covered dependents.
  psychologist     A person who is licensed or certified as a clinical psychologist. Where no license or certification exists,
  "psychologist" means a person who is considered qualified as a clinical psychologist by a recognized psychological
  association. It will also include any other licensed counseling practitioner whose services are required to be covered by
  applicable law, to the extent he or she is operating within the scope of his or her license; and performing a service for
  which benefits are provided under the Cigna Medical Plan when performed by a psychologist.
  QMCSO        A Qualified Medical Child Support Order — that is, a judgment, decree or court order that provides for health
  coverage for a child of an employee who participates in the Cigna Medical Plan. To be a QMCSO, the order must:
      •    Specify the employee's name and last known address, and the child's name and last known address;
      •    Provide a description of the coverage to be provided, or the manner in which the type of coverage is to be
           determined;
      •    State the time period to which it applies; and

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      •   Specify each plan to which it applies.
  The QMCSO may not require the Cigna Medical Plan to provide coverage for any type or form of benefit that the Plan
  does not otherwise provide.
  regular employee       A person who meets these three conditions and is not in any of the excluded categories described
  below:
      •   Employed by Cigna;
      •   Works in the United States, the District of Columbia, Puerto Rico, Guam or the Virgin Islands or is designated by
          the plan administrator as an eligible U.S. expatriate; and
      •   Is classified in Cigna personnel records as a regular full-time employee or a regular part-time employee (for
          employees hired before January 1, 2014, a regular part-time employee is generally someone who is regularly
          scheduled to work at least 24 hours a week as of December 31, 2014; for employees hired or rehired on or after
          January 1, 2014 a regular part-time employee is generally someone who is regularly scheduled to work at least 28
          hours a week).
  The excluded categories are:
      •   Hourly, temporary, casual, and leased employees (whether or not within the meaning of Code section 414(n)),
          staffing or payroll agency employees, even if such persons are later determined by a court, regulatory body or
          administrative agency to be or have been common law employees of Cigna or any participating subsidiary;
      •   Interns;
      •   Employees who belong to a collective bargaining unit, unless the applicable collective bargaining agreement
          provides that unit members are eligible for specified benefit plans;
      •   Persons who are employed and paid by a company or organization not affiliated with Cigna but in some way
          perform work for Cigna under a contract or other business arrangement between Cigna and their employer;
      •   Persons who perform work for Cigna as independent contractors or consultants;
          •   Persons not classified as full-time employees or regular part-time employees in Cigna personnel records
              unless the Plan Administrator determines, in its sole discretion, that it is necessary for such person to be
              eligible for the Plan for Cigna to avoid penalties under Code section 4980H; and
      •   An individual on a temporary assignment to the US (as determined by the plan administrator in its sole
          discretion)
  The plan administrator has sole discretion to determine whether an employee is a regular employee. Cigna has not
  entered into an employment contract with any employee by adopting and maintaining these benefits. Nothing in the Plan
  documents or in this SPD gives any employee the right to be employed by Cigna or to interfere with Cigna's right to
  discharge any employee at any time.
  regular tobacco user — A person who has used any form of tobacco product (including cigarettes, clove cigarettes,
  cigars, pipe tobacco, smokeless tobacco, chewing tobacco or snuff) more than once a month during the 12-month period
  ending on the date an employee enrolls in the Medical Plan.
  skilled nursing facility    A licensed institution (other than a hospital) that specializes in:
      •   Physical rehabilitation on an inpatient basis; or
      •   Skilled nursing and medical care on an inpatient basis;
  but only if that institution: (a) maintains on the premises all facilities necessary for medical treatment; (b) provides such
  treatment, for compensation, under the supervision of a physician; and (c) provides nurse's services.


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  specialist — Any person or organization (licensed as necessary) with specialized medical training and experience that
  provides medical care in any generally accepted medical specialty or subspecialty.
  spouse     A person who is married to a Cigna employee, under the laws of any state, possession, or territory of the
  United States, but excluding a person who is legally separated.
  stabilize— To provide someone who has an emergency medical condition with the necessary medical treatment to
  assure, within reasonable medical probability, that no material deterioration of the condition is likely to result from, or
  occur during, the person's transfer from a facility.
  terminal illness —An illness in which a person becomes terminally ill with a prognosis of six months or less to live, as
  diagnosed by a physician.
  termination of employment date         The date your employment with a Cigna company officially ends (usually, your
  last day of work at Cigna).
  urgent care     Any medical, surgical, hospital or related health care services and testing which are not emergency
  services, but which are determined by the claims administrator, in accordance with generally accepted medical
  standards, to have been necessary to treat a condition requiring prompt medical attention. This does not include care that
  could have been foreseen before leaving the immediate area where you ordinarily receive and/or were scheduled to
  receive services including, but not limited to, dialysis, scheduled medical treatments or therapy, or care received after a
  physician's recommendation that you should not travel due to any medical condition.




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       Cigna
       PO Box 188061
         Chattanooga, TN 37422 - 8061
                                        #:48631
                                                                                                 Ire
                                                                                                Cigna.
        CIGNA HEALTH AND LIFT INSURANCE COMPANY


                                                                                                 Customer service
                                                                                                 Call the number on the back of your ID card or
                                                                                                 1-866-494-2111
                                                                                                 MyCigna.com
                                                                                                 If you have any questions about this document,
                                                                                                 please call Customer Service at the number
                                                                                                 above. Please have your claim number ready.

                                                                                                 Service dates
                                                                                                  April 12, 2019 - April 15, 2019

                                                                                                 Claim # / ID
       THIS IS NOT A BILL.                                                                       190844060700/ 103969079
       Your health care professional may bill you directly
       for any amount that you owe.                                                              Provider network status
                                                                                                 OUT OF NETWORK

                                                                                                 Account name / Account #


       Explanation of benefits
       for a claim received for                              Claim # 190844060700

       Patient's relationship to subscriber: Dependent
       Subscriber:

       Summary of a claim for services on April 12, 2019 - April 15, 2019
       for services provided by WOMANS RECOVERY CENTER.

       Amount Billed             $4,468.80      This was the amount that was billed for your visit on 04/12/2019 through 04/15/2019.


       Discount                                 You saved $3,682.20. Cigna negotiates discounts with health care professionals and facilities to
                                 $3,682.20      help you save money.


       What my Cigna                            Cigna paid $786.60 to WOMANS RECOVERY CENTER.
       plan paid                   $786.60

                                                This is the amount you owe after your discount, what your Cigna plan paid, and what your
       What I Owe                               accounts paid. People usually owe because they may have a deductible, have to pay a
                                        $0.00   percentage of the covered amount, or for care not covered by their plan. Any amount you paid
                                                when you received care may reduce the amount you owe.

                                                You saved $4,468.80 (or 100%) off the total amount billed. This is a total of your discount and
                                                what your Cigna plan paid.
       You saved
                                                To maximize your savings, visit MyCigna.com or call customer service to estimate treatment
                                                costs, or to compare cost and quality of in-network health care professionals and facilities.




          STEOB_v04.0_08202018                      PLEASE SEE CLAIM DETAILS ON PAGE 3.                                                    Page 1 of 5

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  Definitions
  % Paid: The part of the Amount Billed that your health plan paid
  Allowed Amount: The amount that Cigna determines is reasonable reimbursement for covered services provided to you. This may be
  established in accordance with an agreement between a health care provider and Cigna.
  Amount Billed: The amount a health care provider can bill for covered services
  Amount Not Covered: The part of the Amount Billed that is not covered by, or eligible for payment under, your plan
  Coinsurance: A shared cost between you and your health plan that equals the Allowed Amount for a covered service. This shared cost starts
  once you have met your deductible.
  Copay: A dollar amount you pay for an eligible health care or related service, typically due at the time the service is provided. When present,
  a copay is usually applied on a per occurrence, per admission, per day, or annual basis.
  Deductible: A set amount you pay out of pocket in one plan or contract year for covered services before your health plan will start covering
  part of the cost
  Discount: The amount you save by using a network health care provider. Cigna negotiates lower rates with network health care providers to
  help you save money. Using out-of-network providers will cost you more. If you go out-of-network for services, Cigna may be able to get you
  discounts through third-party vendor contracts.
  In-Network: A group of health care providers that have a contract with Cigna to provide you with health care coverage. Using in-network
  providers will save you money.
  Out-of-Network: Any health care provider that does not have a contract with Cigna to provide you with health care coverage. Using
  out-of-network providers will cost you more money.
  Out-of-Pocket Maximum: The total dollar amount a customer will pay toward the coverage of a health plan's benefits/services within a
  calendar or contract year.
  What My Plan Paid: The part of the Amount Billed that your health plan paid
  What I Owe: The part of the Amount Billed you are responsible for. This amount might include your deductible, coinsurance, any amount
  over the maximum reimbursable charge, or products or services not covered by your plan.


  Federal rights of review and appeal
  If you have any questions about this explanation of benefits, please call Customer Service at the toll-free number on the front of this form.
  If you're not satisfied with this decision, you can start the Appeal process by sending a written request to the address listed in
  your plan materials within 180 days of receipt of this explanation of benefits (unless a longer time frame is provided by applicable state law
  or permitted by your plan).
  Please follow the steps below to make sure that your appeal is processed in a timely manner.
  •   Send a copy of this explanation of benefits along with any relevant additional information (e.g. benefit documents, medical records) that
      helps to determine if your claim is covered under the plan. Contact Customer Service if you need help or have further questions.
  •   Be sure to include: 1) Your name 2) Account number from the front of this form 3) ID number from the front of this form
      4) Name of the patient and relationship and 5) "Attention: Appeals Unit" on all supporting documents.

  •   Contact Customer Service at the number on the front of this form to request access to and copies of all documents, records and other
      information about your claim, free of charge.
  •   You will be notified of the final decision in a timely manner, as described in your plan materials. If your plan is governed by ERISA, you
      may also bring legal action under section 502(a) of ERISA following our review and decision.




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                                                                  #:48633
    :Tr                                                                          Claim received for
                                                                                 Claim #            190844060700
                                                                                 ID
 Cigna.                                                                                                                                                                             THIS IS NOT A BILL




 Claim Detail
 Cigna received this claim on April 25, 2019 and processed it on May 15, 2019.
                                                                                     Amount
 Service                                              Amount                             not        Allowed                                    What my Cigna    ,Y0                          What        See
 dates      Type of service                             billed       Discount        covered        amount           Copay      Deductible          plan paid paid     Coinsurance*          I owe     notes
 WOMANS RECOVERY CENTER, Patient
 30302 ESPERANZA
 RCHO STA MARG CA 92688-2118
 04/12/19 THERAPEUTIC SERVICES                       2,234.40           0.00            0.00        393.30             0.00           0.00            393.30 100               0.00          0.00         IL1
                                                                    1,841.10            0.00                                                                                                             574

 04/15/19 THERAPEUTIC SERVICES                       2,234.40           0.00            0.00        393.30             0.00           0.00            393.30 100               0.00          0.00         IL1
                                                                    1,841.10            0.00                                                                                                             574


 Total                                             $4,468.80      $3,682.20            $0.00       $786.60           $0.00           $0.00          $786.60                   $0.00         $0.00



 * After you have met your deductible, the costs ofcovered expenses are shared by you and your health plan.
 The percentage ofcovered expenses you are responsible for is called coinsurance.

Reminder: A coverage determination, prior authorization, or certification that is made prior to a service being performed is not a promise to pay for the service at any particular rate or amount. The
patient's summary plan description typically governs this, as every claim submitted is subject to all plan provisions, including, but not limited to, eligibility requirements, exclusions, limitations, and
applicable state mandates.
 What I need to know for my next claim
 You have paid a total of $0.00 toward your $1,000.00 individual in-network deductible for the calendar year
 You have paid a total of $1,355.71 toward your $2,000.00 family in-network deductible for the calendar year
 You have paid a total of $1,000.00 toward your $1,000.00 individual out-of-network deductible for the calendar year
 You have paid a total of $1,000.00 toward your $2,000.00 family out-of-network deductible for the calendar year
 You have paid a total of $80.00 toward your $2,000.00 individual in-network out-of-pocket maximum for the calendar year
 You have paid a total of $2,606.69 toward your $4,000.00 family in-network out-of-pocket maximum for the calendar year
 You have paid a total of $4,000.00 toward your $4,000.00 individual out-of-network out-of-pocket maximum for the calendar year
 You have paid a total of $4,000.00 toward your $8,000.00 family out-of-network out-of-pocket maximum for the calendar year




    STEOB_v04.0_08202018                                                                       RETAIN THIS FOR YOUR RECORDS.                                                                         Page 3 of 5

CONFIDENTIAL                                                                                                                                                                       Cigna_TML00196665
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     0.11,
                                                                 #:48634
                                                                           Claim received for
                                                                           Claim #            190844060700
                                                                           ID
 Cigna.                                                                                                                                                                 THIS IS NOT A BILL


 Your plan has met a total of$47,063.51 toward your unlimited lifetime maximum
 The balances shown above are as of May 15, 2019, the day the claim was finalized. However, the balances on the website are updated daily, so the balances shown here may not match those
 listed on your participant website at MyCigna.com.


 Notes
 574 - WE REDUCED THE ALLOWED AMOUNT BASED ON VIANT'S FACILITY BILL REVIEW. IF YOU HAVE QUESTIONS ABOUT THIS DISCOUNT CONTACT VIANT AT 800-598-6888
 IL] - OUT OF POCKET EXPENSE MAXIMUM SHOWN IN YOUR PLAN'S MEDICAL CARE BENEFITS SCHEDULE HAS BEEN PAID. LEVEL OF BENEFIT PAYMENTS INCREASED TO 100%
  - If you have any questions or concerns regarding the adjudication of your claims for mental health and/or substance abuse services, please direct them to Cigna Behavioral Health, Inc. Attn:
 Appeals; P.O. Box 23487 Chattanooga, TN 37422




 SILOB_v04.0_08202018                                                                       RETAIN THIS FOR YOUR RECORDS.                                                              Page 4 of 5


CONFIDENTIAL                                                                                                                                                           Cigna_TML00196666
                               Case 8:20-cv-00269-DOC-JDE Document 465-1 Filed 02/08/24 Page 97 of 110 Page ID
     0.11,
                                                                 #:48635
                                                                              Claim received for
                                                                              Claim #            190844060700
                                                                              ID
 Cigna.                                                                                                                                                                      THIS IS NOT A BILL


 Additional information related to the Patient Protection and Affordable Care Act of 2010
 If you would like to request information about the specific diagnosis and treatment codes submitted by your Health Care Professional, You can contact your provider directly or you can print and
 fill out the request form and send it back to Cigna. Go to Cigna.com and click "Find a Form" at the bottom of the page. Choose "Privacy Forms," then "Cigna Health Care Privacy Forms." Print the
 Request for Diagnosis and Treatment Code Information form. If you have difficulty accessing the form, call Customer Service at the toll-free number listed on the back of your Cigna ID card.

 If you don't agree with our final internal review of your claim, you may be able to ask for an independent external review. Your plan and any state or federal requirements determine whether your
 claim is eligible for external review. For questions about your appeal rights or for assistance, call the Employee Benefits Security Administration at 1-866-444-EBSA(3272) or go online to
 www.askebsa.doLgov

  Your state may also offer a consumer assistance or an Ombudsman program to help you. Go online to mycigna.com, click on the Legal Disclaimer link at the bottom of the page, and select "State
 Ombudsman/Consumer Assistance Programs" from the drop down menu. Ifyou have difficulty accessing the website, call Customer Service at the toll-free number listed on the back of your Cigna
 ID card.


   If you have difficulty reading English, we offer language assistance. For help please call the Customer
   Service number on your ID card.

   Si tiene problemas para leer el texto en ingles, le ofrecemos asistencia de idiomas. Para obtener ayuda,
   por favor, llame al numero de Servicio al cliente que figura en su tarjeta de identificaciOn.

   Si vous avez des difficultes a lire l'anglais, nous offrons une assistance linguistique. Pour toute aide,
   veuillez composer le numero du Service a. la clientele qui se trouve stir votre carte d'identification.

   Far den Fall, dass Sic den englischen Text nicht verstehen, bieten wir mehrsprachige Unterstfitzung an.
   Rufen Sie in diesem Fall bitte die auf Ihrer Versicherungskarte angegebene Kundenservice-Nummer an.

   Kung nahihirapan ka sa pagbabasa ng wikang Ingles, nag-aalok kami ng tulong sa wika. Para sa tulong
   pakitawagan ang numero ng Serbisyo ng Customer sa iyong ID card.

   AIR.41  174;-ati-vlm , temvaottggAm.ma M                                     M441-1*_a+1
   mNa§taic
   Bilagaaaa Bizaad \Oita' nil aanitl'ahgo, saad bee nika'a'doowolig,iih61(). Akn'a*6yeed
   bitaiye t'ati shOdi aka'anidaalwo'go dabiaaanishigii        hochilaih ei naaltsoos bee
   nee hOzinigii bikaa'gi bibeesh bee hane'e yisdzoh.




 SILOB_v04.0_08202018                                                                          RETAIN THIS FOR YOUR RECORDS.                                                                 Page 5 of 5


CONFIDENTIAL                                                                                                                                                                Cigna_TML00196667
               Case 8:20-cv-00269-DOC-JDE Document 465-1 Filed 02/08/24 Page 98 of 110 Page ID
                                                 #:48636




CONFIDENTIAL                                                                                     Cigna_TML00196668
       Case 8:20-cv-00269-DOC-JDE Document 465-1 Filed 02/08/24 Page 99 of 110 Page ID
                                         #:48637


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                                                                                                                                                                             I         I   I




                                                                                                                                        Cigna Behavioral Health Inc
         July     29 2019
                                                                                                                                        Central Appeals Unit

                                                                                                                                        PO Box 188064
                                                                                                                                        Chattanooga             TN 37422
                                                                                                                                       wwwcignacom




                     Initial        Medical       Necessity        Denial          of Retrospective             Review           from Cigna Behavioral                       Health
                     Inc on behalf of Cigna Health and Life Insurance Company
                     Date Issue Received                   at Cigna         Behavioral            Health        712019
                     Dates           of Service Requested                        3252019               6172019
                     Dates           of Service Denied                   3252019                 6172019

                     Dates of Service Authorized                                 Zero       0
                     Issue ID




         Dear



         Cigna Behavioral                Health Inc a licensed                       utilization        review        agent reviews certain health care
         services for medical                   necessity for Cigna Health                      and Life Insurance                    Company Your health
         benefit plan requires                  some    services to be reviewed                        to determine           coverage             We received a
                         request on 712019 for                                                            for the following
         coverage                                                                                                                          serviceprocedures
         Partial Hospital             Mental        Health Treatment                 for Adults from 3252019                               6172019             rendered by 12

         South LLC             After a review             of the information submitted by your provider and the terms of your

         benefit     plan Cignas Peer Reviewer                              Liebe Gelman                 MD CA G154315 a board                                   certified


         psychiatrist          has determined              that    the requested services are not covered                                       This decision            was based
         on the following



                     The      clinical       basis for this decision                  is Based
                                                                                                        upon the available                 clinical        information           your
                     symptoms did not meet Medical                                 Necessity           Criteria     for admission               at Partial Hospital

                     Mental Health Treatment                        for Adults from 3252019                               6172019               as the information

                    provided           described you as being able to understand information presented to you and

                    being        in behavioral            control        There was no medical acuity noted You were not described

                     as being a risk of harm to yourself or others                                      As there was nothing proposed requiring the
                    structure          and      intensity of services offered                      at the     partial hospitalization level                       of care there

                     was nothing             suggesting         that
                                                                          you would not be able to a use a less intensive andor                                              less

                    restrictive setting to                continue         working on your trauma issues and mastery of healthy

                     coping and relapse prevention                           skills       and for medication                 management               Less restrictive

                     levels         of care were available for safe and                           effective       treatment




         Cigna and      the   Tree    of Life logo are registered         service    marks of Cigna       Intellectual    Property Inc          licensed    for use by   Cigna

         Corporation    and   its   operating    subsidiaries     All   products    and     services   are provided      exclusively    by such    operating     subsidiaries and

         not   by Cigna Corporation          Such   operating   subsidiaries include          Connecticut     General     Life   Insurance      Company       CGLIC Cigna
         Health   and   Life Insurance       Company CHLIC Cigna                 Behavioral     Health Inc and      HMO or service company                 subsidiaries of   Cigna
         Health   Corporation        Cigna   Behavioral    Health Inc       is   licensed    and accredited    as   a   utilization    review   agent and Third     Party

         Administrator




CONFIDENTIAL                                                                                                                                                              CignaTML00003123
      Case 8:20-cv-00269-DOC-JDE
        Page 2                   Document 465-1 Filed 02/08/24 Page 100 of 110 Page ID
                                         #:48638


               Claim        8651909901254             8651910100522       8651912906509         8651912208462
                     8651912208465            8651910897802      8651910897798           8651910100525       8651909901255
                     8651915701544            8651915004040      8651915004039
               Claim Amount $300000                   $300000   $300000       $300000       $300000      $300000      $300000
                    $300000      $300000        $300000      $300000       $300000


                     Cigna Medical Necessity Criteria for Treatment of Behavioral Health and Substance
                     Use Disorders which can be accessed via the Internet with an Adobe Reader at


         httpswwwcignacomistaticwwwcignacomdocshealthcare
         providersmedicalnecessitycriteriapdf

         Scroll through       the Table of Contents and click            on the Medical     Necessity    Criteria   for Partial

         Hospital Mental Health Treatment for Adults to view                       If you do not have     access to the Internet

         you may obtain a hard copy of the guideline                  free of charge   by calling 8002414057              ext
         7962009


                     Please refer to your plan documents              for requirements     regarding   medical    necessity

                     determinations



         This coverage        decision   is   not a treatment decision      or a medical     consultation    Decisions      about

         your medical care are yours            to    make along with your treating        behavioral    health care professional

         We want you to make an informed decision so please discuss your treatment options with your
         behavioral     health care professional           If you choose     to   proceed with the requested services any
         claims associated with the denied request will not be considered                     for payment        Please   refer to


         your benefit     plan documents for additional           details   about your benefit     plan coverage



         If
              your behavioral     health care professional        would like to discuss your case with a physician

         reviewer      at Cigna Behavioral        Health please contact       the Central Appeals Unit at           8002414057
         ext 7962009


                                         with this coverage
         If
              you are not   satisfied                            decision    you your authorized         representative         or your

         behavioral     health care professional          on your behalf may start the appeal process by submitting a

         request along with any additional               supporting    information within     180 days or longer as defined               in


         your benefit     plan from the date of this letter to


                                                           Cigna Behavioral       Health

                                                             Central Appeals Unit

                                                                PO Box 188064
                                                           Chattanooga      TN 37422

         What       happens    in the appeals         process
               If
                    you appeal   a doctor      will   review your request     This doctor     doesnt work for or report to the
               doctor   who made this decision
               The reviewer      will   make a decision no       later   than 30 days from when         we receive your request
               Well mail you a letter with the decision               within 30 days of your request




CONFIDENTIAL                                                                                                                    CignaTML00003124
      Case 8:20-cv-00269-DOC-JDE
        Page 3                   Document 465-1 Filed 02/08/24 Page 101 of 110 Page ID
                                         #:48639


         If
              your plan   is   governed by ERISA you also have the right to bring legal action under section

         502a      of ERISA following an adverse benefit determination


         For questions about your appeal               rights or for assistance      you can contact   the Employee    Benefits

         Security Administration             at   1866444EBSA         3272 or wwwaskebsadolgov

         Independent external reviews
         If
              youre not satisfied       with our final decision you          may be able to ask for an independent
         external organization          to review    it   This depends     on your health plan and any federal or state

         requirements


         You are entitled        to   receive free of charge     copies of     all   documents   records and other

         information relevant          to   your appeal for benefits        including the benefit   provision   guideline   or

         protocol   upon which          the decision      was based   If
                                                                           you want to request copies or if you have any
         questions    please     write to us at Cigna Behavioral            Health Central Appeals Unit         PO Box
         188064 Chattanooga TN 37422 or contact us by facsimile at 8778154827 or call our
         department at 8002414057 ext 7962009   One of our representatives will be happy to help you


         Sincerely




         Sara   U   Appeals Coordinator

         Cigna Behavioral         Health




         Copy sent to
         12SOUTH LLC
         27285LAS RAMBLAS 147
         MISSION VIEJO CA 92691


         Enclosures Language Assistance Form
                               Non Discrimination and Language               Assistance Notice




CONFIDENTIAL                                                                                                            CignaTML00003125
      Case 8:20-cv-00269-DOC-JDE Document 465-1 Filed 02/08/24 Page 102 of 110 Page ID
           Cigna
                                         #:48640                   ZA0ef

                                                                                                                                                                    Cigna
               Appeals

               PO Box 188011

               Chattanooga          TN    37422




               February             14 2019




               RE            Cigna Health and                     Life     Insurance          Company               on behalf of your Employer Plan


                             Name
                             ID

                             Provider Pacific Palms Recovery

                             Dates of Service November                                23 26 28 29 and 30 2018
                             SR           1118216857
                             Claim Amount                    $299500 $299500 $299500 $299500                                                          and $299500



               Dear


               On January 31 2019 we received                                         an appeal request concerning                                   our decision to not

               allow additional                   payment          for the facility            services         provided by Pacific Palms Recovery
               for the        services           dates       listed        above       The      facility      services were                 billed      with diagnosis

               F1020

               Appeal Decision
               After reviewing                  the    appeal submitted                      by Pacific Palms Recovery                               the original        decision

               to    not     allow additional                  payment            for the     facility     services           listed      above         is   upheld All the
               original        information              in
                                                             your file          the information               submitted            with this request             and the
               terms of your benefit plan were reviewed


               More About The Decision
               This decision was                      made on February 14 2019 by Sam                                          S Appeals Processer


               Cigna and          the    Tree   of Life logo     are service      marks of Cigna     Intellectual     Property    Inc     licensed     for use   by Cigna   Corporation

               and   its
                           operating      subsidiaries   All
                                                                products    and   services    are provided    by    or through    such     operating    subsidiaries    and   not   by

               Cigna Corporation            Such    operating    subsidiaries include        Cigna   Health   and     Life   Insurance     Company Connecticut          General     Life


               Insurance      Company Cigna            Behavioral      Health     Inc Cigna     Health   Management Inc             and    HMO or service company             subsidiaries


                                         Corporation and                          Health Inc Please
               of Cigna      Health                                    Dental                              refer to
                                                               Cigna                                                  your ID    card    for the   subsidiary that   insures or


               administers        your benefit      plan Cigna     Health    Management        Inc and Cigna        Behavioral     Health      Inc   are licensed    or certified

               utilization    review     entities




CONFIDENTIAL                                                                                                                                                             CignaTML00000352
      Case 8:20-cv-00269-DOC-JDE Document 465-1 Filed 02/08/24 Page 103 of 110 Page ID
                                         #:48641
               This decision was based on the following

               We use a methodology                      similar to Medicare             to determine         reimbursement for the           same
               or a similar service               within a geographic  market Because we dont have any information
               that supports          a reason to         pay more than the Maximum Reimbursable Charge we wont

               pay anything more towards                     this    claim



               According          to your                                                     under the section            The Schedule
               states



               Maximum            Reimbursable            Charge
               Maximum             Reimbursable            Charge         limits   do not apply to charges for covered Out of

               Network           Emergency Services provided                       in   an emergency          department        of a Hospital

               Maximum            Reimbursable            Charge      is   determined          based on the lesser of the providers
               normal charge for a similar service or supply or

               A percentage            of a schedule          that    we have           developed      that    is   based upon a methodology
               similar to a methodology                   utilized    by Medicare to determine                      the   allowable fee for similar

               services          within the geographic           market            In   some cases        a Medicare based schedule

               will   not   be used         and    the    Maximum          Reimbursable           Charge       for covered       services    is


               determined           based on        the   lesser of

                            the   providers normal charge for a similar service or supply or
                            the   80th      percentile     of charges          made      by providers of such              service   or supply      in   the

                            geographic         area where       it   is    received       as compiled         in    a database    selected        by the
                            Insurance        Company
               Note
               The         may bill you for the difference between the providers normal charge
                      provider

               and the Maximum Reimbursable Charge in addition to applicable deductibles and
               coinsurance

               Note
               Some providers               forgive or waive the             cost share obligation                 eg your deductible and
               or coinsurance               that this plan     requires         you      to   pay Waiver           of your required     cost share

               obligation         can jeopardize your coverage under                           this   plan For more details see the
               Exclusions          Section



               Under        the   section     Exclusions Expenses Not Covered and General Limitations
               states

               General Limitations

               No payment            will    be   made for expenses                incurred     for you    or       any one   of your

               Dependents
                            to   the extent       that they    are more than              Maximum         Reimbursable          Charges


               For More Information

               If
                    you would       like     to request     information            about the specific          diagnosis       and
               treatment          codes submitted           by your Health Care Professional please either
               contact       your Health          Care Professional                or go to     httpwwwcignacomprivacy
               privacyhealthcareformshtml                            or call   the      Customer Service number on the back                        of

               your ID       card


               You are entitled             to receive free of            charge copies          of all   documents records and               other

               information          relevant to your appeal for benefits                        This includes the benefit provision




CONFIDENTIAL                                                                                                                              CignaTML00000353
      Case 8:20-cv-00269-DOC-JDE Document 465-1 Filed 02/08/24 Page 104 of 110 Page ID
           guideline or protocol upon which the decision was made you want to request this
                                                #:48642                         If




               material or if you have      any questions please   write to us at



                                          Cigna National Appeals   Organization      NAO
                                                        Attn Appeals

                                                       PO Box 188011
                                                   Chattanooga TN 37422


               You may also     call   our Customer Service   Department   at the    toll   free number   listed   on

               your Cigna ID card Well be happy to help        you

               Sincerely


               Sam S
               Appeals   Processer




               Enclosures          Language Assistance Form
                                   Non Discrimination and Language Assistance               Notice




               c      Pacific   Palms Recovery




CONFIDENTIAL                                                                                               CignaTML00000354
      Case 8:20-cv-00269-DOC-JDE Document 465-1 Filed 02/08/24 Page 105 of 110 Page ID
                                            and Other Important
                               Your Rights#:48643
                                            Information               About An Additional Appeal

               This decision represents                the final step of the        internal        appeal process However                  if
                                                                                                                                                 your

               plan    is   governed      by   ERISA you also have                the   right     to bring legal action    under Section

               502     a    of   ERISA within three           3 years
               For questions            about your appeal rights or for assistance you                          may contact
               the    Employee          Benefits     Security      Administration       at   1866444EBSA 3272 or
               wwwaskebsa               dolgov

               Additional         Information         related to the Affordable                   Care Act
               If
                    youre    not satisfied         with the   final    internal   review      you    may be able to ask for an
               independent          external        review of our decision as determined                        by your plan    and any state
               or federal        requirements


               Your state        may also offer a consumer                assistance         or an   ombudsman         program     to help

               you Go online to mycignacom click on the Legal Disclaimer link at the bottom of the
               page and select State OmbudsmanConsumer Assistance Programs from the drop
               down     menu       If
                                        you have      difficulty      accessing    the website           call   Customer Service        at the

               toll   free number         listed    on the back        of your Cigna         ID   card


               Please note that these                program       offices   may not be the offices designated                  to receive

               your request for an external review                      See the    external        review information          above   if




               applicable




CONFIDENTIAL                                                                                                                       CignaTML00000355
      Case 8:20-cv-00269-DOC-JDE Document 465-1 Filed 02/08/24 Page 106 of 110 Page ID
                                         #:48644


                                                                      Language Assistance


               If
                    you have   difficulty    reading    English       we offer language         assistance For help please         call   the

               Customer Service number on your ID card


               Si tiene     problemas       para leer el texto en ingles          le   ofrecemos       asistencia   de idiomas Para obtener
               ayuda por favor          Ilame   al    numero de Servicio         al   cliente   que   figura   en su tarjeta de identificacion



               Si vous     avez des     difficultes    a   lire   langlais nous offrons         une assistance      linguistique   Pour toute

               aide veuillez composer            le   numero du Service A la clientele                qui se trouve sur votre carte

               didentification




               Fur den Fall dass Sie den englischen                    Text nicht verstehen           bieten wir mehrsprachige

               Unterstutzung       an       Rufen Sie      in   diesem Fall bitte die auf Ihrer Versicherungskarte              angegebene
               KundenserviceNummer an


               Kung nahihirapan         ka sa pagbabasa              ng wikang    Ingles nagaalok          kami ng tulong sa wika Para sa

               tulong     pakitawagan        ang numero           ng Serbisyo   ng Customer sa iyong ID card



               t0FaleWMA4ATOMItnUAZOgiaWiOW4gMMggrRK±n4
               ESQ005


                    Bilagaana     Bizaad woha               nil    nanitla1igo saad bee nikaadoowoligii hô1 Alcitaayeed

                    biiiiiye   CAA shdi Aktianidaalwogo                         dabinaanishigii           bichT     hodiIlnih ei naaltsoos         bee

                    nee   heziiiigii   bikaagi bibeesh bee hatiee yisdzoh




CONFIDENTIAL                                                                                                                                    CignaTML00000356
          Case 8:20-cv-00269-DOC-JDE Document 465-1 Filed 02/08/24 Page 107 of 110 Page ID
                                             #:48645




   Cigna complies with applicable                       Federal civil         rights laws           and does not            discriminate            on the basis of race
   color national origin             age    disability or sex Cigna does not exclude                                   people or treat them differently
   because        of race    color national origin age disability or sex

   Cigna

         Provides free aids and services to people with                                 disabilities          to    communicate                  effectively      with us

         such as

            Qualified       sign language          interpreters

            Written information             in   other formats large print audio accessible electronic                                                     formats
            other formats

         Provides free language services to people whose                                      primary language                   is   not English such as

            Qualified       interpreters

            Information written             in   other languages

   If    you need these services contact customer                              service at the toll free                    number shown on your ID card and
   ask a Customer            Service      Associate for assistance

   If    you believe    that Cigna has failed to provide these services or discriminated                                                    in   another way on the
   basis of race color national origin age disability or                                   sex you can              file   a grievance            by sending an email
   to    ACAGrievance®Cignacom                      or by writing to the following                          address

           Cigna
           Nondiscrimination Complaint Coordinator

           PO Box 188016
           Chattanooga TN                37422

   Ifyou need assistance filing a written grievance please call the number on the back of your ID card
   or send an email to ACAGrievanceccbCignacom You can also file a civil rights complaint with the

   US Department              of Health      and Human Services                      Office for Civil              Rights electronically               through      the

   Office for Civil Rights Complaint Portal available at httpsllocrportalhhsgoviocriportallobbyjsf

   or by mail or       phone at

           US Department             of Health and              Human Services
           200 Independence               Avenue          SW
           Room 509F HHH                 Building

           Washington          DC 20201
           18003681019 8005377697                              TDD
           Complaint forms are available at


                                                                                                                                                           CigncL
           httpwwwhhsgoviocrofficeifileindexhtml




   All    Cigna     products       and    services        are    provided       exclusively              by or through            operating           subsidiaries     of Cigna

   Corporation including             Cigna Health and                Life           Company Connecticut General Life Insurance Company
                                                                            Insurance

   Cigna Behavioral           Health      Inc Cigna Health                  Management Inc and HMO or service company subsidiaries of
   Cigna     Health    Corporation and             Cigna Dental              Health     Inc        The    Cigna     name logos               and other Cigna marks are
   owned by Cigna            Intellectual        Property Inc           ATTENTION             If
                                                                                                    you speak languages                 other than           English language

   assistance       services       free of charge         are available         to   you      For        current    Cigna customers                 call   the   number   on the
   back     of your ID card         Otherwise           call   18002446224             TTY          Dial    711 ATENCION                Si    usted    habla un idioma due

   no sea ingles tiene a su disposiciOn                    servicios        gratuitos de asistencia                lingCifstica       Si es      un cliente actual de Cigna
   lame      al   nurnero    que figura en         el    revers de su           tarjeta    de identificaciOn                Si   no    lo    es Ilame al 18002446224
   los usuarios de TTY deben Ilamar                       al   711

   896375a         0517       cf   2017 Cigna



CONFIDENTIAL                                                                                                                                                     CignaTML00000357
       Case 8:20-cv-00269-DOC-JDE Document 465-1 Filed 02/08/24 Page 108 of 110 Page ID
                                          #:48646
 Proficiency of Language                                   Assistance              Services


 English         ATTENTION Language assistance                                        services free of charge           are available to you For current                                    Cigna
 customers                call   the number on the back of your ID card Otherwise                                      call    18002446224                   TTY             Dial    711

 Spanish              ATENCION Hay servicios de asistencia de idiomas sin cargo a su disposiciOn                                                                   Si   es un cliente
 actual de Cigna Ilame al numero que figura en el revers de su tarjeta de identificaciOn                                                                          Si   no lo es lame
 al 18002446224    los usuarios de TTY deben Ilamar al 711

 Chinese >12 43tfirajlaffttAgrithatjjjam                                                           Cigna rtigi3Mpi               =
                                                                                                                                     affMV3             ID

 ftptitgke 18002446224        4tgi   mg 711
 Vietnamese                 KIN LLYU            Y Quyvi dime dip di vy by gitlp ye ngen agO min phi Dart cho khach hang hien                                                              tai   c6a

 Cigna vul       long g9i se 6 mat sau the RN vien Cac trutmg hcro khac                                      xin goi   so 18002446224                 TTY              Quay s6 711

 Korean          21s91               Oj              AFatiAila                         xifJAIHII                       OtfLICF                                          XI    Cigna

      XfilliAlLe                   ID    51E           5121011   9VE    11X161            21 002Tsti      Al2 21 Ef Et1110111L 18002446224
 TTY       401              711ttlc

 Tagalog                  PAUNAWA Makakakuha                           ka ng mga serbisyo sa tulong
                                                                                             sa wika nang libre Para sa mga

 kasalukuyang                customer                 ng Cigna tawagan ang numero sa likuran  ng iyong ID card 0 kaya tumawag                                                                   sa

 18002446224                     TTY            I   dial ang 711


 Russian                  BIMMAHME                   aam moryT npegocTaaprrb               fiecnnaTHbie         ycnyni nepeaoAa                   Ecnai Bbi              ye
 riaarayere a nnaHe Cigna noasoHliTe                                          no Homepy yKaaaHHomy Ha o6paTHoll                           cropoHe sawetI
 ifilleHTHCINIKB14140HHOA                 KapToLini y4acTHmKa nnaHa EC1111 Bbi He sansieTecb                                            y4acTHI4K0m               oilHoro           P13   HaLLIHX

 nnaHoa         flO3BOHVITe             no Homepy 18002446224 TTY 711

                eratial             4Fic asaAli ebki                          14 4 WI Cigna oNALI fsi 611                    24114411
                                                                                                                                        A                                    1             Arabic

                                                                                                                  711 =11A51            TTY 18002446224 yJa11
 French Creole                  ATANSYON Gen sevis ad nan tang     disponib gratis pou ou Pou kliyan Cigna yo rele
                                                                                              ki


 nimewo         ki        cleye kat ID ou Sinon rele nimewo 18002446224    TTY Rele 711
 French          ATTENTION Des services daide linguistique                                         vous sont proposes gratuitement                                Si    vous etes un
 client actuel             de Cigna veuillez appeler                          le   numero indique au verso de votre                     carte didentite                  Sinon        veuillez

 appeler        le        numero 18002446224                          ATS          composez le numero 711

 Portuguese                  ATENCAO Tem ao seu dispor servicos de assistencia linguistica totalmente gratuitos Para
 clientes Cigna atuais ligue para                                o numero que se encontra no verso do seu carte° de identificacao                                                         Caso
 contrario ligue para 18002446224                                      Dispositivos        TTY marque 711

 Polish         UWAGA w celu skorzystania z dostqpnej bezpiatnej pomocy jgzykowej obecni klienci firmy
 Cigna moga dzwonid    pod numer podany na odwrocie karty identyfikacyjnej Wszystkie inne osoby
                                  800 244 6224 TTY wybierz 711

                           AS
 prosimy o skorzystanie z numeru                                  1




 Japanese                          VS       El                        tiZiatr PRPOS                      +              CPAOt 01 V 4111 OCig n a 0
 SAVVit          I
                            FAMOME43                                                                           i01thO15418002446224                                          TTY 711


 Italian        ATTENZIONE Sono disponibili servizi di assistenza linguistica                                                 gratuiti      Per   i   clienti           Cigna attuali
 chiamare            ii   numero        sul         retro della tessera di identificazione In caso contrario                             chiamare            Il    numero
 18002446224                     utenti             TTY chiamare         iI   numero 711

 German ACHTUNG Die Leistungen der Sprachunterstazung       stehen Ihnen kostenlos zur Verfugung
 Wean Sie gegenwartiger CignaKunde sind rufen Sie bitte die Nummer auf der ROckseite Ihrer
 Krankenversicherungskarte an Andernfalls rufen Sie 18002446224 an TTY Wahlen Sie 711

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          Mu It Pal. Negotiation Services Portal                                                Have another Web Key?




                            Billed Charges         $75.00

                      Negotiated Amount            $50.00

                                                                                                     Contact MuitiPlan
                                                                                                         (617) 436-5399
                     Patient:                                                                            Alicia Williamson
                 Account #:
                        DOS:     08/02/2019
                      Payer:     Cigna Behavioral Health, Inc.



                       Provider agrees to accept the above, provided that
                       payment is released within 10 business days from
                       date of receipt of faxed/digital signature.



                Show Additional Terms (1)
                Show Additional Details (2)



                 MultiPlan Claim #:      191011141317N
                     Payer Claim #:      1923910116



                Cigna Behavioral Health, Inc. has contracted with MultiPlan to facilitate resolution of the above referenced
                services due to the Provider being out of network for this claim. Your acceptance may expedite payment and
                decrease the Patient's responsibility.
                Pacific Palms Recovery LLC agrees to accept the Negotiated Amount listed as payment-in-full (less any
                applicable deductible, co-insurance, or co-payment amounts in addition to non-covered items) for services
                rendered to this Patient on the date(s) displayed.
                By signing, Provider accepts this Negotiated Amount and agrees to reduce the liability of the Patient and
                Payor. Provider agrees not to bill the Patient, or financially responsible party, for the difference between the
                Billed Charges and the Negotiated Amount. Provider retains the right to bill the Patient (or financially
                responsible party) for items not covered under the Patient' s benefit plan and for any applicable deductibles,
                co-insurance, or co-payments. Provider shall not waive any such patient responsibility amounts due directly
                from the patient (or other financially responsible party).
                MultiPlan is not a payor or an agent of any payor, and is not financially responsible for any payments due to
                the Provider. Payment of benefits, if any, is subject to the terms and conditions of the Patient s plan. This
                does not constitute, nor should it be construed as, a guarantee of benefit payment by the Payor, and will be
                null and void if no benefit payment is determined to be payable by the Payor or if Payor does not accept
                these Negotiation Terms. Please feel free to contact us if you have any questions or concerns. Thank you for
                the consideration.



                    Proposal Accepted - 10/14/2019 12:54:06 PM

                This proposal was accepted by JB Hughes, Appeals Coordinator on 10/14/2019 12:54:06 PM
                Digital Signature: BYH9D3




     https://view.multiplan.com/ProposalSummary?viewType=Details                                                                    4/22/2022
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